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               EXHIBIT X
                    Redacted
            Button et al v. McCawley
              Amended Complaint
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       2                          UN ITED STAT ES D ISTRICT C O U                              D
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       3                          sorTHERN m sTm c'
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       4                                                                        ILIL 12 2:21
       5                                                                       Sct'
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                                                                                     uu.
                                                                                       .   go
       6                      '                                -
       7 DUSW BUTTON M D M ITCHELL
                                                        caseN o:0:24-cv-60911-D SL
       8 TAYLOR BU TTON

       9                  PLA m TIFFS
                                     ,                      Am x pEp CO M PLAG T AND
      10 V                                                  O EM ANII FO R JIJRY TRIAL
             .


      11 SIGRID M CCAW LEY
      12
      13                  DEFENDANT.

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      16
      17
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I
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      18
!     19 '               PlaintiFsDustyButtonandM itchellTaylorButton, (together,Rplinti
                                                                                       fl-
                                                                                         s''lf1e
I
      20 tl
          lis Am ended Com plaintand sueD efendantSigrid M ccawley and allegeasfollows:
i     21
      22
                                        NA TURE O F THE A CTIO N
      23
      24         1. ThisAmendedComplaintisfledasamntterofcoursepnmnnnttoFedemlRuleof
!
      25           civilProcedure1s(a)(l)(:).seeRamtrezv.ct
                                                          vy.ofsanBernaraino,806F.3d1002,
I
i
i     26           1008(9thCir 2015)C(A)namendedcomplaintsupersedestheoriginar'rendexinga
                              .

l     27
i                  motiontodisnusstheoriginalcomplalttt
                                                      m ootn).
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                2. Thisisan action arising 9om Sigrid M ccawley'stransm ission and publicaéon of
:                                -
p      2                                                            .
1           .
                                                                    nnllmevabjetjjjrd pa es, the
                     intentionallyfalseanddefamatorystatementsmadetol
       3
                     media,thepressandhundredst?fthousandsofmembersofthegeneralpublic
       4
                     includingbutnotlimitedtoanyandallpotentialjurorsaboutPlaintiFsDustyButton
       5
       6             and TaylorButon.

       7        3. M orespeciGcally,(assetforthherein),tlliscmseisabouttheperpekatorand
!      8             DefendnntSigrid M ccaw leya w ho exploitedherposidon ofpow erartd influence asa
                                                 .



'
.
       9             pam ous> globally renowned and âequently televised attom ey, to orchestrate a false and
      10             defam atory foundnoon
                                        . in orderto assurethe careers,businesses,rep'tntions and well-
      11
                     knownandrespectedgoodnnmesofthePlaintiffsinthiscmqewereentirel
                                                                                  kdecimated
      12
                     priortoblinging forth afraudulentlaw suiton behalfofherclientsand their
      13
      14             fabricatedxfalseallegations.thusintentionall
                                                                k cripplingPlaintiffs'Gnnncesand
      15             rendming th* incapable ofdefending them qelvesaginstthegaudulentlitigation she

      16             andherclientsstrategicallypublishedontheworldstagepriortoPlairdEsever
      17             lenrning tlaatthey w erebdng suedl.
      18        4
                 .   ThiscaseisaboutSigridMccawleymanattorneywhoknowingb violatedthemodel
      19
                     nllesofprofessionalcondud bymskingexlmjudicialstatementsthatsheo ew,would
      20
      21 1          t
                    :
           on July28 ,2021,l ex ew v orkTim espublishedinteniewswith SigridM ccawleylmdherclients,including
      22 falseanddefnmn,ory statementsaboutPlaintils-ho r//vsnuv.mimes.co- zozl/o7/zg/a /dv x/lltchell-
           button-dastv-btltton-abuse.html.PlaintiffsreceivH an emailvia discovery in theNevadalitigation proving
      23 sigridM ccawley andPR Tenm memberDawn Schneidernmmgedanintervimv4v1t11M ialacobsoftheNew
           YorkTimeswhichtookplaceonJuly261 2021.'IheNmvYorkTimesarliclewaspublishedonthesameday
      24 thecomplaintwaslled,July 28*,2021,andpriortoMr.Buttoneverbeing gervedorhaving knowledgeofthe
           complaint.Additionallymasdiscussedfurtherherein,tonocoincidence;PlaintilrscontactedJuliaJacobsin2023
           addressingthe defnmstory article,werereferredto herattomey DavidM ccraw whothen deferred Plainti/slo a
      25 difrerentattomey whoreplacedhisreprœentaéonofJuliaJacobsNvhichwasnoneotherthanDemetriBlaisdell,
           formerassociateofBoiesschillerFlexnerLLP.wholbrexqtenedPlaintiFsoncelenm ingPlaintiEsintendedtosue
      26 n eNew'YorkTimœ andJuliaJacobsfordefamation. Fllrtberawhen M s.M ccawley'sclient,Sagellumphries
         wasdeposedandquœtionedregardingtheNewYork TimesarticlebeingpublishedpriortoM r.Buttonbeing
      27 served,shestatc ttwewantedtoreleasethestoryalongsidethecomplaint1...)>7verifyinglbntMs.Mccawley
           tmethicallyplayedtothemediaand1hepressby arrangingandrequestinginterviewsforherclients.
      28

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                           AM EO ED COM PLAINT AND DEM AND FOR JURY 'IR IAL
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            be dissem inatedby m eansofpublic com m unication and would have a substantial

            likelihoodofmateriallyprejudicinganadjudicativeproceedinginthematter,by
            maldngknowingbfalsestatementsinthemediaandinthepressagainstPlaintiffsin
            ordertocreateseverebiasofanypotentialjurorandthepublic.
         5 TlzisisnotacaseofPlnintiflk Rdisagreeing''orudisapproùng''false statem ents

            published aboutthem in them edia;thiscaseisan exem plary example ofsom eone

            withpoweç,forttme,famemldinfluence,egregiousl
                                                        kmakingandamplifying
            know ingly false and defa atory statmnentswith actualmaliceto am ass audience

            aggressively,proudly,publiclyandrepeatedln asanomheskatedattacktodestroythe
            livelihoods,businesses,cax'
                                      eersand reputationsofPlaintiffsthough trgeted

            deploym entsofdefnm ntion tom assaudiencesincluding to thosewho notonly

            subscribed to every m ovethatPlaintiffsm ade in theirrespective careersbutto those

            whom erely Teceived daily new sby way ofthem edia and thepressin a defam atory

            globalmedia ca paign w aged againstPlaintiœ .

         6. Thiscaseisaboutallattorneywho,(blindedbyherselfshcareeraspimtions),
            blatantly abused herpowerand inlluence in them ediaand in thepressasshe

            w eaponized thefam egarnered 9om herrepresentation ofV irginia GiuX e in the

            Jeœ ey Epstein and Ghislaine M axwellmqseto defnm e.severely harassand threaten

            PlaintiFswhoshestrategicallyandrepeatedy attemptstoequatetoEpsteinand
            M n wellin theeyesofherm assivepublic audience to fildherherim age and ridethe
            Epstein w ave on the backsofPlaintiFs,who are drowning in the defam ation she uses

            ashervessel.




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i

       1       7. Indeed,the Defendantpersonally architected and orchestrated thenarrative ofher
      2            cIients-casepriortqpreparation orherclients-com plaintwhereas, tl,e com plaintin
       3
                   and ofitselfism aliciousand defam atory however,the defam atory statem entsm ade by
      4
                   M s.M ccawley described herein werem ade outside oftbeparam etersofprivilege and
       5
       6           the m aliciouslitigadon she created;herstatem entswereknowingly rdc/c/eiz'and

       7           hnrm6llyetwrongfullyjusdfedbyheregotisticâleagernesstoensurethemediaand
       8           thepresspublished the narrativethatshewasrepresenting anothercoupleakin to
       9           uEpstein O d M r well''7 who abused alld lnm cked children;a repulsiveand false
      10
                   narrativein itsentirety.
      11
               8. Ms.Mccawleyknowing% madefalseanddefnmntorystatementstogamerpublic
      12
                   attendop priorto flling herclients'complaintand iscontinlûng.
      13
      14       9. M s.M ccaw ley m ustbeordered to stop laarassing and defnm ing Plaintiffsthrough

      15           false alzd defam atory statem entsin them ediw in thepressand to third-psrties.

      16        l0.The statem entsmadeby M s.M ccawley were notand are po/rrfvï/cgcl whereas,her
      17           defsmntory statementqdidnotsewetllepurposeofthejndicialproceeding, enhance its
      18           fh                 .
                      nctionorlegitlmatelyachieveitsobjectsandaIIofIterstatemçutsweredirectedto
      19
                   newsreporterswithnointerestinthejudicialproceedingoutsideoftheircapacityas
      20
                   IVW SR POrtersz.
      21
      22
      23 2HelcnaChcmtcalCompanyv.Pœnela IAfâe,etal.,            P.3d    (N.M .CtApp.M ar.30,2011)whereas,the
      24 CourlstatedyRr
                      '
                      FèJlo/tfthatf/leabsoluteprivilegeisunavailablel
                                                                    zzltferthecfrcwzzlaltzrlc.
                                                                                             e.
                                                                                              çinf/#lcasew/lcrcthe
      25 allegeddejlmatotyJf
                           tzfc- rlf,
                                    &wcrcmadetolzcwl'reporterswhol?
                                                                  zW lzt?relatiomhiporfnfcraj'inthejudicial
           proceedingcozllelxr/zzlctfnnrljîletu'
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   1     11.M s.M ccawley'sdefam atory statem entswere unethically m ade outsideoflitigaion,

            tothemediw thepressandtbepublictointendonallyandspecifcallyinjluenceJ?z
                                                                                  .v
   3
           potentialjurororpersonwholenrned ofherclients'allega:onsandhermaliciously
            frivolouscase againstPlaintiFs.

         12.ThiscaseisaboutD efendanfsintenuonalinllidion oflmrm againstplaintiFs

            including by ensllring them edia and thepressinterviewed and published herclients'

            and herfalse allegationspriorto Plaintiflk eversefz,g served oreven having

            knowledgeofthelawsuititself asmzringbiasagainstPliniffsby wayofthe
            defam atory statem entsm ndein the m edia D d the pressand which w ere covered
            globally by vivtzmlly evely newspublication and m ediaoutletbeginning M ay l3S',

            2021 and perpetlznting to date.

         l3.Asdetailed and proven fnrlllerhereinvM s.M ccawley w aqin possession ofall

            unfounded falsepolice reportsand statements,a11ofwllich w erecleared by

            exception andhadknowledge thatboth Plaintie had nevercommittednoïhad they or

            havethey currently everbeen clmrged orconvicted ofally crim e asshe continued to

            spread false,defsmstory alld m isleading statementsby telling them ediamthepublic

            andtheworldthatPlnintiflkare,.Gapairofperpetratorswhoarehighl
                                                                        ysophisticate4
            highl
                ymani
                    pulative,andarecontinuingf...1''.
         14.M s.M ccawley knew thatherstatem entwasfalse and defam atoly btltm isled the

            publicandanypotentialjurortobelievePlaintiffshadcolmnittedamultitudeof
            heinous crim esand w ere continuing to comm itcrim es,a11ofwhich M s.M ccawley

            m anipulatedtheworld to believe thatPlaintiffshad been charged for,th% rendeling

            them criminalsand eliminaung any fairdueprocessforPlaintiffsbefore they even




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   1             stepfootintlw cou- oom byimplgngfalsefactswhichwerenotformedasan
  2              opinionresultinginunsubm ntiatedclnimstothepresswitllnointerestinthejudicial
                                .


   3
              proceeding outsideoftheircapacity msnewsreporters.
  4
           15.n e defam atory statem entsm adeto them edia and thepressby M s.M ccawley were,
   5
   6             andarenow and/oreverfalseintheirentirety,andweremadebyDefendantw111:
   7             actualmaliceand/orw1t11arecklessdisregardforthe*141t1:SventhatDefendantknew
   8             herstatementsw erepatently and dem onstrably falsefollowing herself-professed               '

   9             L'hundredsofhoursofresearchJPJinterviewf'whichtheCourtwillfndcouldhave
  10             only rem lted in one possible outcom emtllattheclainzs she m ade to them ediaw ere
  11
                 falseDddefmnatoxyintheirentirety,solelymeanttogamerfameandnotoriet/.
  12
           16.Defendnntm adethese defmnatoa statmnents,whicltwere com mtm icated and
  13
  14             published to mtllionsofreadersand/orviewersawith theintenttohnrm Plaintiffsgiven

  15             that interalia,Defendrmtwasand isawareofthe % t11regarding herdefa atoly
  16             statem entsand wasawareatthefim e shem ade thosedefsmstor.y statem ents,thatthey
  17             w ere fajse.
  18       17 Defendsnt,sdefnm atory statem entsw ereintentionnlly published to provide tracdon
             .

  19
                 forherclients'litigadon againstD usty and TaylorButton to ignite extrem edisgust
  20
                 and reac:on 9om thepublicin tnrn,villainizing Plaintillk to gain an advantageforher
  21
  22             clientsin theCourtofpublic opinion.aCourtthatno attom ey should play to.

  23
  24 3PlaintifrsGledRule11Sanctionsagnine Ms.Mccawley andherclientq(NevadaDistrid Court-2:21-cv-
     o1412-AR'pBJYmBcF xos.185.192,21% 333,3M ,355.356and363).JaneDoel(whoPlaintie havenever
  25 met),andsageHumphriœ.lplaintitrs'exrgirlfne
                                               'nd).Ms.Mccawleyclahnedtohavespenthundredsofhours
       diligentlyroearching and'
                               m vœtigaéngherclientsasrm tiredbyRule11however,thisstatementcannotbetrue
       ifshebelievesherstatementistrueasl ehoursofresearchwouldhavegivenhertheinformMiontomA ean
  26 infonueddecisionthatherclientswerenotonlylyingandcommie g11.
                                                                * ,butthatthestatementmadetothe
       mediathatPlaintifrswerecriminalsawasfalse.Shec-
                                                     qnnotclaim thatbothstatementsaretrue>
                                                                                         'eithershe(Iidnot
  27 researchherclientsasshestatedandshethoughthers'tatementto betrueOR sherœearchedherclients
       diligently andknoqvinglymndedefnmn
                                        .lorysu ements.
  28

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       1       18. M s.M ccawley lœ ew thatherdefam atory statem entswould spread like wildsre,and
      2               they did;ttltimately going e a14to theextentofa globally televised interdew on a
      3
                      majornewspublication,whichintllrn,immediatelycausedfilrtherandcomplete
      4
                      destruction ofPlaintifrs'businesses,careersandreputationsyresulting in the
      5
      6               term ination ofallemploymentforPlaintiffsthen and forthe foreseeablefuture.

      7                                             THE PARTIES

      8        19.PlaintiF l)usty Button isan individtmlwho residesand isdom iciled in M yrtle Beachp
l     9                                                                     j
                      South Carolina.M s.Button isthe wifeofPlaintiF Tay orsuuoa
i
I     10       20
                  .   PlaintiF -
                               faylorButton isan individualwhoresidesand isdom iciled in M yrtleBeach,
2     11
I                     South Carolina.M r.Button isthehusba d ofPlaintiffDusty Buttort
      12
      13
               21.Uoo
                   R
                     nbeliellDefendnntSigrid M ccawley isanindividualwhoresidesandis
q     14              dom iciled in FortLauderdaleaFlorida and isan attonley andm anaging pnrtnerwith

      15              BoiesSchiller& FlexnerLLP in FortLauderdalemFlorida-
      16                                    JURISDICTION AND VENUE
      17       22 PlainéfrsarecitizensoftheStateofSouth Carolina forpurposesofdiversity
      18              jurisdictionlmder28U S.C j 1332.
                                            .

      19
               23.DefendantisacidzenoftheStateofFlozidaforpurposesofdiversityjurisdicdon
      20
      21              under28U.S.C.j1332.
      22       24.'
                  rhisCourthasoziginalsubjectmatterjurisdiction witbTespec'ttothisactionpursuant
      23              to28U.S.C.j 1332 asthereexistscompletediversity ofcitizenship between PlaintiFs
      24              and D efendantand the am ountin conloversy exceeds seventy-Gvethousand dollars

      25              ($75,0()0.o0),exclusiveofinterestsandcosts  .


      26
      27 4viral- relatingtoorinvolvingaltimage.video.pieceofinfonnalionvetc.,thatiscirculatedrapidly andwidely
           from oneintemettkseto another.
      28

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        25.Ptlrsllnntto28U.S.C j 1391(19,venueisproperinthisCourtbecausetheDefendant
  2         residesin thisdistrict
  3
        26.n eCourthasgenemljurisdictionoverDefendantassheisaresidentofthisState.
  4
        27.Venueisproperinthisdisz ctpursuantto28U.S.C.j13910942)and0943)because
  5
            a substantialpartofthe eventsorom issionsgiving Hseto Plaintifrsclaim s occurred
  6
            in this(Iistrictby virtue ofthe translnission and publicadon ofthefalse and

   8        defamatorystatementsitlthisdistricttandelsewhere)andalsobecauseDefendrmtis
  9         mzbjecttothisCourt'spersonaljurisdictionwithresw cttothisaction.
  10
                                     FACTUA L BACK GRO UND
  11
        28.PlaintiF l)usty Button wasa world-renownedjmbta dalw erw ho trained atthe

            JacquelineKennedyonaséisschoolattheAmerican BaltetTheatw inNew York city.
  13
            In 2007-shejoinedtheRoyalBalletschoolin London andin2008shejoined
  15        Birmingham RoyalBalletin England.

        29.ln 20l1,M s.Button dlm ced w itllAm erican BalletTheatre.

         30.M s.Button isbestknown forherworkwiththeBoston Ballet which shejoinedin
            2012 and wasprom oted to theirhighestposiion ofpe cipalballerina in 2014.

         31.M s.Button wasRed Bull'sftrstand only balletathleteand hœsbeen published in

            m edia publice onsacrossthe globe,positively influencinghundredsofthousandsof
  21
            people nationally and intem ationally,including by pedbrming and teaching in over

            thirty diFerentcotmtriesand acrossthe United States.

         32.Plaintill-DustyButton'sInqtagram account@dusty-button,atthetimeoftheevent.s
            desclibed heTein,am œssed nearly halfofa million follow ersand subscribers.
                                                                                  .




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  1     33. M s.Button deletedhersoc'ialm edia accountin 2021 atlers'
                                                                    uccumbing totraum a 9om
  2        severe cyberbullying and harassm entwhich PlaintiF endured asadirectresultof
  3
           Sip id M ccawley'sdefam atory statem ents,in an unethicalplay to am assaudience
  4
           and waging adefnm atory globalm edia cam paign agninntDusty to destroy her

           livelihood,career,reputadon and businessand to gain attention atld tracdon forher
  6
  7        clients'falseand gaudulentcom plaints.

  8     34.PlaintiFMitchellTaylorButton,(ft-faylorButton''l,wasoneoftheworld'smost
  9        infuentialcustom Fercan'andmilitaryvehicledesignersandbtlildersforsevenyears,
  10
           approxim ately âom 2014 - 2021,witb hiswork having been published in m edia
  11
           publicv onsacrossthe globeforllisautomotivedesign,buildsandw ork in the
  12
           industry.

        35.PlaintiF haspositively influenced hlm dredsofthousandsofpeople nationally alld

  15       internationally and hasbeen procured from globalorgnnizntionsfor speaking

           engagementsand com missionsthatcontinue to live on w1t11hislegacy today despite

           the destruc:on ofhislife'swork by Sigrid M ccawley.

        36.PlaintiF -
                    raylorButton'slnstagram accotmta@button-built,atthetimeoftheevents
           described herein,nm assed nearly halfofam illion follow ersand subscribers.

        37.M r.Button deleted hisaccountin 2021allersuccum bing to the severe cyberbullying

           and harassm entwhich Plaintiffendured asa directresultofSigrid M ccawley's

           defamatory statem ents,in anunethicalplay to am assaudience and w aging a global

           m edia cam paign againstTaylorto destroy hislivelihoodacareer,reputation and

           businessand to gain attention and traction forherclients'falseand gaudlzlent

           com plaints.




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I
I      1       38. Plaintils'namesand likenesswtu theirbusinessand generated one hundredpercent
1
I
!      2           oftheiryearly revenue whereas,PlaintiFs,them selvesand whatthey provided to their
!
!      3
:                  respecuveindustrieswaswo/eybasedonwhattheyprowdedastheirnamebrands,
:      4
;                  known asDusty Button,TaylorButton,M itch/M itchellButton,M itchellTaylor
r      5
I
!      6           Button,CNTheButtonsyy,Button BuiltaButton Brand,Bravadoby D usty Button,
I
;                                                                                                .
:      7           M eistulw erk and M eisturwerk M acldnen.
;
       8       39.PlaintiFs'established businesses,goodsand servicesw ere directly sourced and
       9           Provided 9om theirgoodnnm es, talent,expmlise,reputations.skills,m rmufactlm ng
      10
                   and m arketing capabilities,which w erecom pletely destroyed by Sigrid M ccawley
      11
                   artdherabuseofpowertoinfluencethemediw thepublic.thepressandanypotential
      12
      13           jtuorasafnmous,world-renownedattonkzy.
      14       40.A culture ofdefnmation pmm eatesalld plaguesthe#M eToo m ovem ent.particularly in

      15           the entertainm entindustriesand 11% in ttx.
                                                             nvdestroyed the oredibility ofrealvictim s

      16           evmywhere,wltilesimultaneouslymockingthejudicialsystem andennblingpeopleto
      17           weaponizetheciviljusticesystem withfalseaccusationsswhichulo'mstelyhavethe
      18
                   same consequenceon innocentlivesasthey w ould iftlle.yw eretrtzeaccusations
      19
                   againstguilty pai es,rendering Courtsand Pe essfcaid to defend againstclnim sof
      20
                   thism agnitude dueto theinevitablenuclearsooialfallout-
      21
      22       41.n e ctlltureofdefam adon lzasdialed tbeintegrity ofcivillitigation back decadesaas

      23           recently seenin casesaroundtheworld such asDepp v.Hearé ,Bauerr.Hill6and
      24           recentlya theEle> orW illimnsicasein Englal
                                                             A a11ofwhichprovedixmocentpe es'
      25
      26
         5Depp v.Heard,No.C& 2019-2911(Va Cir.Ct.Jul.25a2019)                                           .
      27 6TrcvorBauerv.DndseyC.Hill1:22+ ,-00868)DistrictCourtaC.D.Califomia
           7https://ANquv.l
                          'udicianr.e Axpp-œ ntenvunloads/zoz3/o3c -sz-El- or-svillia> uentencing.pdf
      28                '

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            liveswerecompletelydestroyedbyfalseanddefamatoxy sltements,notonlyin
   2
            litiwation,butin them edia and in thepress.
   3
         42.O therprom inentdatzcershavebeen publicly defam ed and severely ham ssed in past
   4
            years.througb gaudttlentand defnm atory statem entsonlineincluding butnotlhnited
   5
            to BHESIIdancerand choreo- pherLiam Scarlettawho sadly took llisown life asa
   6
            directcause offalse and defamatory statem entsin them ediaand through industly

   8        gossip.
   9               L%WefeelLïtz?awouldnothave/l#ez?hislfel
                                                         //làçnamehadn'tbeendragged
  10
                    throughthe#re,
                                 %çwith inaccw ateallegationsh statedby DeboralzScarlettv
  11
                    Linm 'sm other.

         43.Lism Scrlettwasclearedofanywrongdoing,butonlya#erhisdeathwhichincluded
  13
            thefalseand defam atory statem entsofm isconductw itltcllildren.which wereall

  15        proventobefalsestatementsbutwhichwereneveracH owledgedorrectifedbyany
            m edia source to date,m uch likethe false and defnm ntoxy statem entsm ade by Sigrid

            M ccawley.

         44. Asalleged furtherhereinvSigrid M ccawley ksan extrem ely well-known m em berof

            theFloxidaBarA ssociation,a self-prochim ed and renowned advocate forvicim sof

  21         sextrnmcldnga(includingbutnotlimitedtoherrepresentaionofVe niaGlhlfFrel
            and decomted attom ey including:

                    @ LitigatoroftheYearby F/leAmericanLJutyer;Top TenFemaleLitigator
                       in 2020 and 2021à.pBenchmarkLiti
                                                      gation;FinalistforAttorneyofthe
                       YearinFloridabyDai% BusinessReview;M ostS'
                                                                -f/èc/fvef- Ferin
                       ArbitrationbyDtzï/.
                                         vBusinessReview;Leadingf-zmwcrinAmericaby



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       1                        LawDragon;and Thoughtlm der2021 by Corporate Counseland a                        '
       2                        inalistforTheAm erican Lawyer'sAttom ey oftheYearforherwork                          I
       3                                         .
i                               representing vicom sofsexualabuse.
       4
l
;              45*Sigrid M ccawley currently xepresentssix clients. @roO cvice),intheDise d Court
I      5
!                     ofNevada w1t11pending com plaintsagains'tPlaintiffs,wllich wereGled on July 28th
                                   .
       6                                                                                              >
I
!      7                               rd
                      2021,septem ber23 , 2021 and  oecem ber  13*,2021   t
                                                                          hat cany wid,+ em  plainti
                                                                                                   ffs'

       8              currentpending M otion to Dism issand Counterchim agninntallxf.
                                                                                    xofM s.
       9              M ccawley'sclimltss.
      10       46
                  .   M s.M ccawley hasnotonly used m anipulativeand m ethically skategic tacdcsin tbe
      11
                      Courtroom butII.Kused those sam etacticsto defnm e,lmrœqsand completely desloy
      12                                                                                                             I
                      the livelilloods,reputauons,businessesand careers ofPlaintiffseven beforethey knew
      13
      14              they w erebeing mzed in orderto prevent+ em âom being ableto generate revenue

      15              necessary to 1:nd a defenseforthem qelvesironically,againsta vexatious,litigation.

      16       47.M s.M ccawley continuesto beprotected in theCot> oom regardlessoftheunethical
      17              tacucssheusesagainstrm se Plaintiffsassheisself-por% yed asthe awarded
      18              t '              :' h
                      tvict,m qadvocate w o tttook down Epsteà '',though herGrm isfam ously known for
      19
                      itsillegaland disgracefulrelationshipsand representauon ofH aw ey W einstein and
      20
                      Thersnosam ongstm any others.
      21
      22
      23
      24 :oneofM s. M ccawley'sclientsaJulietDohertyavoltmtarilydismissedherclaimsagairlstplainliffsonFebruary
         24*, 2023.PlaintifrshavesinceliledafederalIawsuitagainstJulietDoherly.hermotherandherphotographer
      25 fbrsexualassaultmaliciotsprosecutionanddefnmntionamongstol. clmms   ' intheSouthernDistrictCourtof
           New York M s.MccawleyhassincereferredtoPlaintifrs'IawsuitagairstherandherclientasN exatiotls'>and
      26 anefrorttosilenceandintimidateM s. M ccawle andherclients&om spe-qkingtothepress.Plainilrsm akeit
         cleartothisCourtthattheyhavebeentmabletoseek thejtsticethey desenreaherbeing completely stdppedof
      27 everytlzingtlzey everworkedfor;accordingly.Plaintifrssœkconsequencefortheegregiolzsadionscommitted
           bySigridMccawley,herclientsandthosethl
                                                'rd-partieswllic.
                                                                haidedthentSœ mqse:1:24-cv-0502&LTS
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   1      48. Ms.Mccawley continuesto enjoy successasamanagingpnrmeratBoiesschiller
   2          Flexnert-t-p while ga ering m ediaattention from aroundtlleglobein relation to her
   3
              representadon in the Epstein case aswellasthe litigation in N evadaagainstPlaintiffs,
   4                                                                                                    .
              which shemeticulously,yetredundantl
                                                y and exhaustingly com parestothecaseofthe
   5
              disgraced and renowned couple,Epstein and M axw ell,largely coni buting to the
   6
   7          com pletedestruction PlaintiFseverything PlaintiFshave everworked forrendeling

   8          lemjoblessandhomeless,withoutasingleassettotheirnamesg.
   9      49. PlaintifshavesuFered unimaginable lossto tlzeirbusinesses,careers,reputations,
  10          6nsnces,m entalhealth,and overalllivelihood andw illcontinueto sufferasa direct
  11
              and proxim ateresultofSigrid M ccawley's conductfortllepainfully foreseeable
  12
              future.
  13
  14       50.D efendnnt'sactionsin publishing and m nking false and defmnatory statem entsw ere

  15          b0th negligentasshehad recklessdisregrd forthetzuth and done so with actual

  16          m alice assheknew hersttem entsw ere falsepriorto m nking them .
  17       51 lfitw erenotforDefendsnt's mvangem entofinterview sand tm etllicalplay to the
  18
              m edia,thelitigation in Nevadawouldhavenevergenerated them edia blitz itdid once
  19
              Sigrid M ccawley initiated thefrenzy ofpublica:onsfollowing thepublication ofthe
  20
              N ew York Tim es article on July 28tb. 2021.asthecom plaintwould have been a
  21
  22          privatem atterdue to the facttbatPlaintiffsarenotand werenotpublic ligures.

  23       52.PlaintiFshave no income,no ability to generate incom e duetothedefam atory global

  24          m edia cam pair M s.M ccawley attached to theirnam esloand havegenerated no
  25
  26 9Plainéfrsarecurrently enrolledingovemmentassistedprogcamsinSouth Carolinw suchasSNAP forfoodand
       M edicaidforplaintiffs'pregnancyastheyareexpectingtbeirlsrstchildiniebeginningofAuaust.2024.
  27 10Plaintifrshaveevenbeenkickedoutofrestaurantsasadired resultofSigridMccawley'sdefnmntory
       statementsandglobalmediacampaignwagedagainstlem whichshearranged.
  28

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   1         income since the onsetofthedefam atory statem entsasa directresultofSigrid
   g         M ccawley'sintentionalinfliction ofemotionaldiskess and hnrm on Plaindll-
                                                                                     sin order
   3
             to amplify herrepresentation ofherclients'falseand frivolousallegaionsthatin
   4
             them selveshad already been amplified through everym edia sotlrceim aginable.
   5
          53.Sigrid M ccawley intentionally,willfully and m aliciously destroyed Plaintiffs'
   6
   7         livelihoods,businessesand future ability to generate work orincom e in both of

   8         Plainifrs'respectiveindl.qtriesfortheforeseeablefuture;astheirnam es,likenessand
   9         reputationsw ere obliterateaasa directandproxim steremTltofSigrid M ccawley's
  10         intentionally ltnrmfnl.harassing and defnm atoa statem ents,unethicalplay to the
  11
             m edia artd violation ofethicaland m omlm les ofconduct.
  12
  13
  14      54. On July 28th. 2021.SageHumphriesand GinaMenichino.(representedby Sigrid

  15         MccawleyO dassociates9om BoiesSchiller& Fleu erlmEledacivilcomplaint
  16         againstPlaintiffTaylorButtonll.
  17      55 Plaintiffsdiscovered through theheadlining *ont-pagepublishing of'IheNew York
  18         Tim esthatthiscom plaintwasfledspriorto PlaintiffTaylorButton even being served.
  19
          56.PlaitltifrDusty Butlon wasnotnam edasaDefendantin M s.H um phries'orM s.
  20
             M enic> o'scom plaint
  21
  22      57.PlaindF D usty Button hasneverm etGinaM enichino.
  23      58.The allegauonsbroughtforth in the complaintthreeyearsago aregaudulentin and of

  24         them selveshow ever. PlaintiFshave since deposed a11ofSiglid M ccawley'solients
  25          and received discovery which provesSigrid M ccawley notonly lied to the Courtbut
  26
  27
       11SeeNevadaDistrid CourtCase:2:2l<v-014l2-ART-EJY
  28

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   1        condnuedtomanipulatetheallegationsandKtbackeack'',(oncePlaintiFs'provided
            evidenceprovingtheircrimeofperjulytotheCourt),inordertoprotecthername,her
            BA R license and herclients'fraud to theextentofbiring BAR cotmselto defend

            againstthe com plaintscunvntly pending againsther.

         59.M s.M ccawley knew the statem entsshem ade in them edia and the presswere

            defam atory and thatitwould seriously com prom ise thelitigation including by tainting

            apotendalJuror>sopinion priorto trial;M s.M ccawley isnotinnocentin heracdons

            asshew asinpossession ofm aterialswhich proved thevery statem ents,she m ade

            werefalsemverifed through herow n declarations.

         60.A sseen lzrtlaerwithin tbiscomplaint,M s.M ccawley bad knowledge thather

            statemmltsw erefalsebutm adethem altyway.

         61.Follow ing 'I'
                         he New York Tim espublishing ofSigrid M ccawley'sdefnm atory

            statementsand herclients'defnm ntory statem entsaPlaintil TaylorButton wasserved

            w ith thecomplaintGled by Sage Hum pluiesand Gina M enichino on July 29th,2021.

         62.TheNew York Tim espublicaion w asdetrimentalto Plaintiffsasitnotonly conGined

            false and gmzdulentallegationsrelated to thefrivolouqliégatiow butitintentionally

             and falsely stated thatPlaintifrs,together,abused M s.Humphriesand M s.M enichino

             asadirectresultofSigrid M ccawley'sm anipulativennrrstivewhich she so

             desperately forced on thepublic ascomparison to Epstein and M M well.

         63.M s.M enichino w asonce,a dance studentatCenterstage DanceAcadem y where
             Plaintil TaylorButon oughtcontem poraly dance in 2009.

          64.M s.Hllm phrieswasnevera studentofTaylororDusty Button'sbutw asin factaa

             coworkerofM s.Buttonsand was,in 2017,in an open consensualdating relationship,




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       1           (asanadult).withbothPlaintiffs,asveriledthroughcountlessdocumentsincluding
l
1      2           w deo>photo m essagesand M s.Humphies-own depositiontestim ony and
                                 ,
I      3
q                   adm issions.
       4
I              65.n eN ew York Tim esarticle wasTeposted hundredsofthousandsofom es,
I      5
i
!
I      6            addiuonally calzsingthirdpai eswilbinPlainéffs'indtstriestofhrtherdefamethem
;      7            includingthatitwaspostedtoatleastthreediFerentpladbnnswhereas,eachplatform
i
       8            consistsofa diflkrentaudiencelz.
!      9       66 on september23rd 2021 Plaintifrsw .em etwith an am ended com plaintby M s
j                œ                ;    >                                                   .
;     10
i                   M ccawley whereas,she and herassociatesrecruited& eem ore Iidgantswhom they
i     11
l
:                   addedtotlzeamendedcompuint- asverisedtlxrougstl. adm kssionsand deposiéonsof
i     12
i                   thoseremuits;Plaintiff-
                                          faylorButton'sex-girlfriend 9om thesam edancesmdioas
l      13
       14           Gina M enicbino itl2009.Danielle Gutierrezsanotherwom sn 9om the sam e dance
:
E      15           studio in 2009, Rosie DeM gelo and awom nn Plaintiffshave neverm etorheard of,

!      16           knownasJaneDoe1,(fonnerlyknownmsJaneDoel00).13                              .

i      17
                67 Follow ing M s.M ccawley'ssling oftltea ended com plaint,slve nnvmged forher
       1R
       --
                    clients'to beinterview ed by Cosm opolitan M agazine which included further
q      19
I                   defam atory,false and m isleading statem entsm ade by M s.M ccawley andherclients
:
i     20                                                                              '
i                   to again,pourafalsefoundaion andgam erm isguided attention 9om thepliable
p     21
:     22
i     23                                                    .
            12ukKanerakv.Bugliosi,an allegedly libelousbookthatwasrepublished in paperbackfonnsalthough identical
'
      - .   in ronn and contentto theearlierhardcovereditionav.sinto ded to and did rex h anew group orreaders,and
      24    thereforeconstitutedthebasiso ranew cx weofactioa n esecondRexxem entof-rortsstatesthatthesingle
i
:
            publication ruledoesnotincludeseparateaggregatepublicO onsondilerenloccasions.Inthesecases,ifthe
!     25 publicationreachesanmvgroyxtllerepetitionjusés
         mattermay beliableforeach repetition''ofthedefn
                                                        esanewcauseofaction.neorjinatorofdefamatory
                                                       .msfolym nfferby asecondparly 'lfhecouldreasonably
!
r
      26 haveforœeentherepetition.''
;           13SigridM ccawleyoriginallyIiledJaneDoe1asJaneD oe100inordertoleadthepublictobelievetherewere
      27 hlmdredsofvidimsxsen- ionalizinglhecomplaintforthemediaOnFebnzaly2n$2023,theCourtorderedMs.
i           M ccawleytorefertoJaneDoe100asJ:
                                           meDoe'
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i     28
I
1                                               16
!                          A- NDED COM PLM NT AND DEM AND FOR JIJRY TRIAL
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        1          public, easily m anipulated by herposition ofpowerand ensuring thedefam atory
        2          statem entstotllem e(
                                       Iiawouldbiasanypotenualjtlror.
        3                                                                                                   '
                68.The allegationsbroughtforth by a1lthree Iiigants are false in theirentirdy however,
        4
                   thesethreecom ple tsprove SigridM ccawley'sdefam ation furtherasherdefam atozy
        5
        6          statementsaboutPlaintillkarenotsupportedbytheallegationsevenl/theallegations
        y          weretnze,(theyarenotl;M s.Mccawleymadestatementsoffactwhichwerenot
        8          privilegedl4.
        9       69 Plaintif llusty Button l:asneverm etmly ofthe three litigO tsadded to the am ended
       10                                                            . DeM gelo and JaneDoe 1.
                   com plaintwhich h clude Danielle Guderrez,Rosem nne
I
I      11
                70.ln fac: PlaintiffDusty Button has never m etor Eeard ofJaneDoe 1.
       12
                71.In fact PlaintiffTaylorButton Ilasnever m etor Eeard ofJaneDoe 1.
       13
I
j      14       72.SigridMccawleyintentionalV,pltz/fcftzvx/.
                                                           pandiwt/wfpg/.vcreatedafhrthervfalse
i
d      15          narrativeforherclients,which she portrayed to the m edia and w bich w asentirely and
!                                                                                                  .
l
I      16          knowingly false and defxm atory to gain sltock value frnm thepublic, globally,to
I
!      17          enntu.
                        ebiasanypotentialjuror    .


       18                       tu                                                         ,,a
i               73.On Decmnber13 ,2021,Plaintiœ w ere agaiumm etw ith m1am ended complaint; e
I      19
l
!                   second Am ended Com plaint'', by Sigrid M ccawley;two morelitigantswereadded.
i      20
i
I                  Plaintil -
                            l-aylorButton's                             JaneD oe2l5and JulietD oherty,
       21
I
I
I
       gg          anotherprofessionaldancer.who Plaintiffsm eton one occasion,butwho hasnow
:
I
       23          withdrawn and revoked herclaim sagainstPlaintilsin theirentirety.

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i
!      25 1.AsAM odelRuleofproressionalcondud 3.6cauti
                                                     onslawxersnottomnt.
                                                                       eany-'extrajudicialstatementnthat
          thela&vyeru owsorreasonablyshouldhmw,z'Billhaveasubvlnntiallikelihoodofmateriallyprejudicingan
       26 adjudicativeproceeainginthemauer/'
                                           .
I
I           lssigridM ccawleyorigma
                                 ' llysledJaneooe2asJaneooectm inorderlo1..1 tlw publictobelievetlwrewere
1      27 htmdredsofvictinlsmsensationalizingthecomplaintforthemediaOnFebruaxy2n$2023,theCourtorderedMs.
I           M ccawleytorefertoJaneDoe200asJaneDoe2.
!      28
I
l                                                         17
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         74.The allegationsbroughtforth by thesetwo litigantsare falsein theirentirety however,
   2        these tw'
                    o complaintsprove Sigrid M ccawley'sdefam ation fllrtherasherdefam atory
   3
            statementsaboutPlaintiffsarenotsupportedbytheallegadonsevenl
                                                                       /theallegations
   4
            weretrue,(theyarenot).
   5
         75.PlaintiF D usty Button hasneverm etJaneD oe 2.
   6
         76.PlaintiF lulietD oherty voluntarily withdrew herselffrom thelitigation akerTaylor

   8        andDustyButtonprovedherallegationstobegaudulentatheJzp?a#erPlaintiffs
   9        requested ndm issionsâom herand sentdiscovery proving herallegationsto be
  10
            Faudulent.

         77.M s.M ccawley'sintentionally falseand defnm atory statem ents only escalated each

            tim ethe complaintw asmnendedvfurtherdefmning.harassing and causing Plaintifs
  13
  14
            extreme distress.

  15     78.Dueto M s.M ccawley'sfalseand defam atory statementsto the New York Tim esand

  16        herinnerconnectionswith thepublishing com p> y,The New York Tim es

            intenéonally D d falsely publishedthatPlaindFs ttdenied the charges/'.

         79.Plaintie bave neverbeen charged with a crim e.asnonehave been com mitted.

         80.Asone exam ple,and asadirec'tresultofSigrid M ccawley'sfalse and defam atory

  21        statem entsin thepressand them ediw fhrtherdefam atory statem entsaboutPlaintiFs

            werem ade including in n e Daily M ailwhich published, HBostonprima ballerina

  23        D lz,
                ç/
                 .
                  yButton.33,wl,
                               :accusedlastyearby wcvea women o./%'
                                                                  t'
                                                                   xz/l/abusealongwith her
            husbandM tchellButton,37**,
                                      'asstatedysupm PIZn:F DIZST Buttonhasonlymetone
  25        ofSiglid M ccawley'sclients,SageHumphries.and PlaintiF -
                                                                   faylorButton hasnever




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            m etJaneD oe 1and additionally,Plaintifrsdid notteach M s.M ccawley'sclients

            togetherasstudents,wllich ispreciselythe false nnnviveM s.M ccawley created.

         81.Asanotherexample,ABC7New Yorkpublished,ab-ormerballetstarDusp Buttonand

            herhusbandareJccl/aeffqfsexuallyJ#lza/zzgseveralA zzrdrl'
                                                                    ,includingazzl/poz?'(...1.
         82.Asanotherexample,M s.M ccawley'sinterview with Lam com falsely stated,G%When

            BoiesSchillerFlexnermanagingpartnerSigridhkcawleytoldthemakersoftheNeflix
            Jocwzaen/tzr.v'
                          UqffreyEpstein:FilthyRich''//1t7/shewtzçcommittedtostoppingà'exwzz/
            predatorsJ/lrtzlzg/?litigation.oneWczwerM'
                                                     J,
                                                      Cremindedefsomethingshe'dtriedinvain
            toforget.F/lJ/viewerwl,
                                  çBostonBalletJtmctarSageHumphries,wJltpclaimsshewtz-ç
            repeatedlyJ'
                       rxwzz/tpassaultedbyherJtzaceinstructorin20l7uz/lc'psheu'tz,ç19years
            t#''.M s.M ccawley % ew herclientneveronce alleged to anyonq,inchvlingher,that
            shew asassaultedby her'idlmce instnzctoroin 2017 and insteadawasin aconsensual

            dating relaionsbip withb0th Plaintie mwhereasPlaintiF M itchellTaylorButton w as

            xtota danceinstnzctpç,norw ashe Sage H= phries'd> ceinstnzctorand in fact,had not

            been adanceinstnzctororkwolved in thedanceindustry since2010,
                                                                        .17% ty Button waq

            neverM s.H= phries'dO ceins% ctorasth% w ere coworkersatBoston Ballet.

         83.M s.M ccawley'snnrrativeth% Plaindfrswere apairofdance insm zdorsabusing seven

            womenwentvirakthiswasintentionall
                                            k ccalledby M s.M ccawley asthisshocldng
            narraùve comprised offrivoloustriggerwordswaspicked up by them edia and thepress

            instantaneously.
         84.Thispai culardefam atoly statem entwhich waspublished globally,w asa directresult

            ofM s.M ccawley'sV owingly false and defamatory statem entasshe stated tothe

            mediaaV sputforthinourcomplaintvD?z.
                                               j'/
                                                 .y'andTaylorBuuonassaultedseven



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            dferentdancers,includingwomenwhohzrvechosentomakef/le/rclatms
            anonymousl
                     y''

         85.Indeed,M s.M ccawley'sstatem entsw ereintentionally falseand defam atoxy asshe

            % ew thecom plaintawhich she m '
                                           ote,didnotRplztforth''th% Y usty and TaylorButton

            assaulted seven diFerentdancers''.
         86.Aspreviously statedaPlaintiF D us'ty Button hasm etonly oneofM s.M ccawley's

            clientswhich wasonly Sage H= phries,who to datehasnotnam ed Dusty Button asa

            Defendu tin hercomplaint

         87.Plaintif -
                     faylorButton 1- neverm etorherd ofJane Doe 1.

         88.Fourofthewom enwho ftled com plaintsbroughtfoxth falseallegations9om 2008 and

            2009,allfom'ofwhich Plaintil Dusty Buttonhqsneverm etorlœ ow n.

         89.ln 2018.fourofM s.M ccawley'sclientslied to law enforew nentincluding tbreewho

            fled statem entsand/orfalsereportsin Floridaw ith theHillsborough Colmty Sheriffs

            Departm entwhereas,the StateAttom ey om cially declined to m oveforwardw ith any

            chargesagainstM r.Button and tllem nt.
                                                 terw asclosed in November2018'
                                                                              ,now these

            w om en continuetohsrnqsand falsely abuse tlle M eToom ovem entagainstPlaintiF

            TaylorButton who hasendttred severeem otionalH um abecause oftheseheinousand

            false allegationsaided by Sigrid M ccawley in them ediaandthe press.

         90.Sigrid M ccawley wasin possession ofo'ery singlereportand documentincluding case
            clostlre îonnspriorto m nking herfalseand defam atory statementsnearly two years

            priorto flingthe complaintsin Nevada.

         91.PlainiF -fayloTButtonwasnevercharged,questionedogconvictedofanycrime,

            especiallynotfortheallem tionsstatedbyMs.Mccawley'sclientqin2018,(wlaich



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            wereallallega:ons9om 2008and2009),whbal1Eledtheirfalsereportsatexactlythe
            sametimeandinconjunctionw1t.
                                       11SageHumphries'permanentreslniningorderbeing
            granted atan ex-partehearing,on thegroundso
                                                      'fâaud.

         92.D efendant'sthreeclients9om Floùdafabricated allegationsofsexlmlassaultagainst

            PlaintiF TaylorButton,pursuedboguscrim inaland civiladionsagainsthim ,m ade

            false and m aliciousstatem entsabouthim ,and generated am ediablitzbased on their

            Ees.

         93.M s.M ccawley'sclients'm otivesformnking theirfalse claixnsand statem entsarenow

            clear;they wM ted to destroy tlleButtons'reputatiolzsand careers,gam erattention for

            thexnselves,O d exeactm illionsofdollarsâom theButtonsw hile seeking an

            outrageousoneEundredandthe
                                     ' mllllon dollars9om t11- inNevada These
            wom en were aided in those effortsby th* attom ey.DefendantSigrid M ccawley.

         94.Althoug,
                   h sevee dilerentpolicedepartm enl,including tlw Depnrlm entofJustice,the

            State Attom ey'sOm cein Floridaand the DistrictAttorney ofSom ervillein

            M assachusettsfound the allegationstlnworthy offuim innlclmrgesthe dnm ageto

            Plaintie hasbeen extreme ard inw arable.

         95.M s.M ccawley knew thatthe StateAttorney in Florida and theSom erdlleDistrict

            Attorney inM aqsachusettsdeclined to bring mim inalchargesbutcontinued to falsely

            accusePlaintiffsofverifed crim inalconductin them ediaandin thepress.

         96.In publishingthe falseanddefam atoly statem ents,DefendantSigrid M ccawley

            knowingly and intenionally m isrepresente thet141t11and m anufadured false

            infonnation otltofwholecloth.




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         97.Atthetim eSiglid M ccawley publishedherfalse statem ents,M s.M ccawley had actlml
   2        u owledgethatherstatementswerefalseorhad recklessdisregardfortheirfalsity
   3
            becauseshehadnoobjedivelyreasonablebasisforbelievingherstatementsweretnze.
   4
         98.M s.M ccawleyh% also unelhicallym adethesedefam atory statem entsand accusations
   5
            in Courtincluding by stating thatPlaintiF TaylorButton O eclined apolyn ph test''and
   6
   7        K'
             lawyered up>',and thatwasthe solereason M r.Button wasnotv estedorcharged;as

   8        theCourtisawr e,alawyerdoesnotpreventclmrgeslending to atzinevitable arrest,

            tlm ugh Sigrid M ccawley 1mKstated on antunberofoccasionsthatitdoes.

         99.Fortherecor; Plaintif TaylorButton neverdeclinedupolygraphtesthowever,
  11
            unfortlmstely fortlleintegrity oftheCourttlzrough publicperceptiow M s.M ccawley's

            statem entsixxthelitigation gre privilegedaallow ing hertom iKlead theComt

         100        M s.M ccawley wasin possession ofthe clearedreportspriorto each com plaint

            and amended com plaintbeing fledyetacontinued to bzmewsand defam ePlaintiF Taylor

            Button in the m ediamzdin thepress.

         101.       Ms.Mccawleynotonlyunethicallyplayedtothemediabutsheintentionallk
            created a falseO d defsmatoly nm tivewltich w asirlconKiKtentwith herclients'

            complainttoconvincethepublic,includinganypotentialjtu'
                                                                 orthatherclients'
            allegadons,(thoughfalse),werem mlleltotheallegationswhichhadrecentlybeenher
            Rclm'm to fam e''in theEpstein and M axwelllidgation andherrepresentadon ofVirginia

            Gilvœ e.

          102.      M s.M ccawley lwewzherfalse and defamatoxy nnre ve provided a

            questionable foundation forthecom plaintsGled butthatitwould sensaéonalize and

             am plify any headlineto follow tlm sfoxtifying thatfrivolousfotm dation.




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       l        103.         AsM s.M ccawleydmffedherclients'complaintsheo tzw/agtvmadethese
       2              defam atoxy statem entsto intentionally m islead tbepublictllrouglztbepressandthe
       3
                      m edia by falsely staung tllatPlaindFs,together,abused seven oftheirstudentsas
       4
                      danceteachers.which isnotin any way,shapeorform wlzatthecomplaintstates,
       5
       6              though thecomplaintitselt isH udulent.
       y        104.         Defendants'statem entswere madeoutofactualmalice,in an eFortto nzin

       8              Plaintifl-
                               s'livelihooi carec,reputationsandoverallabilitytodefendthemselves
       9              againstthesefalseand defnm ntory allegationsin them edialv-fortothe onsetofher
      10
                      clients,complaintbeing flled.
      11
                105.         On M ay 2'7th, 2022,Sage H= phriesand Sigrid M ccawley requested and
      12
                      executed a globally aired interview on Good M om ing Am erica fhrtherdefnm ing
      13
      14              Plairz Fsl6'

      15        106.         In July of2022,PlaintiFsDusty and TaylorButton Gled a M otion to Dism iss

I     16              tlleSecondAm ended ComplaintandCounterclaim itlNevada, adding a third-party

I
       17               m laintagsinqtSage Htmp luies'parentsand three m enw hom Sage Hum phrieshad
                      co p
       18                                                                     17 ujj
                      illegalandinappropriatesexnnlrelaionshipswith DarylKatz (b osaireandowner
       19
                      oftheNHL team TheEdmontonOilersl,AnthonyCziovnnniDeane(SageHumphries'
I     20
      21          .
                      ex-boygiendwhom wasmoreth% twodecadeshersenior)andChaseHnlay,(whom
!
1     22              Sagedatedwhilsthewasengagedtoanotherwoman.thusdeskoyingtheir
1     23
                      engagementandtheirrelationshipinitsen:rety).
      24
      25
            16httpsr//qn nsr.
                            &'outube.x Y ksr
                                           atch'?A- ducl
                                                       'hm   oo- GoodM orningAmericainterview w ith SageHumphries
      26 andsigridMcçawley
            t7huosr//e m ontonl
                              'oumz.coY nevN's/local-neAs's/oileae qAmerd m rl-kac-> d-ballet-dM cer-bodz-denv-
      27 ileeauo--lmr-hM -sexu -rela:onship-EdmontonJonmalArticleregardingSageHumphriesandDarylKatz'
            relationship.
      28

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   1      107.       In Jtlly of2022,M s.M ccawley specifcally nrmnged an interview w1t11
   2         cyretc1,en v ossofBoston M agnzineforherclients, sageH um phriesand Jane Doe 1.
   3                                                                        .
          108.        ()n theday PlaintiF Taylorand Dusty Button'scotmterclmm wasGled,Sage
   4
              Humphlieswasm id-interview wit.
                                            h G etchen V oss.whereasevea tbing Sagehad ever
   5
   6          said wmsdisproven by PlaintiFs'cotmterclaim and exhibitsand which Sage

   7          Humphriesand hercotm selhad withheld in ordertom aintain thefalse narrativewhich

   8          wascreated by Defendlmt,Sigrid M ccawley.
   9      109.       Aspreviously statedxdnring Sage H= pluies'interview w 1t11Cyretchen Voss,
  10
              sheabnptly ended herinterview beforeitw ascompleted.
  11
          110.       M s.M ccaw ley bad acm alknow ledgeofM s.Humphries'sexualrelationships
  12
              w ith Anthony CdovnnniDe> e,Chase Finlay D d DarylKatz.
  13
  14      111.       Sage Hm nphries'and JaneDoe 1'sBoston M agnzine interview lsfurther

  15          provesthatSigrid M ccawley knew thatherclients'statem entswere defnm atory but

  16          m ade them anyway.
  17      1l2         PlaintiEsspoke to Gretchen Vossin Januaty of2024 whereas, M s.Voss
  18          statedthatJane Doe l,sinterview wasuso j)a(j,,tjjatv s.M ccawley called Gretchen
  19                                                                                     $
              Vossto apologizeforherclients'interview andM s.Vossstated itwas<tthe worst
  20
              interview shehad everdone''due to thefactthatJane Doe 1 could notconstnzctan
  21
  22          intelligiblestolylinethatwouldhavebeen believableeven (
                                                                    /shehad everm et
  23          PlaintiFs'Taylorand D usty Button before,which shehasnot
  24       113.      Thisinterdew wasslanderousand defam atory asPlaintiFshaveneverm et
  25          Jane Doe 1 and thereforenotbing thatshe could say would fallin anylw lm oftnzth.
  26
  27 1%Ilursr//waa r.
                    bostonmnoe ne.coY nmAw/zozz/o8/oz*l etucM dz-bostoi -BostonMagazineM icleabout
       SageHumphriœ andPlailztiFsDustyandTaylorButtonmAugust2n$2022.
  28

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         1           114.        InAugustof2022,O erbeingphysicallyandG ancially(legally)threatened
        2                by o G lKatz and u sured conwcted felon ''sxer'', Antllony pellicanolg, agains.t
        3
                        Plaintifrs'dematlds,PlaintiFs'attorneywithdrew DalylKatz(withatolling
        4
                         v eement)andtheothertwomen9om thefhird-partycomplaintleavingonlySage
        5                                                                            .
        6                Hum phries'parents.

        y            115.        ln Octoberof2022,Plaintiffslosttheircounselduetotheinability to coninue

        8                ïlm ding theirrepresentafon having already sold a1loftheirassetsto flm d that
        9                representation up to thatpoint.
      10             116.        Since October 14th,2022,Plainiffslhqvebeenrm se againstSigrid M ccaw jey,
      11
                         associatesofBoies SchillerFlexnerand theirsix clientsaoneofwhom PlaintiFshave
j     12
!
i     13                 nevermetorEeardoll(JaneDoe l),butallofwhohaveadmlttedunderoaththat
E
!     14                 they wererecw itedby Hnmphriesand/orhercolmqelandthatt
                                                                              heircla.
                                                                                     lm qjyaveno
(
i     15                 basisorgrounds.

      16             117.        ()n Fe        2nd, 2023,theN evada DistrictCourtheld an 0m 1Argtlm enton
i     17                            .
!                                   ng m otionsincluding Plaintiffs>c otmterclm'm againstSageHlzmphriesv
                         severalpendl
'
'     18                                                 .         .
,                        which included supplem entalexlubitsincludlng textm essagesbetween Sage
!     19
i                        H umphriesand herm otherregardingherm other,sdisapprovalofherdaughter,s
i     20
j                        consensualdadngrelationship w1t11Taylorand Dusty Button in 2017 and aJtlly 22nd
r     21
i
;     gz                 2017 falsepoliceincidentreportliled by SageHumphries'm other.counteling Sage
!
7     23                 H umphries'allegadons,in addiion to thedefam adon claim sagainstherforherGood
!
q     24                 M om ing Am ericainterview on M ay 27*. 2022.
t
1     25
l     .-
       ,x .
          ,-..
          -                                                                      .
i     21 19htos:
               //v% eh,.coY 202Nf1W ne&:V> 1on&'-peEic> o% 'l-katz-mrc-r= dazzn-1235349929/;
l                h% s://i eneqradindenendent.coY M icl/x nica os-orœenco adds-a-neqqr
                                                                                    -hqist-in-bzledna-sexexnloitaéon-
      27 litieation ;haps:
                         //qu&qAz.= ino.orinevq-
                                               s/m- -A&rimtap-mi-o ed-to-disaonor-billionirobzleùna-sex-lasvsif ;
                 e clesregardingDmylKaà llilingAnthonyPellicanotosilo cePlaintilrsDusty andTaylorButton.
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       1      118.        sageHumphriessledto dismissD usty and TaylorButton'scounterclaim
       2              ainstherwhereas the CO- DENIED herm odon to dism issthecotmterclaim of
                                      ,

       3
                  defamationperse,filrtherprovingMs.Humphliesallegationstobegaudulentand
       4
                  thatnotonly wasSigridM ccawley unethicalby creating annrmtiveto coverup her
       5
       6          clients'relationship with PlaintiFs.
                                                     buttI)A SigridM ccawley'sunetllicalplay to the

       7          m edia included a false,defam atory and m aliciousnnrmtivecreated forthe sole

       8          purpose to m islead thepublicand thatherstatem entswereknowingly and

       9          intentionalk falseanddefsmstoryagsi.wtPlaintifl-
                                                                 szo.
      10       119.       Itshould bebrielly noted thatPlaintiffs,M otion to Dimxgsstlte second
      11
E                 Am ended Complaintw asonly denied in flzllasSigrid M ccawley andherassociates
      12
                  intentionally failed to providethebiulldays foreach ofherclientswitllin the
l     13
j
I
      14          complaint.mnlci
                                ngitimpossibleforDustyandTaylorButton.whowerenewlyprose,
                                '
I
i     15          todiscoverthestamteoflimitations(tlzoughtlzeallegationsm'efalse),foreachlitigant
!
;     16          especially forJane Doe 1,aw om nn they had neverspoken to,m etorheard of;
;
I
l     17          Plaintifrstmfortunately lostthcxircozmnelon october 14*, 2022 due to snancial
I
I     18
I                 inabilityto continuepaying foran attorneyparticulady duetothew%ted;meand
!     19                                               '
1                 resourcesofawom an tlwy have neverm etbeing represented in tl,e Am ended
!
I     20
L
r     21          com plaint- tlaneDoe1),asecondAmendedcomplai
                                                             ntbeingsledandvgument
i
!     az          surroun
                          dingacameraron +atsageHumphuesuploadedon ousty andTaylor
i
C     23          Buuon'slzard drive in 2017 which sigrid M ccawley stated w asstolen by Plaintiffs
!
!
j     24          âom sageHumphries,whohasfmallyadmittedviadepositionthatitwasnotstolen
j                    '
1     25                                '
1     26 20()nFebruary 17*,2023Honom bleJudgeTmtunenteredanOrderdenyingSagellumphries'm otiontodismiss
           DustyandTaylorButton'sdefamationclaim againstherwhereastlleCourtstated:O asedonthedetailsherein
      27 andinlightsoftherecordasawhole,tl:eCourtdeniG SageHurnphries'MotiontoDismissthecounterclaim of
           defamationperse.''
      28

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       1           afteryearsofmoéon practice in two statesproving itwasneverstolen,ultim ately
i
i      2           becom l
                         'ng the forepontofaIitigation thatw asfled based on rape and groom ing and
r
       3                    .
                   the culm lnaion ofeventsresulting in thelossofcotmselforD usty and Taylor
C
!
       4
!                  Buttonzl
1      5
i              120        ()n February 22nd 2023 PlaintiFsfled am otion to vacateSageHumphlies'
1      6          -                        >    3
I
       y           abusepreventionorderwhichwasgrantedin2017,(whichiscv entlypendingappeal
q
k      8           ontlzegroundsofâaudontheC0urt1,inBostonaMA.
:      9       121.       Plaintigs'discovered evidenceof&aud in tlw Nevada litigation proving Sage
      10
ë                  Hllm phdes'âaud on the Courtin 2017 and 2018 including false policereportsand
      11
                   lying to law enforcem en: which Plaintie werenotaware ofundlthediscovery ofthe
      12
                   Nevada litigation began butwhich sheused to sectlreherabuse prevention orderin
      13
      14           2017 and 2018.
       15      122.        On June 11th, 2023,PlaintiFsfiled to appealthedecis-ion to vacateSage

       16          Humphries'restraining orderon the grotmdsoffraud on tlleCourtin lightofnew
       17          evjdence.
       18      123                  ,                                                                  a
                   .       PlaintiEq appealiscurrentlypending intheM assachusettsAppellateCotuf .
       19
      20
      21
      22 21AttheFebruary2n12023hearing,Hon.JudgeTrnnm alsoS'K'
                                                             ItGIitwasprematuretodismissthecomplaint
      23 andthatshewouldbelook'ingintothesfnoxte.
                                                qforœchstateregarding f
                                                                      mrlaindividual;additionally
            understandingDustyandTaylorBulton'sfrustrationAvithlhednmningevidenceagainstSageHumphriesandher
      24
      25 parentsbutexplaining'
                             shedidnothavejurisdidionoverMicahandMichaelHumphrieswhoareresidentsof
            Califomia However,DustyandTaylorButtonhavenow Gledanew M otiontoDismissandCounterclaim which
      26
            ispending.
      27
            22Dockd number:2023-P-1202- Buttonv.Humphriœ
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         124.      On February 24*, 2023,JulietDoherty,(oneofSigridM ccawley'sclients),

            voltmtarily withdrew herselfâom theNevadalitigaion.

         125.      In June of2023,Plaintillk fled aRule 11M otion for SanctionsagainstJane

            Doe 1 and Sigrid M ccawley asthey havenever m etJaneD oe 1 whereas,PlaintiFs

            proved thatherallegationswere notonly impossiblebutthatSigrid M ccawley had

            indeed,violated Rule 11and had notperfonned aremsonably diligentinquiry into her

            clients'allegations.

          126.     JaneDoe 1'scomplaintw asttnmended''>forcing a third mnended complaint.

                   n isacéon resulted in Plaintiffsfling a new m otion to dism issthe complaint

            and Gling anew co> terclaim againstallpartieswhich isstillpending.

          128.     PlaintiFshave deposed a1lpartiesixwolved w hereas,theirdepositionsfurther

            proveSigrid M ccawley intentionalb andknowingly defamedandiniictedhnrm upon
            PlaintiFswhile simultaneously recruiting herclientswho othem isehadno intention

            ofsuing PlintiFs.
          129.     Plaindcshavebeen in litigation w1111M s.M ccawley pending threeyearsin

            w hichoM s.M ccawley continuesto intentionally defnm e and harassPlaintiffsthrough

            litigaion,the m edia and thepressw1t11no consequencethusfar,forherev egious

            acEonsofabuse ofpowerand defam a:on.

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            A. Sage Hum phries

          130.      In 2012,PlaintiFsm oved to M assachusettsasD usty Button becam e a

            com pany m em beroftheBoston Ballet



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         131.          In 2014,D usty wasprom oted to Boston Ballet'shighestposidon irlthe

            company asPrincipalballexina.

         132.          ln 2016,SageHumphries,who wasalso am em berofthe Boston Ballet,

            inloduced herselfto Dusty Button attheBoston Balletwhereas,they becam egood

            friends.

         133.       ln2017,SageHumpM es,(nearlytwentyyearsold),infltratedPlaintiffs'
            m arriage,initinting aphysicaland sexualrelationship w ith both Plainiffs,ultim ately

            forming an open dating relationship foraboutfourm ontlks9om M ay tm tilJuly of

            2017,thusm aking Plaintiffsone ofdozensofunconventionalrelationshipsthatSage

            Hum phriescreated in herpm suitofâeeing herself9om theconfnesofan

            overcontrolling fam ily.

          134.      PlaintiFshaveneverhad interestvbeen involved in orinterested in atlopen

            relationship priorto allowing Sage HumpM esto inflltratetheirm arriageand would

            neveragain do so.

          135.      In April,2017,Plaintiffsw ere invited to M s.Humphries'parents'hom ein

            Califom ia forF-
                           qqterand to celebrate Plaixd F TaylorButton'sbirthday which isApril

            16th.
          136.      On ApHl16th,2017,SageHumphliesmsked Plaintiffsifthey w anted to sleep

            atherfather'sRlaw oo ce''which doubledasaRbeacllllouse''in SealBeach,CA -
            TheLaw OY ce ofM ichaelHtlmphlies.
                    On April16th,2017,SageHumphriesstated shehad aN urprise''forTaylor's

            birthday,where% ,sheinitiated athree-way sexualand em otionalrelationship that




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           evening asaproverbialbirthday giA forPlaintiffsTaylorButton and Dusty Button,

           dmsbluningthelinesbe- een friendsltip andrele onship.
                     On them orning ofApril17th,2017,Sage'sfatherwalked in on the three,nude
         138.
           togetherinbed.andwhilemnkingtmbroken eyecontactsimplyz'
                                                                 eminded Sage

            Humphriesofherdentistappointmentthatmorning and leltlaterdirecting Plaintiffs
   6
            wherethe bestcofeeplace in town wasand canied on fortherestofthetzip asif
   7
            notlu'
                 ng happelw d.
         139.      Following the intim ateintem ction which took place on April 16th,2017,Sage
            Humpluiesand Plaintiffs continued theirrelationship.ultim ately labelhlg each other as
            O oyfriend''andRgirlfriend''andspmtdingmostoftlwirtimetogetherinarelationship

             asSageHumphriesaskedPlaintiflkifshecouldstayattheirapnrtmentthemajorityof

             the tim e.
          140.        M s.Hx phries'parentsneveraddressed walking in on the three.
                     Follow ing the Apriltrip to Califom ia,M icalxHmnpluiesinitiated a çKgroup
   16     141.
             text''w ith herdaughterand Plaiutiffswlzich w asregulady used.
          142.        In M ay of2017.M s.Hum phries'pr ents agaim ùw ited TaylorButton to their

                hom eon two occasionswhile he wasthere forwork,in which he obliged.

           143.       AttheendofApH1.2017,Ms.Humphzies'parents,(MicahandMichael
                Humphries).madeitclearthattheyknew shewasinadntingrelaionshipwïthb0th
                PlaintiFswhemeas,atGrstyM s.Humphries'parentsacceptedtherelationship,asking if
                she could m ove in with PlaintiFsstating they knew Sage'sdesire wasto m ove in w ith

    25          them and wantedto m ake sureitwasokay with PlaintiFs.
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                       ln M ay of2017,M icah Hum phriesvisited PlaintiFs'hom e in M assachusetts?
         144.
            staying overforonenightduringhervisit.
                       ln M ay of2017,Sage'sparentssentthe sllmm eritinerary they pllmned forher,
         145.
            giving herdatesin which,she wasallow ed tom akeherown plansforthe summ er,
            though shew msan adult whereas,SageH umphxiesm adeitclearthatshe already

            madeplanswithPlaintifrstotraveltoAustraliabutwouldadjustherscheduletoalso

             ftinw hatherparentsscheduled forher.
   8
                    Upon Sage Hum phries'statem entsto herm otherregarding hermzm mer
          146.
             schedtlle,therewmsa com pletetlzrn ofeve11ts,asSageHum phrieswasinsistenton
             beingallowed tomakeherowndecisionsincludingtltetextmessagebe- een Sage

                andhermotherwhich statedthefollowing:
                @M icaN H um pEriesto Sage:tt-fhey arenotyourm asters.Idon'tltnow w hatconkol.
   15           l'm pretty sure thisisa threesome artd l'm completely w eirded outby a11ofit.You've

                lcnown t11- 3 m onths.Iloveyou sagebutthis situation isdestm ctive to you and not

                healthy-''
                 .SageHumphrla rapondedtohermother:1)tç                  istextingyouregarding
                 whatyousaidabouthertodrk.2)youarepamnoidandsotmdcrazyregardingthis

                 relationship.
                 *M ico H um phriesreplied:ultisweird Sage''.
    22
                 .
                     SageHumphrlesreplied:3)Rthisismychoice''.
    23
                 .   M icah H um phries:usage''
                  .SageH um phrles:um y lifem y sllmm er''

                  .
                      M icah H um phries:RIloveyou w1t11allm y hemf'.



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           .
               Sage H um phHes:KW obody iscontrolling m y life.Y ou arethe only person trying to

            do so''
                   Followingtllisargumentbetween Sageand herm other,itwasthen m ade clear
         147.
            (1 atllrnofevents),thatherparentssuddenlydidnotapproveofherdecîsiontobein
            an open dating relationship with PlaintiFs.
         148.        On M ay 17th,2017,M icah Humphriestexted her daughter,wnrning herthatif

            she did notend theTelationship w ith Plainiœ ,shewould fly to Boston *om

            Califonliawith l:erhusbD d and forcibly remove Sage.
         149.        Sage H= phriesignored herm other'sm essage regarding coming to gether
  11        thingsartd insteadacontinuedherrelationship w ith PlaintiFsasshe expressed thatw as
  12
            herdesire.
  13
         150.        OnM ay22111 2017.toPlaintiFs'sltockxPlaintiffDusty Button'scontactwith
               theBostonBalletwasabmptlyterminatedfortjustcause''>withnoexplnnntionasto
  15
               wlty shewasterminatedabanning D usty and Taylorâom the Boston Balletbuilding as

               w ellmstheBoston tlpma Housewheretheperformnnceswereheld and in fact w ould

               notallow Dusty to collectherbelongingsfrom Boston Ballet.
          151.        DustyButtonhasneverreceivedareasonorcauseforherterminadonfrom
               Boston B alletnorwasonenam edin the om cialdocum ention however,Plaintiffs

               now know ,M icah and M ichaelHumphriesconspired w1t1:Boston Balletto
               prem aturely terminateD usty Button'svery fm ancially lucrative and prestigious

               contrad .
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         152.     On M ay 24th,2017,Sage Hum phrieg'paren? senthera textthatthey w erein

           M assachusetls,ordering herto attend dinnerand falsifying thatM s.Htlm phries'

           grandfatherwasKtdying''.H ew asnot

         153.     OnM ay25th,2017,SageHtlmphries,(whowmsanadult),wenttodinnerwith
           Plaintillkpriorto herperform ancewith Boston Ballet.

         154.     Upon SageHumphriesarrivalto theBoston Opel'
                                                            aH ouse,shewas escorted out

           ofthe Opera Houseby Boston Balletstal and forcibly rem oved by herown parents

           who werew aiting atthe Opm'a Hottse.

         155.      Sage Hum phriescalled Plaintiffsscremning forhelp asshew asforced by her

           parentsinto a taxiathrough the airportand onto a plane,taken back to Californiato the

            Humphries'hom eto bettconverted''

         156.      MicahandMichaelHumphries(admittedly)strippedtheirdaughterofher
            drivers'lic.enne,cellphone and keystopreventher9om leaving theirhom eor

            contacting Plaintifl-
                                sorany otherthird party forhelp asthey forced herinto therapy

           thatthey funded with herown m oney tlzatthey stole9om herbnnk accountwithout

           Permission-

         157.      On M ay 27th,2017,Sage Hum phlies'parents sentatextm essageto Plailltiffs
           tllreatening them w1t.
                                11reO ining orders.




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  17        in Califom ia and onein M assachusetts.

  18     160.      Sage Humphliestried to escape hishom e in Californiawhereashe called the
  19        policefora falnily disturbance.
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         161.      MichaelHumphriestoldthepolicehisdaughter'sex-boyfriend,tplaindf
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            TaylorButton),boardedaflightawascomingtokidnapherandtakeherbackto
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            Boston,thatPlaintiFswere going to hnrm Sage andllerfam ily.Sage Humphliestold
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            the police thattherewasno validity to herfathers'statem entqto thepoliceand she felt

  25        safe,asseen below :
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         162.                 From Jtme 1stuntilJuly 18th,2017,SageHumphriescondnued to pursue

            Plainiflk,(whowereinAusM lia),viaSnapchatusingheryoungerbrothers'phone
            and attim es,sfrnnger'sphones,begging Plaindllk to N ave her''andto ftcom e get

            (herl'',thatherparentswereperformingexorcismsonher,hadkidnappedherandshe
            wasbeing forced into therapy.




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         163.      M s.H um phrieshid herrelationship and contactwith PlaintiFsfrom her
   2        parents.
   3
         164.      In July of2017,M s.H um phries'parentsgaveheran ultim atllm ;to eitherend
   4
            herdating relauonship w1t11Plaintiffsorshe would loseeve     ' g she everloved,
   5
   6        includingthattheywouldnotpayforhertickd togobacktoM mssachusettstorejoin
            theBostonBalletin Augustof2017.
   8     165.      On July 10th,2017,M s.H= phrieswarned Plaintiffsofherparents'

            ultim m m whereas,she additionally w am ed Plaintifrsthatshew ould leave a fake
  10
            breakup voicem m'lon theirphonesin ordertom ake herparentsbelieve she ended the
  11
            relationship,allowing herto go back to Boston butinsisted she wanted to continue the

  13
            TelationshipwhenbackinBoston;shejustneededtottmslceherparentsthinkshewas
            ending it''

  15     166.      ()n July 14tll.20l7aM s.Hm nplzriescontacted Plaintie and stated herparent.
                                                                                             s

            were forcing herto seea lawyer,thatshe gotreally upsetand leftand stating to

            Plaindffst1% herparentsw ere forcing herto sigtlres% ining ordersagainstPlaintifrs

            orthey would notgiveherback herâeedom .

         167.      Sage Hum phriesdid notlilloutthereO ining orderapplication fonn,her

            parentsdidmforcing Sage Hum phliesto signwhatthey had m itten.
  21
         168.      '
                   Ihisforgery hassincebeen adm itted by Sage Hum phriesperherdeposition in

            Septem berof2023.
         169.      On July 18th,2017.M s.Hum phriessuccum bed to herparents'pressurew hen

            herparentsadmittedly m essaged Plaintiffs9om heraccountthusending her

            relaionship w1t.
                           11Plnindffs.




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         170.        On July 22nd 2017, SageHumphries'ftled a false police reportwith the

           OrangeCotmty#oliceDem dmentcon- dictingherpriorstatementstothepolicein
           M ay in orderto havea recordtI:M she fled areportin preparation forherreskaining

           orderhenring.

         171.        The police noted they hadpreviously been called toherparents'hom eon

           num erousoccasionsforthe sam em atter;every reportwastmfolmded asshown below '
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         172.     PlaintiFswere neveraw areofthese reportsflled 1111t112022.

         173.     On A ugust1st,2017,M s.HumpM esfled lzerapplica6on fora tem porary

           restraining orderagainstPlaintiFsin Boston,M assachusetts.

         174.      On A ugust14th,2017.M s.Humphrieswasgranted aone-yearreM ining

            orderagainstPlaintiFs.

         175.      SageHumphriesperjuredherselfinCourtthatdayandcommitledgaudupon
            the Courtto ensureherrestraining orderw asgranted-

         176.      Sage Htunphriesom itted evmy police reportin herhenri
                                                                       ng in orderto state she
  10        O led''policereportsagninKtPlainiFsbutfailed to bring the actnnlreportsproving all
  11
            ofherstatementsandherparents'statmnentsto thepolicew ereamfounded and that
  12
            herstatcwm entsin Courtwere âaudtzlent.
  13
  14     177.      Sage Httm phrieshassince been deposedmin 2023.whereas.she adm itted her

  15        restraining orderwasactnnlly to preventPlnintie 9om O lackm ailing''her,asshe

  16        previously uploaded a cmneraroll9om heriphonein 2017 to Plaintiffshard drive
  17        upon request in orderto send hero1dphoneback when upgrading phones.
  18
         178.      The cam erarollsheuploaded in 2017 consisted ofscreenshotted
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  22                                 .

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  25     179.      Sage Hum phliestold PlaintiFsthisrelaionship with Katzbegan when shew as
  26
            seventeen.
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         180.      Sigrid M ccawley'sdefam atory globalm edia campaign againstPlaintifs,w as

           apublished,m isdirected and sinisterfavorto herclientaSage Humphries.

         181.      Sage Humphries'fatherisan attom ey,who abused hispow erby falsifying

           docum ents and forcinghisdaughterto signthem by way ofthreatand inim idation.

         182.      Sage Humphries'fathertzsed hisconnecfonsto ensurehisdaughter's

           restraining orderwasgranted astheJudgerefused to look atoracceptany evidence

            againstSageHumpluiesorherparentsprovided by Plaintiœ thatday when they

           requested theirthousandsoffllesbeliled asexhibits.

         183.      In 2018,on Jtm e 11th,SageHtzmphriesGled anotherfalsepolicereportin

            M assachusettsagainqtPlaintiFs,falsely stating Plaintiffswere selling illegalflrearm s

            in Califom ia

         184.      Thisreportw asunfounded by police asthe allegationswerefalse.

         185.      ()nAugust14th.20l8athenightbeforeM s.Hmnphries'restrainingorder
           renew alhearing,Sage Htunphriesfled D otherfalsepolicereportin M assachusetts

            claim ing Plaintiffsw ereusing a third-party to stnlk her.

         186.      Thisreportw astm fom ded by police astheallegationswerefalse.

         187.      On A ugust15th,2018,the Courtheld an ex-partehearing whereas,Plaintiffs

            werenotaware oftheheJm'
                                  ng,norwerethey presentand M s.H lzmphlieswasgranted

            aperm anentrestraining orderagainstPlaintiFs.

         188.      SageH umphliesused thefalse statem entsshe reported to police in Courtbut

            neglected to bring the actualreportswhich showed herallegationswere allfalseand

            unfotmded,which Plaintiffswereneveraware ofuntil2022.




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         189.     M s.M ccawley intenEonally liedto them ediw thepressand thepublic

           regarding Sage Htlmphriesstating:ashe J/aJ tried topursueherperpetrators''and

           lsagel ''/rfe#togetintodiscussionswithdetectivesJZIJnoneofthat/1/#reallycome
            tofruition''
         190.     A sseen,supra,Sage Hxlm phriesdid pursuePlaintill-
                                                                   sand in facta1aw

           enforcem entwasdiligentin hesring herallegaionson every occasion however,what

            Ms.Mccawleyintentionallkerclz/lelwasthat,onmultipleoccasions,duetoSage
            Humphries'false allegationsand inconsistenciesin herstoxy,atleaston seven

            diferentoccasions,1aw enforcem entfou d herstatem entsto be lmfotmded and

           inconsistentwitltthe evidence ofhercon- Aualdating relationship with PlaintiFs.

         191.      Given Defendnnt'sacflAnlknow ledgeoftllerelationship between Sage

            Humphriesand Plaintiffs.herrepeated statem entsthatPlaintiffswereperpekators.

            crim innlsam entorsto Sageand predatoa,areknow ingly and enirely delm atory

            statmnentsm ade with actnnlm alice,which destroyed Plaintiffs'businessM d any

            chnnce ofrecoven'ng from the       ewhich w asimm ediately done to tlleircr eers

            and reputations.

         192.      '
                   fhe importzm ceofD efendant'srolein thisdestnldion wasto elim inate

           PlaintiFs'ability to workmthusœssuring thatthey wotlld beincapable offunding a

            defenseagainstherclienfsfrivolousand m aliciouslawsuitGled againstplaindffswith

           the singularpurposeofforcing Plaintifrsto deskoy evidencethatfederally

           incrim inatesSageH umphxiesand oneofthew ealthiestand m ostprom inentm en in the

            country,DarylKa% (owneroftheEdmontonOilersNlllateam),forillegal
           prostituéon,




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         193.      M s.M ccawleyhad acm alu owledgeofSage Hum phries'consensualdating

           relationship with Plain:lrsand in factahadthexeo ining orderin herpossession from
           2017 priorto liling herclients'com plaintwhereas,therep% ining orderstatesthat

            Sage Hum phrieswasneverforced,threatened ortmderduress atany tim e during her

            dating relationship with PlaintifYs,including dllring intim ate orsexualrelations.

         194.      M s.M ccaw ley intetdonally chose to write a G volouscomplaint,and

            embellish on those givolousand fraudulentstatem entsw ithin thecom plaint,to the

            m ediw m isleading them ediato believethatSageHtunphriesw asçtm entored''by

            Plaintifs,abused and raped.
         195.      '
                   I'he evidence ofHtlm phries'and KatzbehaviormthattheBoston M unicipal
  14
  15        Courthasruled wasthexiglztfulproperty ofPlaintiffshasbeen thekey focusofM s.

  16        Humphxies'âaudulentlawsuitaasa11partiesinvolvedintheNevadalitigaion,(aside
  17        9om DustyandTaylorButton)havefought,perjuredèemselvesalzdmanipulatedthe
  18
            Courtin the hopesofforcing the Courtto orderthe destm ction ofthisevidencethat
  19
            willeventually leadto criminalchargesagains.tthepartiesitisrelativeto.
  20
         196.      M r.Katzoa third-party Defendantin the litigation nam ed abovealzasabused his
  21
  22
            w ealth and powerby biring a convicted felon to threcen thelivesofPlaintiffswhile

  23        ordeling theirsilence and like Katz,the conuption and illegalactivity ofhishired
  24        ''gun''Anthony Pellicano zunsdeep and thatadivity hmsplaced them both in various
  25        Courtqând vaùousheadlinesoverthedecades.
  26
  27
  28

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         197.      W llilethereasonsbehind Siglid M ccawley'sdefamadon rem ain entirely

           H elevant.considering tlzatherpublic shnm ing and abuse arenow and alwayshave

            been falseal!d m aliciousin theirentirety,the depthsoftheillegaland com lpt
            com ectionsm ay illllm inatethe aaoganceTequiredto perform these acts,arrogance

           thatstem s9om 1aw schooland them isgtzided feelingsofim munity thatcom e9om

            attacMng innocentpeople,atthepilm acleoftlleircareers,whileknowing they would
            beSnzmcially nzined alzd incapable ofdefending againstthe,
                                                                     defam ation ofa powerful

            andrenow ned attorneymbacked by oneofthep ostpowerftzlfnnsin the cotmtly.
  10
         198.      Elegalprostitutionvabuseofpower,sex h'
                                                        am cking and egotisticaleagernessto
  11
            prom ote herlitigation...Sigrid M ccawley m nliciously and aggressively defam ed
  12
            PlaindFsand deskoyed any glilnm erofafuturethey could hopeforand did so with
  13
            zzro rem orse and aproverbialm iddleGngerto anyonewho quesdoned herauthority in
  14
  15        the matter.

  16     199.      Sigrid M ccawley wasin possession ofthe evidenceproving the
  17        aforem entioned statem entstobe trueoverayearprkorto flling SageHumphries'
  18
            complaintincluding ççhtmdredsofhours''ofinterviewsconductedto diligently
  19
            investigateherclients'claims.
  20
         200.      M s.M ccawley intendonally Gled SageHumphries'com plaintwith frivolous
  21
  22
            and gaudulentallegationswhichsin tlm z,provided the fuelto the lire ofM s.

  23        M ccawley'sfalse and defam atory statem entsto them ediaathepressand thepublic

  24        includinganypotentialjuror.
  25        B. Gina M enichino,Danielle Gutierrez and JaneD oe 2
  26
  27
  28

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         201.      In 2018,GinaM enichino,Dattielle Guéerrez and JaneD oe 2 allftled false

            policereportsw1t11the                      Sherric sDepnrlm enta                   .

         202.      n eir(false)allegationsa11statetheywereabusedb#PlainiFTaylorButtonin
            orarotmd 2008 and 2009 buttheallegafonsbroughtforth allconkadicttheirnew

            com plaintfiled in 2021and have been negated by theirown deposition teqtim ony as
   6
   7        w ellasotherdiscovexy m atter.

   8     203.      AllthreeofSigridMccawley'sclients,(nnmedabove),madestatements
   9        w if:in theirreportsthatare notonly fnlqein theirentirety butarein no way similarto
  10
            whatM s.M ccawley fled ixtthe com plaintand in factvare corroborated by discovery
  11
            provided by herclients,proving M s.M ccawley knowingly fled a fslqe and G volous
  12
            complaint.
  13
  14
         204.      Plaintif TaylorButton w asneveraware ofthesereportsorstatem entsto 1aw

  15        enforcem entuntil2022,
                                 .howeverathesereportswere clered by exception asthe

  16        DistrictAttorney declined topressclmrgesagainstPlaintil TaylorButton in 2018 and
  17        the cmsewas closed.
  18
         205.      M s.M ccawley intentionally continuesto referto Plaintiflk ascrim inals,
  19
            predatorsand perpO torsto invoke harassmentfrom fhirdpai esand to enstlrethe
  20
            m ediaandthepressare controlled by herfalseand defam atory nnrcativewhich isnon-
  21
  22        existent.

  23     206.      Asoneexampleofproof DanielleGutierrezstatedto1aw enforcementandin
  24        atextm essageto PlaintiF -raylorButlon'sex-girlfxiend Collrfney G uerin in 2011,
  25
            aworstlgotfrom him wtw thathegtzpemeabloody/f#.Atm elbowingme''.
  26
  27
  28

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         207.      The allegadonsbroughtforth by M s.G utierrez accuse Nlr.Button offllrther

           exaggerated abuse including outrageousallegationsofthreatwith aknife,squeezing

           hertmtilhernosebled,dragging heracrossthefloorby herhairam ongstother

           outlandish and falseallegations.
         208.      M s.M ccawley wasin possession ofthese docum entsproving herclients'

            allegationsto befalse priorto fling M s.Gutierrez'scom plaint.

         209.      Thoughtheabovereferencedmessageisuntzuein and ofitself M s.M ccawley
            had acolnlknowledge ofDanielle Gutierrez'sstatem entsin thisparticulartext
  10        m essage,lzerstatementto thepolice,hertherapy recordsand through various
  11
            m essagespriorto Gling M s.Guierrez'scom plaint,a1lofw hich contm dictthe
  12
            frivolouscomplaintEled which statesnm nerousinstancesofviolenceand abuse,
  13
            whichneveroccurredandwhich arecorroboratedby dleevidenceagainstM s.
  14
  15        Gutierrez.

  16     210.      ThisisjustoneofmlmyexnmplesthatSigridMccawleyhadactualknowledge
  17        ofherclients'frivolotzscom plaà tsbutwhicllshe continued to disregard andinstead,
  18
            launched a globaldefam atory m edia cam paign agsinntPlaintiFs.
  19
            C. JaneD oe 1
  20
         211.      Plain:FsTaylorand Dusty Button Ilavenever m etorheard ofJane Doe 1,
  21
  22
            haveprovided prooftIZM herallegationsareliterally ilnpossible and fled Rule 11

  23        Sanctions againstM s.M ccawley andJane Doe 1forfling a frivolouscom plaint.

  24     212.      M s.M ccawley hasseverely defam ed Plaindflk with the allegadonsbrought
  25        forth by JaneD oe 1 in the complainthowever,M s.M ccawley hasgone filrtherby




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           defaming PlaintiFstllrough them edia,thepressand thepublic by way ofm aking false

           and defam atory statem entsregarding JaheD oe 1such as:

                   <t
                    D M5'
                        y,and Fe /orsaidthey wouldmakehera5'/Jr''.
                   allusLvtzzz# Taylortookherbacktotheirapartment,pliedherwithalcoholand

                   raped /,dr''.

                   GW cco vley saidlaneD oe 100 mettheButtonsin 2014,when she wlla

                   m inor.Shesaid theyplied herwith alcohol,took her to theirapartmentand

                   rtzrcl/lerf'-AP News-h% s://apnelvs.com/e cle/entedaH nent-boston-
                   lawsits-baBet-dance-4686848a1ad1 1& 5a48dbc096859 2 -Sept.29th, 2021.

         213.      Plaintifl-
                            shave uever m etor heard ofJane Doe 1 however,thedefam atory

            statem entsm ade in them ediawerenotevellconsistentwith Jane Doe 1>sallegations

           including because M s.M ccawley stated ttshe wasa minor'',whileJane Doe 1 cnnnot

           nmne a daymm onth,tim e,locadon,se% on oryearwhich herallegadonstook placebut

            statessheçtbelieves''ittook place in 20l4.

         214.      JaneDoe l'sallegationsconsistofstatem ents including thatshe allegesTaylor

            mld D usty Button rapedheratgun pointaad had an ttarKennl''ofgunslmngitv on the

           wall.

                   JaneDoe1ple nrizedMs.Humphries'e davit9om 2017whereas,Ms.
           Humphries'stated Plaintifrshad an Rarsenalofguns''however.PlaintiFsdisproved

           theseallegaéonsin 2017 w1t11receiptsandphotosproving they neverhad any ''arsenal

            ofgtms''hanging on the wall.

         216.      M s.M ccawley wasin possession ofthe receiptq9om 2017 aqwellasSage

           Hum phlies'e davitand therefore,thethird-party defam atory statem entswerea




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           directresultofSiglid M ccawley'sunethicalfalseand G volousfling,including the

           am ended com plaintfolloe g the SafeHarborProvision which wasissued to M s.

           M ccawley by Plaintiffsproving Jane Doe 1*sallegadonsare impossible.
                   In January of2022.M s.M ccawley and JaneDoe 1 attempted to lile charges

           againstPlaine swith Hom eland Security and theD epndm entofJusf ce.

         218.      Upon lenm ing ofthisinvestigation againstPlaintilsdueto Sigrid M ccawley's

            sl> derousstatementsaboutPlaintiFsto Hom eland Security,Plaintiœ em ailed the

           deplrlm entand any and a1l1aw enforcem entagenciesassociated with thelocations

           Jane Doe 1 stated shelived im in search forJaneDoe 1'sallegadonsorreportsfled

           with 1aw enforcem ent.

         219.      Plaintiflk discovered thatJmleDoe l1AnKneverfled areportw ith any 1aw

            enforcem entbutinstead Sigrid M ccawley conspired with herclientin an attemptto

           falsely accuse Plaintiffsmld have th- m osecutedmwho haveneverm etorheard of

            Jane Doe 1,forallegationstbatneveroccurred.

         220.      Plaintifrsm adecontactwith the               PoliceD qmmtmentwho

            inform ed th- thatSpecialAgentEvan Picariello from Hom eland Security stated,

            ualthough the crim inalinvestigation did notresultin charges,there isan ongoing civil

            lifgation.and itappem thattheButtonsareseeking any inform ation pertzu'ning to the

            Plaintifrsin an eFortto cleartheirnam es.''And;%*No crim e occunvd in

                 *
  24     221.      M s.M ccawley had actualknowledge thatherclientwaslying and isstilllying
  25        butcontinuestomakeslanderousstatementstothemediw tbepressandeven1aw
  26
            enforcem entregarding JaneD oe 1'sallega:onsagainstPlaintiffs.
  27
  28

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         222.      M s.M ccawley'sdefamatory statem entsto law enforcem entarenotphvileged

            and therefore constitute slander,libeland defam adon againstPlaindFs.

         223.      A sa directand proxim ate resultofSip id M ccawley'sunethicalplay tothe

            m edia and eagem essto convincethem ediaand thepress,on aglobalscale,thather

            clients'allegationswere outofEpstein andM axwell'sKplaybook'' Plaintiffs suffered

            lem endousand calskopllic losswhich willneverberecovered.

            SW dMecawley'sDv/o-e/nr#Statrmentszae 1 &eMe#l and*ePress
         A. Sigrid M ccawley's Fakse and Defam atory Statem eutto TEe New York Tim eson

            July,26* 2021.

                   @ alhisisapairqfperpetratorsw:oarehighly sophisticate4 highly
                      manèulativebandarecontinuing,which isexactlywhatz?!pclientswcre
                      concerned aboutvt'Sipid M ccawley said.

         224.      M s.M ccawley intentionally used false and defam atory statem entsto m islead

            thepublic,themediaandthepress,includinganypotentialjurorbystatingPlaintiFs
            were''perpelatorswho arehighly sophiO cated,highly m anipulative''and

            Kcontinuing''
  19
         225.      PlaintiFshavenevercolnm itted a crim e orbeen convicted ofacxim e.
  20
         226.      ln factaM s.M ccawley'sclientspreviously Gled false allegadonswith law

            enforcem entresulting in falsepolice reportsGled in 2017 and 2018 in which a11

  23        repoxlswere eitherunfotm dedadeclinedanotpursued and/orcleared by excepdon
  24        based on tllose âaudulentallegationsagainstPlaintiflk.
  25
  26
  27
  28

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         227.      Sigrid M ccawley wasin possession oftlw reportswhich show ed herclients'

            allegationsw ere false,unfounded and cleared on every occasion priorto m aking her

            false and defam atoly statem ents.

         228.      n eNew YorkTimesaicleisnotsubjecttothesinglepublicationruleasit
            wasreposted to atleas'tthree diFerentaudiencesincluding by being published on the

            New York Tim es'website,thenewspaperand theirsocialm ediaaccountsincluding

            butnotIim ited to lnstagra .

         B. Sigrid M ccaw ley's Defam atory Statem entsto TheBostou G lobe on Seplem ber
  10        29th z021.
  11
                       *   aWhatyouJlmzehereisthehighestJcnze/ofbetrayal''.
  12
  13
                   .   *   ''FO?Zseethezo'
                                         eofafamousfemaleballerinatoctllxthesevictimsintoa
  14                       situationwherethey becomepreyforthisa'
                                                                er/c/abuser.''
  15                   * f'
                          fa an tnstance Jf/rc this,w/lcrc.ytxlhave a àv?'
                                                                         /t# abuw r,you o-/iea t
                                                                                               tmes
  16                       seeotherwomenfeelingempoweredenoughtocomeforwardandsay,T-e,
  17
  18
                       * ''Eachoneoftheseàtz/ler/pl,
                                                   çwantgthistzà/z-
                                                                  çeto,
                                                                      V/oF'.
  19
         229.          TheDefendant'sstatem entsare notprivileged.
  20
         230.          M s.M ccawley used false and defam atory statem entsto mislead thepublic in
  21
  22        them edia and thepTessby stating PlaintiF D usty Button acoaw d victimsinto a

  23        situationwhere fàe.vbecomepreyforthi
                                               sserialabuse>'.
  24     231.          M s.M ccawley again,refersto PlaintiF M itchellTaylorButon asa N erial
  25
            abuser''on atleasttwo occasionswlv easmthisstatem entisproven tobe false.
  26




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                                                 I
                                                 t
         232.     M s.M ccawley refersto herclientsin the second am ended com plaintasEteach

            one oftheseballexinas'',yetathe only ballerina isSage Humphries;thisisrelevantasit

            diFerentiatesthe careerpathswhereas,Plaintiflk did notm entorand teach these

            wom en togetherasdanceteachers,which isprecisely whatM s.M ccawley so eagerly

            and falsely prom oted asaheadline.

         233.      PlaindFsneverabused anyone.

                   M s.M ccaw ley'sdefnm atoxy stptem entsdirectly resulted in false itlesand

            allegationss'
                        uch as:

                   * GG
                      starballerinaJccw-
                                       çelofhe/inghusbandabuseunderagegirls''-
                      Independent/Yahoolnews

                   * alhtheorfg/atz/lawsuit,fu'oprofessionaldancersallegethatMr.Button,
                      assisted by hiswffc,assaultedyoungdancershcwtz.çinstructing.''- '
                                                                                      lhe
                      Daily M ail
  16               . tt
                      W starballerinaaccm edofhelpingherllzl,ç/ltzaf/lf?xll//#abuseJwtp
  17
                      underagegfrl,çisnowfacingsimilarclaimskom threeotherwomen''-'Ihe
  18
                      Daily M ail
  19
                   * Gvn the or/g/ptz/suit,./#eJ i
                                                 n US DistrictCtwr/inNevada,M tchellwtu the
  20
  21                  onbpersonnamedasadqfendant,wf/:dustymentionedJà'analleged
  22                  predator.Sincethen,//oreemoreallegedvictimsJm ecomeforwardand
  23                  joinedtheexpanded/tzwâ'
                                            vf/.#/ellastwec/cAllthreet?fthosewomenltzvc
  24                  namedDusp Jx
                                 î'adqfendant''- TheDailyM ail
  25
                   * M dancers allegex
                                     ça abuseby Las Vegasinstructorand Jpâ'ballerina
  26
                       w!
                        /e''-LasVegasReview Jollrnal
  27
  28

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                      <<lhe lJw,
                               ç?zf/alleges thatthe couplelured thetrvfcffpu byprom tstng them

                      a mentoring relationshkbbutinsteadsexually andphysicall
                                                                            y JllMçel
                      them .''- LasV egasReview Jollrnal

                  * aFivedancersAmzcaccusedaf,J,
                                               çVegasfpx/zwc/t?randhisw# ,aformer
                                               -/
                      starin theBoston Ballet,tp àt
                                                  4xzltz//yabusingthem,accordingtoafederal
                      lawsuit''.- LasVegasReview Journal

                  * aD usty andM itchellFtz-p/orButtonareJccwx
                                                             çeltfsexuallyassaulting
                      nulnerousyoungdancers''-Dailystmnco.tkk
                  @ GWormerBostonBalletprinc+aldancerDzo'
                                                        /lzButton isaccusedqfpiling
                      boozeonto theg/r/and /tz/cjpg her back to herg/z?s.#& Japart
                                                                                 menttobe
                      attackel'- M ailonline

                   œ Jsheisnowfacinga totalqf./hzcvilexexlzl/assaultallegations,with three
                      morewomencomingforwardinrecentJaJ&j
                                                        '''.-Dailystanco.uk.
  16     235.     These statem entswould nothavebeen m ade ifitw erenotforSigrid
  17
            M ccawley and herdefnm atory statem entsto them edia and thepress.
  18
         C.SigrldM ccawley'sDefamatoryStatemeuttoCNN onSeptember30t5 2021
  19
                      ''TaylortzlW D usp Button ctza no longeruse the danceworld toperpetrate
  20
  21                  theircrim inalbehavioragainstyoung girls.frcvcwom en arezltzw coming

  22                  /brwwrlandsaying thiszzllas
                      .                         'rstop.''
  23     236.      TheDefendsnt'sstatem entsare notprivl
                                                       'leged-
  24     237.      M s.M ccawley used false and defam atory statem entsto m islead thepublicin
  25
            them ediaand thepressby stating Plaintilstçcan no longerusethe danceworld to
  26
            perpetrate theircuiminalbehavioragninKtyotm g girls''.
  27
  28

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        238.       PlaintiFsneverperpe% ted crim inalbehavioragainstany personaatld

            especially notagainstyotmg girls.

        239.       PlaintiFshavenevercomm itted orbeen convicted ofacrim eand in fad,were

            cleared ofany and a11false allega:onsassociated with false police reportsfled by

            clientsofSigridM ccawley,whereasshewasinpossession ofthosereportswlzich
            w ere eitherunfounded,declined,notpursued orcleared by excepdon.
         D. M s.M ccaw ley'sdefam atory statem entsto TEe Daily Star on Septem ber 30tb,

            2021

                   @ Gz
                      llust
                          yandM tchellpromisedtomakeherflaneDoe11astarbefore
                       abusing theirpower'',M s.M ccawley said.

         240.      M s.M ccawley'ssotem entsarenotpxivileged.

         241.      M s.M ccawley m ade false and defamatory statem entqto them ediw thepress

            and the publicby stating Y usty andM itchellprom ised to m akeherastarbefore

            abusing theirpower''.

         242.      M s.M ccawley referred to herclientJaneD oe lawho Plainliffshave never

            m et

         243.      PlaintiFshavealready Gled Rule 11 sancdonsagains.tM s.M ccawley and her

            clientJane Doe 1.

         244.      M s.M ccawley doesnotquote thecom plaintand instead m akesafalse and

            defam atory statem entto thepublic,the pressand them ediawhich isun% e and

            harassing towardsPlaintie .




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         245.      M s.M ccawley % ew thatherstatem entswerefalseand defam atory,

            intendonally inflicting hnrm on Plaintiffsby way ofherdefam atory and false

            statem ents.

         E. Sigrid M ccaw ley'sDefam atory Statem entto Law-com on August5th,2021 -

            he s://v- w.law.com/dilybusinessredew/zozl/o8/os/a-jee ey-epkein-doc= en> -
            led-boies-schillers-sio 'd-m ccawley-to-boston-bilet-sex-% sault-

            stIit/?slretum =20240327174207

                       GLlhatquoteandthatcoppzpffzzlez;/rangfmewithher,becauseshehadtried
                       toyzzfrâweherpem etrators,shehad a restraining orderagainstthem and

                       /rjcJtogetintodiscm stonswj//ldetectivesandnoneofthathadreally
                       cometofruition,''M c
                                          'c.
                                            '
                                            tnj?/cAsaid Gx
                                                         s'
                                                          /lehadsortofputitbehindherand
                       moved on,butjustcouldn't.So when shextzuzthatepisode,shesaid that
                       thatwlà'reallkaturningpointforherandshepickedup thephoneandshe
                       called ?ae.''

         246.      M s.M ccawley'sstatem entsarenotprivileged-

         247.      M s.M ccawley used false and defnm story statem entsto m islead thepublic in

            the media and thepressby stating herclient,tttried to pursueherpexpetrators''and

            tttried to getinto discussionsw ith detectivesandnoneoftllnthad really com e to

            fruition''>wheremq,Sage Humphriesmin factdied itpursue''PlaintiFsDusty and Taylor

            Button,(herex-boyfriendandSrlfriend)andasadmittedbySil dM ccawleyherself
            obtained abusepreven:on ordersagainstthem in 2017.

         248.      SageHumphriesdid in factm ake contad and reported herfalse allegafons,by

            Eling falsepolice reportswith m ultiple law enforcem entagenciesincluding




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            EGdetecdves''from Som ervillePoliceDepn- entaM elrosePolice Depsrlm ent,Orange

            County Sheniœ sD em rlmentmBoston PoliceDem rfm entand the DistrictAttom ey's

            Om ce in Som erville,M A.
   4
         249.       PlaintiFshave spoken to and subpoenaed every agency listed above whereas,
   5
            thereportsprovethatM s.Humphriesin factdid com m ullicate with allofthe above-
   6
   7        m entioned agenciesand thatdue to herinconsistenciesin hertestim ony and theproof

   8            ainstherklegauonsminclndingevidenceofaconsenqnnldatingrelationshipwith
   9        PlaintiFs,herreportswerem folm ded.
  10
         250.       The Som erville DistrictAttorney'sOm ce declined to m ove forward in
  11
            pressing any ohargesfollowùzg Sage Humphries'falseallegationseven afershe
  12
            obtainedapermanentabusepreventionorderm(duetofraudontheCo> l,in2018.
  13
         251.       M s.M ccawley knew thatherclientttpursued''PlnintiFsaasshe admitsin the
  14
            abovereferenced quote and in additionv1md actnnlH owledge oftherepoxtsand

            declination ofchargesagainstPlaintiffs.

         252.       Instead ofM s.M ccaw ley tnztltfully stating M s.Hum phrieshad a consensual

            dating relationship with Plaintiffs,she twisted thensnntive and portrayed Plaintifsas

            two <fdanceinstuctors''who <tm entored''herclientand comm itted crim inalacts

            againsther.
  21
         253.       M s.M ccawleyknew thatherstatementsweredefamatoa andmadethem

            anyWay.
         254.       M s.Humphriesfalse allegauonswere proven unfounded on num erous

            occasionsand Plaindffswere cleared ofany wrong doing on every occasion.




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         255.      M s.M ccawley'sclient'sRdiscussions* t.
                                                         11detectives''csm eto Rfruition''and

            therefore,M s.M ccawley lied to pressand them ediaby way ofspeaking false and

            defam atory statem entswhich werenotprivileged atzdin fact w ere intentionally

            m isleading,intentionally inflicting hnrm upon PlaintiFs.

         256.      M s.M ccawley declared in litigation thatshediligently invesdgated her

            clients'allegationsbeginning overa yearand ahalfpriorto flinghercom plaint

            where% ,she wasin possession ofthereportsfled by herclientproving her

            allegationsto befalsemgaudulentandunfounded and additionally w asin possession of
  10
            Prove ofherclients'ttdiscussionswith detectives'which cam e to ttfrnition''-
  11
         257.      M s.M ccaw ley llnnstated on a nnmberofoccasionsthatshe spenthtm dreds of
  12
            hotzrsin interview sand reser cldng herclients'allegationstherefore,proving she
  13
  14
            knew hersutem ent.
                             swere defam atory D d false butchosetom akethem anyway.

  15        w itlmolding the% t11from them ediw public and the Court.
  16               * GGultimatelv,thegoalofthemajorityt?fmyclientsisrealb tostop the
  17
                      Predators,soit'sjust:/z* 'dowcdo //zJZF'M ccawley said.<<
                                                                              1t'sreal;ya
  18
                       hetw/l
                            /lf/thingtowf/pdx
                                            ç,
                                             çSageandGinaandtheirstrengthinbeingableto
  19
                       com etogetherand à'flzl# up againstthisperpetrator,who is,
                                                                                $./7/outthere
  20
                       in theA zlce comm unit
                                            )qx
                                              î'/#/has.fullaccesstoyoung chil
                                                                            dren.Whenyou
  21
  22                   bring lightto thetz:zaçc,peopleare actuully m oreprotected.''

  23     258.      M s.M ccawley agm'n refersto PlaintiF -faylor Button asa Eçperpetator''whois
  24        N tillouttherein thedsnce com nm nity'' and stating PlnintiF hasN tillhasfullaccess
  25        toyoung children''
  26
  27
  28

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         259.      A sstated,supm ,PlaintiF TaylorButton hasnotbeen involved in the dance

            industry since 2010 and wasneverwellknown asa dancer.choreon pherora dance

            teacherand had absolutely no M uence in the danceindustry,pal cularly atthetim e

            these defam atory comm entswerem ade.

         260.      M s.M ccawley m adeknowingly false and defam atory statem entsto thepublic,

   7        the m edia and the pressby m isleading them to believe PlaintiFshad again,colmzlitted

   8        and/orbeen convicted ofa crim e and thattlzey were accessing yotmg cllildren itlthe

            dancecomm unity forabusivepurposes.
  10     261.      Plaird F -faylorButton isnotand wasneverape etrator,asproven by
  11
            evidenceandreportswbich werein M s.M ccaw ley'spossession priorto and dzzxing
  12
            thetim eherdefam atory statem entsw erem ade.
  13
  14     262.      Plainifrsneverknew Sage Hum pluiesasa child;M s.M ccaw ley'ssutem ent

  15        regarding ttfullaccessto young children''isentirely andutterly defnm ntory and

  16        hmw sing,intentionally m isleading thepress,them edia and the publicinclue g any
  17        PotentialjurorthatPlakdFsarettstilloutthereinthednncecommunity'',ttaccess''
  18
            (ing)yozmgchildrentogroom andabuse.
  19
         263.      '
                   Ihisstatementinandofitselfisnotonlyfalsebutsoegre/ousthatit1edtoa
  20
            globalm ediacampaign againstPlaintill-
                                                 salleging they w ere abusing children asdance
  21
  22
            teachea which wasprecisely thennrrntive M s.M ccawley instigated.

  23               * alhat'
                          sreallythesaddestrtzr/ofthiswotkforme,''Mccawleysaid.GV
  24                   thinku?cgivethem backsomeofthemselvesby hrjpgf/lgtheseJc/fozzç,but
  25                   we'
                         llnevergetback the little g/r/who u/l.
                                                              ç13 in thatdance studio,and
  26
                       that'
                           sreally heartbreakingw''
  27
  28

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         264.      M s.M ccawley used false and defam atory statem entsto m islead thepublic,the

           m edia and the pressby stating Rwc'
                                             llpevergetback thelittlegirlwho wtzs'13 in that

            dance x
                  :/zà ft/',agsin,m islesding the public,them edia and thepressto believe
           PlaintiFswerethe causeofherclients'inability to recoverherinnocence dueto

            crim inalbehaviorcom m itted by PlaintiFs,which isfalsein itsentirety.

                   * aYouAtn?eatiwceteacherwhof.çgoingtobephysicalb closetothe
                       studentjustbytlw zll/zfrdoftheworkthatf/ic.)?'redoing,JZIJastudentwho
                       wtwa toimpressf/le/rteacherandbethebest/Ja#theycanbeforthat
  10                   instructon''M ccawley said.
  11
         265.      M s.M ccawley'sstatem entsarenotprivilegei
  12
         266.      M s.M ccawley'sstatem entand portrayalofPlaintillk'Rcloseness''to any
  13
  14
            Gçgtudent''w ere falseadefam atory and xnigleading to thepublic.them edia and pregsas

  15        PlaintiF M itchellTaylorButton w asnota dnnceteacheratthe tim eofthe articlebeing

  16        published and wasnotinvolved in the dance industly forovera decade priorto M s.
  17        M ccawley'sfalse and defamatozy sotem entsbeing m ade.
  18
                        çiM ccawley said the litigation is /j/ce/.ytoexpanA tz,
                                                                              j.she'
                                                                                   sfeldingcalls
  19
                      from otherwomenalleging//le.pwerevictimizedbythesameperpetrators.''
  20
         267.      M s.M ccawley'sstatem entsarenotprivileged-
  21
  22     268.      M s.M ccawley intentionally stated shew asO elding calls9om otherwom en

  23        alleging they w erevictim ized by the sam e perpetrators''in an eflbrtto intentionally
  24        inllicthnrm on PlaintiFsby m isleadingthe public,thepressalzd them ediato believe

            PlaintiFshad committedorbeen convictedofany crime,hadengagedin chminal
  26
  27
  28

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   1        behaviorandhad KYictilnized''an ilmlzmem bleam ountofpeople,including Seyolmg
   2        girls''which shepreviously m en:oned in heraforem endoned defam atory statem ents.
   3
         F M s.M CCaWW 'SDefamatou StatementtoCosm opolitan M agazineonApril5tb
   4                                                                                             .
            2022
   5
   6               * aperpetratorsdon'treal%.changetheirplaybook.''
   7     269.      M s.M ccawley'sstatem entsare notpxivileged.

   8     270.      M s.M ccawley again,refersto Plaintillk œsK<perpetrators'',m isleading the
   9        public, them ediaandthepressto believethatPlaintiFscomm itted any clim eand/or
  10
            they wereconvicted ofa crim e.
  11
         271.      Plaintill-
                            sw ereneverconvicted ofany crim easnonehavebeen com m itted and
  12
            addiéonally,PlaintiFswere cleared ofany and all.ftz/acallegationsreported to 1aw
  13
  14        enforcem entwhereas,m ultiplereportswere <Kunfounded''and itwas(liscovered that

  15        M s.M ccawley's'clientshad lied in theirreports.
  16     272.      M s.M ccawley wasin possession ofthesereportspriorto m aking her
  17        inlenhonalfalseand defam atory statem elztslo thepublic them ediaandthepress.
                                                                   ,

  18                                            c        ,,j j
         273.      M s.M ccawley'sreferenceto a <playbook s uto tjonaljy u resrenceto the
  19
            t'
             black book''which wasso fam ously referenced in them edia and thepressdtuing her
  20
            represente on ofVirginia Cziue ein the Epstein and M axwellcmse.
  21
  22     274.      Ms.M ccawley.onceagain.knowinglymadethisreferenceanddefamatoxy
  23        statementto m islead them edia and thepressinto believing Plaintiffswerethenext
  24        Epstein and M axw ell, causing fixrtherdefnm ntion and severelmrassm enttoward
  25        PlaintiFs.
  26
  27
  28

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   1     G . M s.M ccawley'sDefam atory Statem entto G ood M orz ng A m erica on M ay 27*,
   2
            2022-ho s'
                     .//ww .gooe oa inga e ca.x W news/w4deol alledna-speaks-seu i-
   3
            abuse-alleqaions-boston-ballet-slr-8so16424
                                   - -


   4
                   . G1am incrediblyproudtoberepresentingthisgroup ofsulwivorsinthe
   5
   6                    dancecommunityastheybattleforjustice.''
   7     275.      M s.M ccawley'sstatem entsare notprivileged.

   8     276.      On M ay 27*, 2022,M s.M ccawley and Sage Hum phrieswereinterview ed by
   9        Amy Robach on ABC N ewsprogram ,Good M orning Am exica.
  10
         277.      M s.M ccawley cannotstate sheisKtrepresenting thisgroup ofsurvivors''as
  11
            they haveneitherproven they N uw ived''any allegation stated in theircom plaintsnor

            did any action take placein which the.y N urvived''such astlze ucrim inalbehavior''
  13
            M s.M ccawley repee vely referencesagainstPlaintill-
                                                               sasno such crim inalbehavior

  15        ocourred.

         278.      M s.M ccawley srranged theinterview w1t11Good M om ing Am erica,M s.

            Robach and herSage Hum plz esasherGrm s'connections,rrforconnedionswith the

            production com pany and M s.Robach were closely intertwined,asM s.Robach

            initially retained theftrstlistregarding Epstein and addiionally intew iewed Htmter
            Biden,who wasform erly an elnployee ofBoiesSchiller& Flexnerw1111M s.

            M ccawley,allowing M s.M ccawley to ensureherclientreceived her::15 m inutesof
            fsm e''on them orning show .

         279.      Aspreviously statedaPlaintifrsfled a counterclaim ofdefam adon againstM s.

            M ccawley'sclient,Sage Hum phriesmpertaining to herinterview with Good M om ing

            Am ericawhereas,M s.M ccawley atld herclientfled to dislnissPlaintiffs'



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            cotmterclaim however,Ms.Humphries'moionwasDENIED asthejudgestated,
   2        i% ased on the detailsherein and in ligbtofthe record asa whole,the Courtdenies

            SageHumphries'M ofon to Dismissthe cotmterclaim ofdefam ation perse.'
   4
         280.      Sip id M ccawleytook partofthissam e defamatory interview.
   5
         281.      M s.M ccawley abused herpowerand iniuencewith them ediw intentionally
   6
   7        arranging herown interview with Am y Robach and herclientaSageHumphries,

   8        whereas,herelite connectionsw ith them ediaand herfinn'spriorcormectionswith

   9        G ood M orning Am ericawereused to gain notoriety and h'
                                                                   action thussupplem enting
  10        the fraudulentcase M s.M ccaw ley m anipulated the pressto believe washernex't
  11
            Epstein and M axwellcase.
  12
         282.      M s.M ccawley m ltde false and defmnatory statem entstom islead thepublic,
  13
  14
            the press and tllem ediaby way ofstating shewastçrepresenting a group ofsuw ivors

            inthedsncecommunitf'.
  16     283.      PlaintiFshaveneverm etM s.M ccawley'sch'entaJane Doe 1.

         284.      Jane Doe 1isnotinvolved in the dsnce com m unity.
  18               PlaintiFshaveneverabused anyone,havenevercom m itted a crim e and have
         285.

            neverbeen convicted ofa crim e.
  20
         286.      M s.M ccawley'sclientsfled falsepolicereportsin 2017 and 2018 whereasa
  21
  22
            evely reportwaseitherImfoundedadeclinedacleared by excepion ornotpursued due

  23        to the false allegationsofthereport.

         287.      M s.M ccawley'sfalseand defam atory statem entswereintentionalto m islead
  25
            thepublic,themediaandthepress,includinganypotentialjurortobelieveher




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            EKseven''>(now six),clientsNuwived''abusecommittedbyPlaintiFswithinthedance
   2
            colnm tmity.
   3
         28:.     M s.M ccawley % ew thatherstatem entswerefalse,defam atory and
   4
            m isleading and m ade them anyway.
   5
         H . M s.M ccawley'sD efam atou So tem entsto n eBleacherReport/NBC N ew s
   6
   7        and Y ahooacom on July 21St,2022

   8               * asage/lJ# abusinessrelationshtpwithM r.ftz/zand therewl.
                                                                            :neverany
   9
                      saualrelationshi
                                     p betweenz/lezz?.Asisppicalt?fabusersfacingserious
  10
                      litigation'u'ithfourwallsqfflca closingin,z/'
                                                                  leButtonsAzrvc//etf
  11
                      counterclaimsthatdistract#om anddistortz/letruth.Abusersojtendr.
                                                                                     )zto
  12
                      weaponize the allegationsbroughtagainstthem,and that'
                                                                          s exactl
                                                                                 y whatis
  13
                      happening here,''she ,
                                           &tz/2 ''7WecounterclaimstheButtons/m e.#/e#
  14
  15                  falseb Jp#recklesslyimplicateothers,includingDtzr-p/Katz,andarea
  16                  factuallyuqfoundedattempttoportraythewomentheyabuàedJà'liars.''
         289.      M s.M ccawley'sstatem entsTegarding Daa lKatz areentirely and knowingly
  18
            falseao defamatory.
  19
         290.      Plaintillkprovided proofofherclients'sexualrelationship with D arylKatz,a
  20
            m an old enough to beherclients'grandfntller.who pursued hertbrough abuse ofhis
  21
  22        pow erand fnancialposidon,ashe haspreviously been accused of

  23     291.      M s.M ccawley lwc'w M r.Katzhad previously been accused ofthe sam e
  24        predatory behaviorvyetM s.M ccawley,asaKevictim q'advocate''chose to knowingly
  25        defam ePlaindfrswhile protecting M r.k'atzand herclientM s.Humphdes'

            relationship,defending M r.Katz.



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   1     292.        ln fact upon Plaintifrssubm itting suoh proofin theN evadaDistrictCo<

            Sigrid M ccawley im mediately m otionedto sealPlaindffs'proofof
   3
                                            ,thetolling agreem entbetween PlaindFsand M r.

            K atz and even PlaintiFs'own declnm tionsregarding whatM s.Hum phxiestold them
   5
            aboutM r.Katz.
   6
   7     293.        M s.M ccawley isrecognized forRprotecting vicim s''on herpublicfacing side

   8        yetherunetbicalbehavioraggressively sealing evidence 9om thepublicthatproves
   9        herclientwasactuallyavict.
                                     im ofMr.Katzillegalarlddisgustingpreyingona* 1
  10        young enough to behisgranddaughterin orderto protectllispublic im age isthe other
  11
            side ofthatconw tcoin
  12
         294.        Thisdefnmatory statem entaboutM r.Katzw asintentionaland m eantto harass
  13
  14
            PlaintiFs.who had neverabused M s.Humphriesand which M s.M ccawley had proof

  15        of
  16     295.        Sigrid M ccawley knew thatherstatem entqw erelasrm ful,defam atory and
  17        false.
  18
         296.        Ms.M ccawleyV G referstoPlaintiœ asçtabusers''onmoreth> one
  19
            occ% ion,stating PlaintiFs'counterclnim sGdistract9om and distortthe truth''>stating
  20
            Plaintillk areagain,Kçabusersfacing sexiouslitigadon''and thatPlaintiFsare
  21
            K
  22            weaponizing theallegationsbroughtagainstthem ''.

  23     297.        M s.M ccawley also statesherethatPlaintifsO led falsely and recklessly''
  24        whileGimplicate(inglothers''andthattheircounterolsim sareaRfactually unfounded
  25        attem ptto po- ay the wom en they abused asliars''>th% exposing theirtrue nature.
  26
         298.        M s.M ccawley'sstatem entsare notprivileged.
  27
  28

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         299.        M s.M ccawley knew thatlzerstatem entswerefalseand/orofreckless

            disregard forthe 12111t11including because shepossessed inform ation which proved her

            clients'allegationstobe false and thatPlaintiffsstatem entswithin theirCounterclnim

            w ere m ze.

         300.        M s.M ccawley refenvd toPlaintiFsasRabusers''on three occasionsitlone

            defam atory statelnent
         301.        M s.M ccawley falsely states Plaintiffsporlay thew om en tçthey abused''as

            liars.

         302.        M s.M ccawley knew thatherstatem entqw ere false and defam atory,

            rnisleadingthepress,themediaandpublicincludinganypotentialjm'ortoprematurely
            believethatPlaindfsabsolutely ttabused''w om en and children.

  14
         1. M s.M ccaw ley'sStatem eutsto The Daily M ailand M eaw m com on Septem ber

  15        28th,2022 -he s://naeam v.com /dusw-= d-ll tchell-buton-accusea -sexuzly-abused-

  16        in-gx -room -but-couple-claV s-tov-m lns
  17
                     * Theaccusers'attorneyts'
                                             fgr/l.l.
                                                    fcc-
                                                       '
                                                       au//t@ saidinastatement,'W,
                                                                                 çputforth
  18
                          in tufrcomplaint,D ztj'/.yand Fc-p//rButt
                                                                  onassaultedsevendferent
  19
                          dancers,including women who /ltn?e chosen to m ake theirclaims
  20
                          anonylnously.TheButtons'on-their-heelsassertion zlow thatc
                                                                                   çevep
  21
  22                      dlgerentwomen zpl& up detailedandharrowing accountsqfabusefor
  23                    y'
                         tz??;cisJ:-
                                   wzrz ''
  24     303.        M s.M ccawley'sstatem entsare notprivileged-
  25                 'fhough the allegationsare falsein theirentirety,PlaintiFshavenever m etor
         304.
  26
            Eeard ofJane Doe 1,asasserted fortbreeyer snow .
  27
  28

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   1     305.      M s.M ccawley defnm atorily statesY usty and TaylorButton assaulted seven
   2        diFerentdancers,includlng w omen who have chosen to m aketheirclnim s
   3
            anonym ously'',whilehiding behindthatanonym ity and sim ultaneously speaking to
   4
            press and spreading theirdefam ation w1t1:proted ion from the Court9om any and all
   5
            accotmtability.
   6
   7     306.      M s.M ccawley m adeknowingly false and defam atory statementsby way of

   8        stntingaAsputforthinourcomplaint,Dpzà'tpqndFelorButtonea
                                                                   çlvled,
                                                                         çerea
   9
            diyerentdancers...''
                               .
  10               M s.M ccawley intendonally inflicted hnrm upon Plaintiffsto m islead the
  11
            publicmthem edia and thepressby know ingly using thew ord tçand''where% ,M s.
  12
            M ccawley intentionally atld m aliciously m ovided misleading statem entsregarding the
  13
  14
            t'seven differentdnncersg'sasthisallegaion isnoteven listed in thecom plaint.

  15     308.      PlaintiFshaveneverm etoneofM s.M ccawley'sclients.

  16     309.      Atthetimeofthedefsmatory statement Plaintif Dusty Buttonhadonlym et
  17        two ofM s.M ccawley'sclientsstated asthe ttseven differentdnncers''.
  18
         310.      M s.M ccawley intentionally and m nliciously stated Plaintifs,together,
  19
            Kçassaulted seven diFerentdancers''by knowingly using the word Rand'''m isleading
  20
            them ediw thepressandthepublicto believe Plaintiffsassaulted seven wom en
  21
  22        togetherasdance teacherswllilethose seven were m dentq.

  23     311.      M s.Mcdawleyknew thatherdefamatorystatementswotlldbefarmore
  24        entioing forthe press,them edia and tlw public,exposing herclientsto m assm edia
  25        attention and gnining H dion in thepublic eye forthe litigation shew msleading.
  26
  27
  28

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   1     312.      TheDefendantintendonally andknowingly m ade false and defam atory
   2        statem entsby way ofstnting zGl-
                                           heButtons'on-their-heelsassertion nt?w thatseven
   3
            J4Fcrep/womenmadeup detailedandO rrowfpgaccountsofabuseforfameis
   4
            absurd''
   5
         313.      M s.M ccawley,again,m ade intentionalfalse and defam atory statem entsas
   6
   7        Plaintifrshavenevercolmnitted orbeen convicted ofany crim e and in fact in every

   8        situaion whereany clientofM s.M ccawley'sbrough forth false allegafonsto law
   9        enforcem ent,thereportsremzlted in nnfoxmdedrepoxtsmdeclination by the District
  10        Attorney to pursuethe allegationsand/ordecliaadon due to uncooperative behavior
  11
            with 1aw enforcem entin 2017 and 2018.
  12
         314.      Vs.Mccawleywasinpossessionofsuchdeclinationinvariousreportswhich
  13
            w ereclosed by each and every 1aw enforcem entom cerwhich herclientsreported

  15        false allegationsto.

         315.      PlaintiFsw ereham ssedadefmned and tllreatened dueto M s.M ccaw ley's

            intentioxmlm isrv esentation M d/orrecklessdisregard fortlte t111t11asnum erousthird-

            party pressand m edia outletspublished thatPlaintiFs,together,canied outa

            campaign ofabusing children together,including a11ofM s.M ccawley'sclients.

                   . M ccawleyadded,''
                                     A judgeinBostongrantedsageHumphriesa
                       permunentrestrainingordersagainsttheButtons< erhearingher
                       testimony,andstated thathe.szf
                                                    /fycredited'hertestimonymakingclear
                       thathewl,
                               &sati@ edWc.
                                          m zplareasonabledoubt'thattheButtons'conduct
                       amountedtotz:zl.
                                      çeunderthecriminal/tzu?
                                                            ,ç.TheButtonsarenottlntv
                       engaginginshamelessvictim-blaming buttheyarealsointentionalb



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                      vtolating theBoston court% relfrtz/zl/ag orders,w/l/c: mandated them to
   2
                      surrenderëforzzltzz/tw thatf/ze.
                                                     ystolefrom M s.Humphries'cellphoneto
   3
                      theBostonPoliceDepartment.TheButtonsareabusers(fyoung
   4
                      vulnerablewomenwhowereintheirsphereqfjz?//z/ezlceasaspiring
   5
   6                  dancersandz;tmzthem/eqflaw.'
   7     316.      M s.Mccawleymadeknowinglyfalseanddefamatorystatementswiththe
   8        intentto m islead thepublicmthe m edia and the pressregarding M s.Htxnphries'

   9        permanentrestraitling orders;asM s.Hm nphriesw asnotgrantedperm anent
  10        restnining ordersaAerhesring hertestim ony itl2018.
  11
         317.      M s.Hlmaphriesdid nottestify ixt2018,herattom ey m ade âaudulent
            statem entson Sage Htunphdes'belmlfin Courton August15th,2018 stating Plaindffs
  13
            stalked M s.Hum phriesand thatPlaintiEqwere selling illegalftrenrmKitlCalifom iav

  15        (bothofwhichwerefalseallegaions).toenmzreperma entreskainingordersagainst
            PlaintiFs,andwhiclzisnow subjecttoappealonthegrotmdsoffaudontheComt
         318.      Plainticsw erenotpresentforthishenring and the decision w asm adeex-parte

            and Plaintiffswere incapable ofdefending them selvesagainstthe falseallegationsand

            in fact,wereunawareofthe H udulentallegationsm ade in Courtin 2018 againstthem

            m1111discovezy in the Nevadalitigation took place.
  21
         319.      M s.M ccawley lœ ew herstatem entswere defam atoa asshew asin possession

            ofsuch reportsand Courtkanscxiptseven priorto PlaintiFsbeing aw are oftllis

            discovery and overayearpriorto M s.H um phriesfling hercomplaintin 2021.

         320.      M s.M ccawley intentionally lied to the pressand them edia,m isleading the

            public by way ofstae g thereskaining ordersKçm andated them to surrender




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   1        inform ation thatthey stole 9om M s. Humphries'cellphoneto theBoston Police

            D elmrlm ent''
   3
         321.      M s.M ccawley'sstatem entsarenotprivileged.
   4
         322.      M s.M ccawley w asin possession ofherclients'abuseprevenion orders,
   5
   6        (obtsinedgaudtllently),whichinRct,doesnots'tatethatPlainfFsare<fmandatedto
   7        surrenderinform afon''thatPlaindFsRstole9om M s.Humphxies'cellphone to the

   8        Boston Police Depnrtm enf'.
   9     323.      Theabuseprevenionorderactuallystates:ttD (Dqfendan# istosurrenderany
  10
            andallpersonalinformationpertainingtoP,includingelectrontcallystored
  11
            information< isnottobe- blishe4 rlrmw up)toBa%tonPoliceDepartmentj'';
  12
            whereas,itwasstated atthe 2017 hearing tbatDusty and TaylorButton cotzld tnrn
  13
  14
            overany electronically stored informntion to M s.Hlm mhries'attorney ratherth* the

  15        BostonPoliceDepnrlmentmwhichtheydid(asstatedintheir2017Courttranscript).
  16     324.      M s.M ccawley knew thatherstatem entsw ere falsew hereas,shehassince

            backeackedherstatem entregarding stolen infonnld on aAerm isleading tlke Courtin
  18
            Nevada thatPlaintifsstoleherdata and only aflersanctionsw ere ismled againstthem
  19
            forstolen data;shethen backtracked aAerM s.Humphriesadm itted the data wasnever
  20
            stolen lzowever,M s.M ccawley knew the data wasneverstolen pxiorto m nking her
  21
  22        statem entsto them exlia and the press.

  23     325.      The dam age gom M s.M ccawley'sstatem entswas already doneasnum erous
  24        m edia outletshad already published herstatem ents.
  25
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       1       326                    Plm'ntiFsneverstoleJmy m
                                                             ' formation from M s.M ccaw ley'sclients'cell

                   phonennd m facta ss'tatem entby M s.M ccawley wasneverwntten on nny
       3
                   reStraim'ng orderregarding < andatm
                                                     'g''Plnintillk to surrenderKtstolen''data.
       4
               327.                   M s. ccawley had there                                                             ining orderm' herpossession whereas,the wlitten
       5
                   orderislocated on thep e.F                                                                    er,M s.Hllmphries'application fora reslm ining
       6
       7           orderagainstPlintiFsisbe1ow23.

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            23M sHumphrieshassm
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      27 thesignature.M s.Mccawleyknewthistobetruepn'ortomn
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                                                            mgherdefnmntorystatementstothemediaand
            thepress.
      28                                                                                                                                                                                                         '

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   1     328.      Asseen,theabusepreven*on orderstates:1)SageHllmphrieswasin adating
            relationshipwithPlaintifrsand2)wasnotcausedbyforce,threatorduresstoengage
   3
            in sexualreladons;thisisene ely conH dictory to SageHum phries'complaintwhich
   4
            om itsarelationship endrely and statesshewasnotsexually abused whereas,M s.
   5
            M ccawley wrotethe complaintand knew the complaintwasfrivolous,resul:ng in
   6
   7        defamatorystatelnentsoutsideofthejudicialproceedingstoembellishonfalseand
   8        âivolousallegations.
   9     329.      M s.M ccawley wasin possession ofherclients'abuseprevention orderand
  10        knew thatherstatem entsw ere false,defmnatory and m alicious,which caused severe
  11
            harassmenttoward Plaintie including priorto ftling SageH= phries'com plaint
  12
            alleging rapewhich isproven falsew ith thisabuse prevention order,a ongstother
  13
  14
            evidencesuch asM s.H'lm phriesown ae ission during herdeposition where she

  15        verifed thatthisabmseprevention orderwasobtainednotto preventabuse,butto
  16        m eventthepublic9om everdiscovering herand DarylKatzillegalsexual
  17        m isconduct.
  18
         330.      In fact,M s.M ccawley'sclientvSageHumphrieshassince adm itted thatshe
  19
            uploaded hercamel'arollonto Plain:Fs'hard drivein 2017 whereas,M s.M ccawley
  20
            knowingly and falsely defam ed Plaintiffsby stnting they N tole''inform aion 9om her
  21
  22        clients'Rcellphone'';thiswasan intentionalinfliction ofhnrm againstPlainélfsto

  23        cause severe distressasPlaintiFsthen stated forthreeyearsthatthey neverstole any
  24        inform aEon from M s.Humphries,butwllich led thepress,them edia and thepublicto
  25        believethatthey did.
  26
  27
  28

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   1     331.      Sigrid M ccawley suspiciously obtsined acopy ofPlaintiœ sprivatetolling
   2        w eem entw1t11* .Katzwhich shethen fled w1t11the Courtand sealed without
   3
            Plaintie sknowledgeproving thatsheknew herpreviousstatem entsaboutPlaintiffs
   4
            and DarylKatz weredefam atoly and thatplaintiffsstatem entsweretruewhile staing
   5
   6        theywereGàeddlingpction''.
   7     332.      M s.M ccawley m adeintentionalfalseand defam atoxy statem entstom islead

   8        tllepress,themediaandtllepublicmincludingallypotentialjmorthatPlaintiffsstole
   9        infogm stion 9om herclients'cellphone.
  10     333.      M s.M ccawley severely defnm ed Plaintiffsby stating ''The Buttons are
  11
            J&l-
               çcr.sofyoungvll/aere /çwomenwhowereintheirsphereofin-tluenceasJwrfr/ag
  12
            dancerstzalnow them /eqf/Jw.''
  13
         334.      Notonly did theDefendantm akethedefnm ntory sutem entthatPlaintiFsare

  15        abusers,shethen statesthatthe t*vulnmablew om mf'were ttin theirsphere ofiM uence

            asaspiring d> cers''

         335.      Plaindfrshaveneverm etoneofherclients.

         336.      PlaintiFshaveneverabused ae one,haveneverbeen convicted ofabusing

            anyone andhaveneverhad any engagem entw1t.
                                                     11law enforcem entregarding abuse;in

            factmthe false allega:onsand reportswere cleared by excep:on,w ere declined,
  21
            unfounded and notpursued due to the falsenature oftheallegadonsand theproof

            which showed theallegadonsto be false.

         J. Sigrid M ccawley'sDefam atory Statem enl to Cosm opolitan OnlineM agazine on

            M arch 7*,2023




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   2
                       SchillerFlexnerJ,ZP andaleadingvictims'rightsattorney,iseagerfor
   3
                       thetrialtobegin.'*1FeIookforwardtoputtingthewomen%'casebeforea
   4
                       A r-p,whichwillhearthefactsoftheJAlf-
                                                           çetheyà'zfFere#whilepursuing
   5
                                   ças dancers and notthe.hction theButtonsarepeddling inan
                       theirJrelzzl.
   6
   7                   actofdesperation,''à'/zctoldCosmopolitanfollowingaFe:mtzr.phearing.
   8               M s.M ccawley'sstatem entsare notprivileged-

         338.      M s.M ccawley'sdefam atory and false statem entsintentionally m isled the
  10
            public.themediaandthepressbystatingthejury:* 11hearthefactsoftheabuse'',
  11
            uwhilepursuing theirdream sasdancers''and 'K
                                                       nottheGction theButtonsare peddling

            in an actofdespem fon''
  13
         339.      M s.M ccawley suted Plaintiffsare O esperate''asam atteroffactand notasa

  15        personalopinion.

         340.      M s.M ccawley stated Plaintiflk are Racting''asam atteroffactand notan

            opinïon.

         341.      M s.M ccawley referred to PlaintiFs'eddenceand m ea uresofdefense asa

            m atteroffactand notan opinion by stating th% PlaintiFsw ere <'
                                                                          peddling fction''.

         342.      M s.M ccawley continued to m ake defam atory statem entsaboutPlaintiFsin
  21
            thepressandinthem ediaevengf/eraCourthearing onFebruary2nds2023 whereas,
            herclients'motion to dism issPlaintiFs'colmterclaim wasDENIED and which

            includedfactualevidenceofherclients'fnlKepolicereports.perjurytolaw
            enforcem entD d evidencethatherclients'allegationsw ere gaudulent.




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                  AM ENDED COM PLAINT A ND DEM AND FOR JURY TRIAI,
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         K . Sigrid M ccawley'sDefam atory Statem entsM ade on N BC M iam iRïlow Sigrid
   2       '
               M ccawley helped brlng down Jeffrey EpsteG o -
   3
               ho sr//-      .voumbe.com/watch?e o4Ru8K6xilY on January 29tb,2024.
   4
                      * Ln
                         M ostrecentb we'redoingacaseonsomeballerinasthathadbeen
   5
   6                        victimize4 someofthem withtheBostonBallet,so//7ewor/chasbeenpro
                            bono in /&,çcase,tzzW //zc commitmentt?
                                                                  .f/
                                                                    * .#zw,hasbeen astronomican'.
   8     343.         M s.M ccaw ley'sstatementsare notprivileged-
   9     344.         M s.M ccawley m ade defam atory alld false statem entsin orderto intentionally
  10
               b;n'm Plaintiffs,pe cularly by zmnecessarily inserting an intentionaldefam atory
  11
               statem entitlto an interview aboutM s.M ccawley'srepresentation ofVirginiaGiuX e
  12
               and Rtnking down Epstehf'7
                                        'including by alluding to similaritiesbetween Epstein and
  13
  14           M axwelland Plaintifrsatevery opportlmity.

  15     345.         M s.M ccawley interdonally andfalsely state; 'twe'redoing acaseon some
               ballerinnKthathad been victim izzdasom e ofthem wi1 the Boston Ballef'.

         346.         M s.M ccawley hix.
                                       qonly everrepresented one clientwith theBoston Ballet,her

               client,M s.Hnm phriesbutinstead she statesthatttsom e ofthem ''are tt
                                                                                   w ith the Boston

               Ballef',intentionally m isleading thepublicmthe m edia and thepressthatthere were

               m ultiplevicdlnsatld possibly childrenw ith the Boston Balletwho were abused by
  21
  22           PlaintiFs.

  23     347.         M s.M ccawley m adefalse and defam atoly statem entsregarding her

               representation by way ofstating thatshe wasRdoing a case on som e ballelinas''
  25
               where% ,atthe tim ethisdefam atory,falseand lnisleading statem enttook place,M s.

               MccawleywasonlyrepresentingoneballerinaawhowasPlaintiFs'ex-/rlfriend.



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                     A M ENDED COM PLAINT AND DEM AN D FOR JIJRY 'IX IAL
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   1     348.      M s.M ccawley knowillgly,intentionally andm aliciously m adedefam atory and
   2
            falseqtntementstothemedia,thepressandthepublic,includinganypotendaljurorto
   3
            lnislead them by way ofherfalse statem ents.

         349.      M s.M ccawley'sstatem entswereintentionally falseand defam atory and
   5
            intentionally inflictedhnrm on PlaintiFs.

         L. Sigrid M ccawley'sBiography on tbe BoiesSchiller & FlexnerLLP W ebsite-

            DateUnknown

         350.      Sigrid M ccawley'sbiography which isposted on the BoiesSchillerFlexner

            LLP websiteisdefnm story in and ofitselfasherbiography states:

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                    sheï,çalsorrexcw/tprepresentingprobonoagrozw ofballerinasintheir
                   Wo
                    'ra toholdtheirJàzfxel::accountableonsex/rtllckfpgcharges.''
         351.      M s.M ccawley intentionally and klmwingly presentsfalseand defam atory

            statmnentsin herbiov aplty on the BoiesSchiller& Flexnerwebsiteby stating she is

            11
             rCPCesenting agroup ofballerinss''.
         352.      M s.M ccawley isnotrepresenting a group ofballedxmsvsheisTepresenting

            oneballerinw (SageHumphries),twocontemporaryand                         tDanielle
            GutierrezandJaneDoe2),onecontemporarydanceteachertGinaMenichino),one
            tmemployedyogaenthusiastm osemalieDeM gelo)andone                        (Jane
            Doe1).
         353.      A sidefrom Sage Humphliesand PlaintiF Dusty
                                                             .
                                                               Button,tlzere areno other

            ballerinasin thislitigaion orbeing represented by M s.M ccawlèy and which hasbeen

            verifed through herclient'sown depoe ons.




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   1     354.      Again,M s.M ccawley unetN cally played herfalse nare veto the m edia

            regardinB Rchildren'',Rballerinas'',Rdanceteachers'',N tudents'',and um entors''
   3
            am ongstotherRtriggerwords''to spread a falsenarrafivetbatdid notexist.
   4
         355.      M s.M ccawley'sfalse and defam atory nnrmtive spreadlike wildfire,including
   5
            leading the world to believethatPlaintillkraped children who weretheirstudents.
   6
            Thisfalsenarrative isnoteven in the complaintaiftheallegationsin the com plaint

   8        were tnze,which t1* arenot.
   9     356.      M s.M ccawley'sunethicalacts ofdelusion and grO delzrwerea ploy to
  10
            intentionally m nnipulatethepress,them ediw thepublic,the Courtatzd ally potential
  11
            jmoragainstPlaintiffsbeforetheycouldevenbegintheirdefenseneax'
                                                                         lytllreeyears
            ago.
         357.      M s.M ccawley'sbiography only includesherrepresentation ofM s.Giufâein
  14
  15        theEpstein and M axwellcase and m eld on ofherrepresentation ofherclientsin their

            litigation agsinntPlaintiffs,once again ensuring acom parativefalsennrrativethat

            Plaintifsw ere crim innlswhose actionswere outofEpstein'stiplaybook''

         358.       M s.M ccawley also statesin herbiography tlzstshe ism nking çteflbrt''to

            Gthold''herclients'GGabusersaccotmtable forsex tram cking charges''.
         359.      Plain:Fswereneverfacing any Gcharges''and in factahave spoken to any and
  21
            a11law enforcementontheirownaccordsassociatedwithSie dMccawley'sandher
            clients'atemptsto falsify allegationsto 1aw entbrcem entaon m tM ple occasions

            whereasaPlaintifl-
                             shave soughthelp from law enforcem entpertaining to the

            conspim cy and hsrlusm entagainstthem .




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   1     M .Sigrid M ccawley'sD efam atory Statem entsM adeto Fox News- Septem ber30tb,

            2021
   3
                   * Sil dMccawley,attorneyforthedancers,saidtheButtonspreyedupon
   4
                         thevulnem ble:
   5
                         ''They are> longerin aposition to lo'
                                                             e thez wcc world JZIJ their
   6
   7                  prqfessionstoperpetratecriminalbehavioragainstyounggirlsaspiringto
   8                     becomegreatA arerx
                                          ç,''she toldFox AE'M,x
                                                               çin a statement.'Wrtnzewomen
   9                     arezltzw comingforwardtwtfwtzw
                                                      i/ïagtheylzslf-
                                                                    çlbestoppei cearegrateful
  10
                         theirvoicesare being heard.''
  11
         360.      Sigrid M ccawley'sstatem entsare notprivileged.

         361.      Again,M s.M ccawley intentionally and falsely statesthatthe ButtonsRpreyed
  13
            on''and soughtoutRthe vulneable''* e.
                                                ru owing thenarrative and allegationsto be
  14
  15        falsepriortom akingherstatem ents,includm
                                                    'g Rhotu'
                                                            sofresearch''and Rilw estigating

            herclients''
         362.      M s.M ccawley continuesto falsely accuse Plaindffsofcriminalconducteven

            afteroverseven diFerentpolicedepsrlm entsdeclined to bripg chargesagainst

            PlaintiFs,m tll:plereportswere unfotmded and cleared by exception and Plaintiffs
            w ere notfound ofany wrong doing asthey did notand do notuperpetratecn'm inal
  21
            behavior''

  23     363.      M s.M ccawley continuesto tonnentPlaintiFs,causing severe em otional
            distress,persistently puse g to them ediathatPlaintiffsare cHm inals,leading the

            publicto constantly repostuntrueallegaiom such tlzat PlaintiFsarein prison and/or
            are going to prison aflerçtbeing charged''with cxim esofsexualassault.




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         364.        M s.M ccawley knew herstatem entswerefalse butm adethem anyway,
   2
            intenionallyinfluencingthepublicandanypotentialjurortobelieveherstatementsto
   3
            betrue.

         N M'
            .M CC- IF '
                      s.ll#'
                           /zzll//zyStatements:zltkelfeâfzzgoaPost-Oetober75 2021
   5
                     * ''
                        Asqf/ephappensin J/lcà'
                                              dcases onceasun'ivorisl/m pg enough togo
                        public,you '
                                   ///hzlotherpeoplewhoarefamiliarwitht
                                    -                                 hecircumstances
                        reach out,''M cclw/e.psaid in an /p/erv/ewzThursday.V think wc'
                                                                                      regoing

                        toJ'
                           eeans alanche(fpeoplegoingforwardwholm ebeenexposedto
                        theseindividualsJzzl//cvebeenabused# them.''
         365.        Ms.M ccawley'ssotementsfalloutsideofthejudicialproceedingswhereas,
            M s.Mccawleyalludesto.nanavalancheqfpeople''comingforwardwhoahavebeen
            exposed to '
                       zâzo'e'individuals''>referring totheButtons;and GGhavebeen abused by

            them''

         366.        M s.M ccawley led thepublicand any potentialJurorto believethatam assive

            numberofindividuals,(an avalanche),similarlothatoftheEpstein c%e,wouldbe
            com ing forward to state th% they w ere,withouta doubtaabused by thePlaintiFs.

         367.        Thisstatem entisnotonly unethical,butdefam atoxy,hmw sing and

            infimidating atthe very least

       TkeW#erzzlezâ ofxW rldM ccawley'
                                      sJle.flzzzle GlobalM edla fkzzy-&zzWagedAgalnst
                                             Plqinhm
         368.        Plaine   wiE ncverrecover âom M s.M ccaw ley'sdefamatory globalm edia

            cam paignwbich w asunethically and unfairly w aged againstthem rr/orto the onsetof

            thelitigation in N evada.



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   1     369.       M s.M ccawley'sreach and herfrm s'connectionsare so intellwined with the
   2        m ediaand elitenetwork ofthose who are capableofN haping thepresstoptlrvey their
   3
            m aliciousand frivolousnarm tive''thatPlaintiFscould notkeep up w1t11the
   4
            defam atoxy,hnrnRsing and intim idnting s'tatem entsm ade by M s.M ccawley.her
   5
            clientsand herassociates,particularly once Plaintilrslosttheircotmselin Octoberof
   6
   7        2022.

         370.       M s.M ccawley knew thatthenmved veshe so eagerly created and spread to the

            m edia wasone ofsuch an egregiousnattx'
                                                  ethatitwould infictsevere hnrm and

            traum a upon Plaintiffswhereas.there would benorecovery from the defnm atory
  11
            statem entsm ade.

         371.       The aqerm ath ofM s.M ccawley'sdefnm ntory statem entsand globalm edia
            campaign againstPlaintiffswascatashw llic;preventing Plaintiffs from being ableto

            properly defend themqelvesin tàem ediaand even in theirown litigationmincluding

            beingpreventedfrom ftzlïagactionagm'nqtSigridMccawley,herself
         372.       M s.M ccawley intentionally arranged forherclients'to beinterviewed by

            JuliaJacobsof'l'heNew York Tim esrrforto herclients'com plaintbeing filed and

            Plaintilr-raylorButton being served.
         373.       On July 28*,2021,n e New York Tim es'defam atoa ai cle featudng Sigrid
            M ccawley and herclients.Sage Hum phriesand GinaM enichino waspublished.

         374.       PlaintiF M itchellTaylprButton w asnotyetserved when the articlewas

            published whereas,Plaintil discovered hewasbeing sued by reading TheN ew York

            Tim esdefam atory article which wassenttoPlaintiFsby num erousthird pe es.




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   1     375.      PlaintiF Dusty Button wasnotnamed asaD efendantin thelaw suitfled by
   2
            Sage HumphriesorCzinaM erlichino.
   3
         376.      TheùnpactofDefendants'defam atory statem enl to the m edia,thepublic and
   4
            the presswascatastrophicto PlaintiFs,theirlivelihood and theirm entalhealth.
   5
                   lmm ediately,upon thepublishing ofD efendants'defam atory statem entsitl
   6
   7        TheN ew Y ork Tim eson July 28th, 2021,Plaintifl-
                                                            s'businesses,careers,and

   8        reputauonswere desloyed.

         378.      Plaintiflkreceived hundredsofm essagesdirectly follow ing tltearticle

            published in '
                         l'heN ew York Tim eswherems,any and a11conkactedw ork and
  11
            sw nsorshipsfortheforeseeable futtx'
                                               e.

         379.      Thisresulted in m illions ofdollarslostin revenue,assetsand incom e,as

            Plaintiffs'businessesw ere destroyed.

         380.      Asseen,supra,PlaintiFsthemqelvessw eretheirbm iness,con% cted by

            nlmaerousprivate contractorswhich im m ediately ceased workingw ith Plaitdffs

            following the defa atoly globalm edia cnmpaign waged agsinqtthem,including but

            notlim ited to contractorsand sponsorswho had mnployed andw orked w ith PlaindFs '

            foroverhfteenyears,andwhoimmediatelydisassociatedthemselvesFom Plainifs.
         381.      PlainliFswere sentdeaththreatsandharassing m essages,ashundredsof

            thousandsofaccountsrepostedD efendants'defamatory statem ents9om thee cles

            which w ere intentionally hsrmfhlto Plainfllk aspartofSigrid M ccawley'sglobal

            defamatory m edia cam paign againstPlaintilsfrom the onset.




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   1      382.       PlaintiFsw ere physically,forcibly and em bnrrrmsingly rem oved from public
   2          eventsw heretheirnam esand likenesseswere recognia d from tllem ediathat
   3
              D efendnntorche- ted.
   4
          383.       Sil dMccawley'seagemessforexposureofthelitigationshewasleadingin
   5
   6          them ediw thepressand thepublicw asso egotisticalth. she unethically played to the

   y          m edia even before PlaindFswere served w1t11the com plain't.

   8      384.        Sigrid M ccawley even conspired with herclientSage Hum phriesto create a
   9          defa atoxy socialm edia campaign agninqtPlaintiffstllreem onthspriorto the
  10
              complaintbeingflledwhereas,SageHumpbries,jjestm entjx (M adisonBreshearsF ,
  11
              instigated tlze cam paiN thatw ould gain traction leading up to M s.Humphries'
  12
              complaintbeing ftledxasseen in the screenshotsbelow .
  13
  14      385.        ln factxPlaintiffsrecently discovered thatM adison Bresher swasinform ed by

  15          Sigrid M ccawley thqtthe New York Tim esarticlew ould beposted on July 28th, 2021,

  16          leading M s.Breshearsto conspire with M s.M ccawley so thatshe couldbe the Gçflrst
  17          to break the story'', beforetlle New York Tim esin orderto gain eaction forthe
  18          liu
                 gationmin M ay of2021.
  19
          386.        Around 9:00pm EST on M ay 13th,2021,PlaintiF Dusty Button received an
  20
              initialattack oftwo false and defam atpry public com mentson herlnstagram profle
  21
  22          pagein responseto a video sheposted ofherselfdancing 9om Defendant'spersonal

  23          Instavam accountwiththeusemame,@zmjbreshearszswhichstatedthefollowing:
  24                                                             '
  25
  26
       24Plaine s'
                 currœ tlyhaveanongoinglawsuitagainstM adisonBreshearsinTheSouthem DistrictofN ew Y ork
  27 -seecase:1:24-CV-03757-BultonetaI.vBrœhears
       25gmjbrœhearsisDefendantMadisonJaneBreshears'personalInstagram account.
  28

                                                      80
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      Rstoppreyingonyozmggirls''andVeellikey'allshouldknow shecan'tkeepaballetjobbc
                she groom syotm g girlsinto sex actswith herselfand herhusbatld''.




         387.     WithinsecondsofPlaintiffsblocldngandreportinga(whatPlaintiffsnow know
           tobeMadisonBreshears'personalaccount),@mjbreshears,thefollowingdefamatory
            statem entswereposted by M adison Breshearson heranonym ous,yetfnm ousaccount

            @Rea1World Ballerina:

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                         POST ONE BY M AD ISO N BRESH EARS

                         KTSA :DUSW BUU ON IS A PREDA TOR''




                         PO ST - 0 BY M M HSON BRESHEA RS




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         ç<'
           fhiskeepsgetting rem oved.A nd she blocked m e.Butifyou follow Dusty Button,you

       shouldknow shecan'tkeepaballetjobbecauseshegroomsyounggirlstoengageinsexads
                                   with herselfand herhusband''.




                           PO ST TH REE BY M ADISON BRESH EAR S

        Rltoxicemojiq.ifu orsomeoneuknow hasbeenvieimizedby dusty-button.u aren'talone.
        Shecan'tkeepaballetjobbecauseshegroomsyotmgdancersforsexactswithherselfand
       herhusband.Thiswillprobably getremoved,she hasm anaged to block and rem ovem y other

                     posts,butIhopeatleastsomeonecanseetllis(toxicemojiq''.

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                            PO ST FO UR BY M ADISO N BR ESH EARS

          ''Ihave friendswho have personally been victim izedaorknown som eonevico'm ized by

                              @dust.
                                   y button.Don'tgiveherapladbrnf'.




   26
   27
   28

                                                  84
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   1                         PO ST FIVE BY M AD ISO N BRESH EARS

   2     ''Idon-texpectanyone to tnlcem y w ord on faitlz!'
                                                          rl
                                                           'zisisa seziousaccusation,aadyou are
   3 J
     'ust
        ifiedinbeingskeptical.From myend,knowingwhat1know (butam tmabletodisclosein
   4     detail),lfeellikethexight#sing to do isatlemstwsrnyou guys.IfO yoneisatjeastalittle
   5
                        m ore cmvfulorcautiousaround hev.it'sworth itto m e.''
   6
   7
   8
   9
   10                                *e                        -- * -                    -          * -              *
                               -         *                      *           *   *               *
   11                                    -            -         *               -                   -       *             - *
                               *                      *                                  * *                * R           *

   12                                -.                   -                                                                     ,

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   14                        *                    * -                           *- -                                     --
                                         ..               -                 +                           *       *        * *
   15                                    .
                                         -                - *'                   e                  *           *
                                         .            *        *'                -              ** *'               *'

   16                                             ,-           œ '
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                                 -                e                 -       *        *          *

   17                            .                                      *        -
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                                              Q           c.
   19                                         - - -'e'*'                         --                         * *
   20                                                                                     -                 . .
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          388.       Asa directrestlltofM s.M ccawley Ktdiligently ilw esdgating''herclient,
    2        M adison Breshearspostednearexactverbiage ofwhatw ould bewritten in Sigrid
    3
             M ccawley'scom plaintthreem onthslater.
    4
          389.       M adsion Breshear
                                   ' sislicensed attom ey in N ew Y ork.
    5
          390.        On M ay 27*, 2024,M s.Breshearss'tated on aphone callto Plaintillkthatshe
    6
             had notspoken to M s.M ccawley'sclientspriortoherdefam atory statem entsbeing

    8        m ade on M ay 13*,2021,proving she conspired with M s.M ccaw ley to m akeher

             onlinevdefmnatory publicationspdorto tl:ecom plaintbeing fled asthçinform ation
   10        received by M s.Breshearswasneady identicalto tlzedefsm atory statem entsm adeby
   11
             M s.M ccawley butwbicltare notsim ilarto the complaint.
                                                      1

          391.        Asa directM d proxim ateresultofthisconspiracy,M s.M ccawley's
   13
             defam atory statem entsled to fi'rlherharassm entagainstPlaintiffscaused extrem e

             em otionaldiskess.

          392.        Forexsmple,asseen in the screenqhutsbelow,Plaintie 'previousKçfan page''

             accolmtson socialm edia weretrnnKitioned into hate pagesdue to M s.M ccawley's

             defnm atoxy statementsin thepressand them ediw every person fonnerly associated

             with PlaintiFsbelieved PlaintiFsweregoing to prison asa directcause ofM s.

             M ccawley'sdefam atory statem ents:

                 * Rlley Dusty!Ihopeprison iseverything you hopefor!M aybethose tiltsand
              competition trickswillcom e in hnndy behind barst?!Bestofluckl''- Instagram user-

                                                 @lauranrbs




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   1     398.      M s.M ccawley'sintentionaldefamatoxy statem ents caused Plaindffssevere

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            they werebeing sued through 'T'
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            relationsw ith Plaintiffs,entirely dis% sociated from them l cluding butnotll
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            theexam plesoftextniessagesbelow :

  15               * Em ailâom Holly TudorM ilesofBLOCH INC.who PlaintiF worked for

                       and lmd abusinessand personalrelationship w1t1:foroverâfteen yearsbut

                       whocompletely dismssociatedfrom PjaintiE immediatey following The
                       New YorkTimesarticle,withnoquestionsasked,justonedayafterthe
                       defamatozy article,arrangedby Sigrid M ccawley waspublished.

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   1              * Textm essage âom BreeHafen to Dusty Btltton,notifyitlg Plaindffof
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                     terminated agreem entmzdnegotiationsregarding a collaboration.
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             . Textm essage 9om Shelby Richardson to D usty Button,notifying Plaintif of

                                       termination ofemploym ent.




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                  AMENDED COMPLAINTAND DEMAND FOR W Y TRIAL
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              . Textmessagegom JacquelinePorter,(owneranddirectorofTheDallas
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              Conservatory),toDustyButtononotifyingPlairdl oftmminationofemployment.
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         401.       n esemessagesarejustanexampleandattnykactionofwhatPlaintiffs
            suFered by way oflossofbusinessand em ploym ent

         402.       A sanotherexample;asa directresultofSigrid M ccawley'sdefamatory
            statem ents,an entire fonlm discussion wasstarted to additionally defam e,ham ssand

            threaten Plaintifs,and addidonally updlethe fonlm on cancelled businessin which

            third pnrtieswere conspiring with Sigrid M ccawley'sclientsto send defam atoxy

            messagestoPlaintiffs'employersacontractorsmzdsponsorsasseeninjustafew
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                                                                                                                      7è'
       besilent!Let'skeeps'anding'ogether!(:
                                           4                                 ..' ...                             .       .'''.'.
                                                                                      ;' J.'.Tw)è. lr,'L'.....w....'.u:''..:(..;...J(
                                                                                                                                    ..    ..
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                                                                                                                                    .. .,.'J. ...
                                                                                                                                                .'.E.
                                                                                                                                                    .. c.
                                                                                                                                                               .



  25   P                                                                          3d Like Reply
        m NOT wanting to revisita debate on lhis,so 1                       .' **z'
                                                                                  ..t.m                       :
  26
  27
  28

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         403.          Asa directresultofSigrid M ccawley's defamatoly statem ents,an entire

             Redditdiscussion wascreated to filrlherspread thisdefam adon,harass,sham e,
   3
             em barm ssand threaten Plaintiffsincluding defam atoxy postsgom d<anonym ous''users
   4
             which filrtherdestoyed thereputationsofPlaintiffsincluding butnotliznited to the
   5
   6         following screenshotsbelow:

       Gç1heard herand herhusband had an underageprosdtuteoverdosein theirroom in V egas''-

   8                         anonymoususeronRedditknownasu/dancerdl3(1eA).
   9     * Redditthread createdto defam e Plaintifsasa direotresultofSigrid M ccawley'sfalse
  10
             anddefamatorys/tements-Usemameo carletdancer(Hght).
  11


  13
  14
  15
  16
                                                                             rIBALLET
  17                                                     i>
                                                          ej
                                                          îrscarletdancer-zu
                                                         W hat'swith Dusty Button?
  18
                                                         TRIGGER WARNING:groomlng,sexuala= aultallegatitms
  19    Overview     Posts     Commellts   Moderation
                                                          Hieverynne!lfeelaIittleoutoftbeIoopaskingthis,but
                                                         wbat'sgolngon with Dusty Button? Shemade her
  20                                                     Instagram privateso1can'tseewhatshe'sbeenposting
                                                         thire,butlstumbl
                                                                        edontoreal-world-ballerinaon
                                                         lnstagram todavahdtheirsecond mostrecentpostfrom
  21                                                      Map13thaccusesherofbeing asexbalpredator.The
        r/BALLET.3j)                                      cofnmentssavsheand herhusbandgrnom students,that
                                                          she's unprofessionalwhileteaching,andlilatshe cah
                                                                                                          n't
  22    W bas's with DustyButton?
        lheardherand herhusbandhadanunderageprostitute   keepadancejob-Hasanmneelseheardabou!this?Is
                                                         thereanythingwe can dotohelp?
  23    overdoseinthefrl'
                        ûnm inVegas
  24                                                     .qji1(;qï C)la                              t
                                                                                                     '
                                                                                                     .
                                                                                                     qasbare

  25
         404.          F'lrlberexamplesofdefnmatory and barassingpostsasadirectresultofSigrid
  26
              M ccawley'sfalsealld defnputory rem arksarebelow :
  27
  28

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       ffNow thatït'sfnally publicthatDusty Button isa sexualpredator,don'tyou thînk it'stim e

         ya'llstop following heron lnstagram ? n atyourchildren stop following her?Thatyour

       com pany stopsfollowing her? W ho we follow isareflection ofottrown values.D oyou share

                      the valuesofa sexualpredatorr - Usenum e:Kim Com elek




  23
             . flYikes.WhoMAKESussetgoalsthatwecanONLY reach* t11them''(eyeroli
  24
  25          emoji).Yeah,congratsonachiedngyourabusegoals.Wonderifsexuallyassaulting
  26          m inorswasworth yourcareerdissolving over.You'renotenough forbim ;you never
  27          were,neverwillbe.Y ou can notbe them issing piece forasociopath and pedophile.''
  28

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   4
   5
   6
   7
   8          . tGlike notto be crazy butcan w etag aI1herrecentgigsand any otherdance
   9             com petitionsbcshe shouldn'tbew orking with children''.- Instagram user
  10
                                              @bae.
                                                  hamas.
  11
  12
  13
  14
  15
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   1         *      **Caretoaddressyourpnunershipwith@dusty button considering the latest
                                                               -




              accusaHonsagainstherr -Instagram user@blossomandbranchfam toPlaintic s
                                          sponsorBtr cl'
                                                       lInc.




           * çG1heard heratld herhusband had an Im dmageprostitute overdose in theirroom in

                 V egaf''Ktwhere(lidyou hearthat??;<:1ust&om a friend who know salot,not

              reputablebutdusty and herhusband are clearly abusing young dnncers.M ore are




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         405.      Theseabovereferencedscreenshotsfrom thirdpe esarejustufractionofthe
            lossofreputadon and business.hm ssm entabullyingathreats and filrtherdefam afon
   3
            PlaintiFsreceived asa directrestzltofSigrid M ccawley'sfalse and defam atory
   4
            statem entsm ade in them edia.
   5
         406.      D ueto M s.M ccawley'sdefam atory,false and m isleading statements,
   6
            PlaintiFswerehm ssed and threatened by tbird pe es,including death threatsand

   8        cyberharassm entwbich follow ed directly aflerherdefsm atory statem entsw ere
   9        published in the m edia mld the press.
  10     407.      M s.M ccawley intentionally m anipulated and m isled theworld to believe
  11
            PlaintiF -raylorButton w asttfleeing''the Country w hen hem oved to bewith hiswife,

            (thengirlgiendl,wllileshewasworkingfortheBinninglanm RoyalBalletinEngland.
  13
         408.      M s.M ccawley'sfalseand defnm atory statem entsregarding Plaintiff-faylor
  14
            Button'sm oveto England encouraged furtherdefnm ntion ofPlaintiFs.
         409.      In addition to these statementsmM s.M ccawley also stated and wrote wifhin the

            com plaintthatPlaintil -
                                   faylorButton has Rseveralaliases''thathe goesby in orderto

            escapehiscrim inalactivity.PlàintiF -faylorButton wasbom witllthe nnm e M itchell

            TaylorM oore whereas,som e ofhisfam ily and friendsrefen'ed to him asM itch or
            M itchelland othersrefen'
                                    ed to him asTaylor.
  21
         410.      PlaintiF -raylorButton took hiswife'slastnam e when they w erem arried as
            m ostw om en taketheirhusband'slastnam eand PlaintiF Dusty Button w asthelastto

            carzy on the Button nam e which PlaintiFswillnow pmsson to theirson. Plaintilr

            TaylorButton took hiswife'snam etohonorhergrandfatherwho passed aw ay dllring




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    1       tlle ftrstwaveofdefamation thatM s.M ccawley'sclientcurated priorto their
   2        m rlmersltip.
    3
          411.     M s.M ccawley'sintentionaldefam atory statem ents,leae g thepublic and any

            potentialjurortobelieveMr.Buttonchangedhisnameforanyotherpurposethanto
    5
            takethelastnam eoflliswifeism alicious,tmethicaland m orally wrong asit

            imm ediately caused severe harassm entabullying and Gzrtherdefam ation ofPlaintiFs.
          412.     In fact dueto M s.M ccawley intentionally sensationalidngherclients'
            com plaint,theN evada DistrictCourtg= ted Plaintifrs'm odon to strike certain

            poG onsofhercom plaintasthey wereintentionally m eantto mislead and
   11
            sensationalizethecomplaintandhadnothingtodow1t11theallegationsbroughtforti.
          413.     Asallexsmple,thisttO onymous''Redditttsertook to the fonlm to harassand

            defam e PlaindEqasa directreslzltofSigrid M ccawley'sdefam atol sutem entsm ade




          414.     FortherecordvM r.Button hasneverbeen sued priorto July 2851, 2021 and has

             neverbeen accused ofany crime orothercrinzinalbehavior.including the allegations

             broughtforth twelveyearsafterheleftthe country to be with hiswife.PlaintiFsleA

             England in 2011 and did notgetm anied until2015 whereas,PlaintiF -faylorButton


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             took hiswife'slastname asan actofchivalxy and respectto D usty'sgrmldfatherwho

             passed away in 2017 and therefore did notchangehisnam ewhen heleftthecountly,

             nordid heKKll* ''the Cotmtry.These defnm atory statem entswerea directcause ofM s.

             M ccawley'sdefam atozy rem arkswhtten inlxerclients'complaintwhere she stated,

             QG-l-aylorIIGIto London,England''.

          415.      Although M s.M ccawley'sdefamatory and egregiousstatem entsin the

             complaintareprotected,herdefnmatory statem entsin them ediaisnot.

          416.      M s.M ccawley knew herstatem entsinside and outside the Cou- oom w ere

             defam atory and harassing butw asintmd onally m anipuladve,deceie land harassing

             tow rd Plaintie assheknew thathernsm e,lkerlnn'snsme andheraccoladeswould

             excuseherbehaviorhowever,M s.M ccawley'sunethicaltacticsand eag- essto
             destroy the livesoftwo peoplewlm did notdeserve thebsrm she causedvshould not

             go unpY shed.

              SW W Acc- /e''.
                            çDestruedont?
                                        .f#/e /z
                                               Jf/k'Buslness,G//t/.
                                                                  çandNenee.
                                                                           ç
          417.      Asstatedintheabovereferences,Plaintils'nnmesand likenesswastheironl
                                                                                      k
             dl?z,
                 Wzlc,
                     v ,which generated literally a11oftheirrevenue.incom e and business,wherems

             PlaintiFs,them selves,and whattheyprovided to theirrespectiveindustrieswas solely
             based on whatthey provided astheirnam ebrandsknown asDusty Button.Taylor

             Button.M itchM tchellButtom M itchellTaylorButton.R'
                                                                I'
                                                                 heButtons''.Button Builta

             Button Brand and Bravado by D usty Button.
          418.      PlaintiFs'established business,goodsand servicesweredirectly sourced and

             Provièed&om theirgoodnames,talentaexpertiseandreputations,whichwere




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            com pletely destroyed by Sigrid M ccawley,hertmethicalplay tp them ediaand the

            pressand herdefam atory postsand rem arks.

         419.      A sstated in the abovereferenced facts,PlaintiFswerehighly respected,

            extrem ely well-known,leaders ofthe danceindustry and the autom odveindustry,and
            p lianton theirbusinesseswhich werewellestablished foroverO een years,aseach
   6
   7        PlaintiF wastheirown businessin which they were hired based on theirdesired skill

   8        setsin theirindustries,which otherscould notofer.
   9     420.      PlaintiEshad established businessw ith signed negotiated contractswith three
   10       com paniesto m anufactc e and selltheirdancew earlinewhich wasin itsinitialphase
   11
            mzd w ellzm derw ay asPlaintiffsw erebeginning thesecond waveofthesepsrtnerships
   12
            w hen Sigrid M ccaw ley'sdefsm stoxy statementsderailed a11operations.
   13
         421.      PlaintiF.
                           slostany and allbusinessim m ediately and forthe foreseeable fature
   14
   15       asa directresultofSigrid M ccawley'slm ethicalplay to them edia and intentional

   16       defamatoxy statem entq.
   17    422.      Sigrid M ccawley m ade herstatem entswith actualm llice asshe knew that,as
   18
            a remzltoftlte publications,tlte Plaintifrswould s'ufl'
                                                                  erfnsncialharm-
   19
          423.     SigridM ccawleyknew thather statem entswerefalseand intenfonally
   20
            cxippled PlaintiFs'businessand ability to genemterevenue and incom e asshe
   21
   22       m aliciously referredto Plaintillk'goodsand see cesbecausethe Rpower''sheclaim s

   23       PlaintiFsEGabused''wasthepoweroftheirbusinesswhich wastheirtalent expeO se
   24       and theirreputablenam es.
   25     424.     Sigrid M ccawley knew thatherstatem entsw ere falseand inten:onally

            crippled Plaintiffs'goodsand serviceswhich included PlaintiF Dusty Buttons'



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            teace g,proW ded choreo- phy,m odeling,dancing,guestperforming,spenkïng

            engagem ents,desiN concepts,m arkd ing and brand ambassadorship,a11ofwhich

            were destroyed asPlaintiF Dusty Button washerown goodsatld services,ashernam e

            and careerwasherbrand and herbusiness.

         425.      Sigrid M ccawley knew thatllerstatem entswerefalse andintentionally

            crippled PlaintiFs'goods and serviceswhich includedPlaindF -faylorButtons'desiN

            work.custom autom otive creadons,sponsorships,comm erc'ialshootq,events,

            marketing.advertisingandspeakingengagements,a1lo/whichweredeskoyedas
   10       PlaintiF TaylorButtonw ashisown goodsand services,aslzisnnm e and careerw as
   11
            hisbrand and hisbusiness.
   12
         426.      Sigrid M ccawley intmztionally,willfully mzd m aliciously m adedefam atory
   13
            statem entsto nzlm erousm ediaand pressoutletswhich in tzm laresulted in 61rt%er
   14
   15       defnm ntionbyhundredsofthousa dsoftbirdpartieson socialmediaainthepressand

   16       othernew outlets.
   17    427.      Defendants'defnm ntoa postspread like fuel-soaked w ildflreG roughoutthe
   18       dance industry and comm unity,autom odve industry and com m unity and fhrther,to
   19
            danceand autom otivefonxm sincluding butnotlim ited toFacebook,Redditalld
   20
            TikTok and waswidely spread W acomm unicationstllrough variousm essaging
   21
   22       pladbrm snaEonally and intem adonally.

   23    428.      Siglid M ccawley'sdefam atozy rem arkswerenotonly spread in wzitten fonn

   24       butwere widely spread via word ofm outh through then pevine oftheindustries
   25       which PlaintiFswereso highly respected and m om inentin.
   26




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                                                            Y TRIAI,
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    1    429.       Sigrid M ccawley w asthe cllm torand creatordefamatory rem arksand postsin .
   2
            which shehadcompletecontrolof usingherinfluenceand abuseofpowertoreach
   3
            millionsofpeopleto intentionally,willfttlly and m aliciously defam ePlaintiffswhile
   4
            knoe ngly inqicting intenuonalhsrm on Plaintifrsandtheirbusiness apd reputations.
   5
         430.       Sigrid M ccawley'sdefam atory postsand rem arksto am assm ediaaudience
   6
   7        wasintentionally dishonestand herdefamatoa rem arksw ere stated foran im proper

   8        modvewiththeintenttoinjurePlaintiœ withoutjustcauseorexcuse.
   9      431.      Sigrid M ccawley knew thataasaTesultofthepublications,Plaintiffswould
   10
            sufferGnsncialhnrm and neverbe capable ofgenerating revenueusing theirnam es
   11
            agaia
   12
          432.      Plainuffssuferedcompletelossofbusinessand salesincluding thatthel
   13
            incom ewas solely based on a perperfonnsnce basisw hereasmPlaintiffs'incom ew as

   15       generated upon completion ofwork mst1:% w erethem Kelves,theirbusiness.

          433.      Forexam ple,Plaintiffllusty Bptton'steaching cl- esandperform anceswere

            imm ediately canceled follow ing Sigrid M ccaw ley'sdefamstory statementsincluding

            butnotlim ited to,in The New York Tim es.

          434.      A sanotherexample,PlainiffD usty Button im m ediately lostany and al1
            businesswith allscheduled dance studios.sllm m erintensivecourses,and events
   21
            which she wasscheduled to guestteach and choreograph for.including scheduled

   23       guestperform ance appenmncesnadonally and intem adonally asa directresultof

            Sigrid M ccawley's defam atory statem entsand unethicalplay to thepressandthe

            m edia.




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         435.        A sanotherexample,PlaindF TaylorButton im m ediately lostany and a1l

            businessrelated tohisbrandsincluding hisbusinessand brand ''Buuon Built''#with al1

            scheduled eventsintheautomotiveindus> includingpre-plnnneddesi> buildsfor
            clientqand ctlstom ersinoluding prom inentnam ebrandswhich weresponsorsof
   5
            PlainiF -
                    faylorButton,allofwhom canceledtheirbuildsand desir conceptwork
   6
   7        w ith PlaintiF fortheforeseeable future.

   8     436.        F'zrtber,Plaintiffsboth im m ediately lostany and a1lconkactsw ith sponsors,
   9        endorsem entsand eventappenm ncesin t11* respecdyeindustriesincluding butnot
   10       limitedto:BLOCH Inc.mTigerFritlay,Capezio,Ynmiko,MPG SporqFenti,Volcom,
   11
            DkscountD> ce,RedBull,AdidassW eW orka Rotiform W heels,Brixton Forged,
   12
            M om o m cing,Bride Racing,Nitto Tles,Toyo tiresmBrembo,FerrariP% ,Tial
   13
            Concepts.Xona Rotor.Aviva Performance.Im pressive W raps.Inozetek.TubiStyle,
   14
   15       Vivid M otorspoxt Voodoo Autom otiveaSEM A Auto Show sCrep Protect Accuair

   16       Suspensions,Currie axels,PelicR LLC.Cyreym an Tactical,PRP seats,KM C wheels,
   17       RAM m otm ts,M etalcloak saspension and body components,THIJLE,RebelOe oadv
   18       PPG paint,M orim oto LED lighting solutions,BAJA of-road lighting soludons,
   19
            Pow eesnk,M              11P ttmers,Em ory M otorsports,SABELT and lllest amongst
   20
            m any othersnotlistedhere.
   21
   22
          437.       PlaintiFsnotonly losttheirbusinessO utton Brand''.suFering thecom plete

   23       des% ction oftheirself-m adebrand butwere forced to refund custom ersforitem ssold
            dueto thecolm ection ofthe defam atory statem entsm ade by Sigrid M ccawley and the
   25       fhirdpai eswho un pevl ed''oE ofherdefamatory statem entsin them edia and the

            PD SS.



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    1     438.      PlaintiFscom pletely lostand forfeited theirbm nd,Button Brand dueto the

             defamatory statem entsm adein them edia and the pressby Sigrid M ccawley andher

             clients.

          439.      PlaintiFshad apre-plannel negotiated contrac'tw1t11dancewearcompany
             TigerlM day whereas,PlaintiFsdesignedalicensed and would m arkettheline of

             leotardsanddancewearuélizinjtheButtonnameandbrandtoexpandtheiralready
             stzccessfulcom pM y and im age.
          440.      Plainéflk'contractw msim m ediately c> celed asa directresultofDefendants'

             defam atory rem arlts.
          441.      Plaintiœ werenotpaid forw ork already com pleted as TigerFriday continued

             to use Plaiatiffs'already com pleted designs,due to tllefalse and defnm atory

             statem entsm adeby Sigrid M ccawley andherglobalm edia cam paign waged against

             PlaintiFs.

          442.      Plaintie 'brandvBravado by D usty Button w asadancew earand leotard line
             fordancersin which Plnintiffshnd previousnegotiated contractsW tIIsponsored third-

             party companiesand distributorssuch aqDiscountDance,Showstopperand G K Elite,

             aswellasadvertised and gam ered sales ofthislinethroughtheirown website

             K'
              bm vadodancewear.com ''and through Plaintillk'form ersocialm edia page on

             Insugram,@bmvado-dancewearandPlaintillk'personalsocialmediaaccotmt.
             @dusty-buton.
          443.      BmvoobyDustyButtonwassoldatvariousdanceeventsfordisibution,
             where% ,salesandcontractswereimmediatelyterminated following $100,000.00of
             m rtnerinveM entand nearly ayearoftcavelandplanning msa directresultofSigrid




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    1       M ccawley'sdefam atory statem entsin the globalm ediacampaign waged against
   2        PlaintiFs.
    3
         444.      Defendants'defam atory rem arksforcedthe termination ofBm vadoby D usty
   4
            Button asaI1salescam eto ahaltànd addidonally,custom ersdem anded refunds
    5
            stating thebrandw asassociated with N exualpredators'' Gperpeu tors'' Rcxitninal
    6
    7       behavior''and Rmpists''

    8     445.     Imm ediately following Sigrid M ccawley'sdefam atory statem entsin tllem edia

            and thepress,Plaintie 'businesses,Button BrD daButton Built,and Bravado by

            D usty Button were completely deskoyedmlosing hundredsofthotksandsofdollarsin
   11
            revenue and costs,which w ere already paidaprom ised mld negotiatedw ith tbird party

            com paniesD d distributors.

          446.     Any and a11m arketing forthe above reference brO dsw ith associated accounts

   15       advertising tlm sebrandsincluding a11salesw ere terminated msa directresultofSipid
            M ccawley'sfalse and defnm atory postsand remarks.

          447.     The seriousnessofDefendadts'defnm ntoxy statemo tsprovesa çlearintendon

            to causednm ngeto PlaintiFs.

          448.     Thenatureand substance ofDefendants'defam atory posts,rem arksand actual

            knowledge thatherstatem entswereuntnzeprovethatD efendsntx'actionswere
   21
            willful.intentionaland m alicious.

          449.     Defendants'defamatory sGtem entsand the audience thatthe Defendu t

            intended to,and did reach,proveswithoutquesion,herintenttolmrm PlaintiFs'

             careers.businessesandreputationsasthefalsestatementswereaimedspeqhcallyat
            Plaintill-
                     s'colleagues,clientsand targetdem on phicsthrough these defamatory



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            statem enl
                    /
                       in theglobalm ediacampaign waged againstPlaintiFsincluding butnot
   2        lim ited topublished defamatory statem entsin 'l'he New York Tim es,Cosm opolitan,'
   3
            The Boston Globe,ABC N ews,TheD aily M ailand otherm assm edia outlets
   4
            includingthepressandnearlyevexymajornewsoutletandsocialmediaaccountthat
            were otherwise outsideofPlaintiFs'industries.
   6
   7     450.        SigxidM ccawley'sdefam atory statem ent.
                                                            scaused theentire dance industzy to .

    8       notonlytnrnagainstPlaintilllustyButtom (whohadworkedherentirelifetobuild
    9       thereputation shewasknown forin herindustry artd wasatthepinnscle ofher
   10
            career),butcausedtheindustrytodismssociateâom Dusty,repostthedefnmatory
   11
            statem eptsand cease allcomm unicaéonwith her,including halting any and a11form s

            ofemploym entforwhich shehad been in exlem ely high dem nnd for,foroverO een
   13
            years.

   15     451.       Siglid M ccawley'sdefnm stoxy statem entscaused the entire autom oive

            industxytonotonlytlu'nagninntPlaintiF-faylorButtonx(whohadworkedover
            thirteenyearstobuild thereputation oftheidolhewaqandthathewasknom lforin

            llisindlzstryandwasatthepinnscleofbiscafeer),butcausedtheindustryto
            disassociatefrom Taylor,repostthe defam atoxy statem entsand ceaseall

            comm lmicafon with bim yincluding halting any and a11form sofem ploym entfor
   21
            which hehad been in extrœnely high dem and for,foroverlhirteen years.
          452.       The defam atoxy rem arksatld postsm ade by Sigrid M ccawley ignited aviral

            response which spread likewildlire,resulting in a 'grapevine'ellkctthroughout

            PlaintiFs'industliesincluding totheirco-workçrs,clients,employers,potential

             em ployersapareng and children ofthoseDusty taughtin tlw danctindustry,sponsors,




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   1        potentialsponsors, friendsand fam ily involved in theindustries,custom ers,form er

            em ployers,agencies,dance studio ownersand othervariousthird pe eswhereas,
   3
            PlaintiFscould notdefend them selvesagainstsuch widespread industry gossip.
   4
         453.        Sigrid M ccawley specifcally targeted Plaindlrsin herglobalm ediacam pair
   5
            w aged againstthem ,asthey were influentialand inform ativepeoplein theirindustries
   6
   7        in which theD efendantspread false statem entsfilrfherthan itwould seem at& st

   8        blush.
   9     454.        Plaintie w ere com pletely prevented âom defending thenkselvesto allthird
   10       pardes asDefendnnts'defnm atory statem entswere so im m ediately viraland outof
   11
            controlvthatPlaintiEscould notcontrolorm anagethe eFects ofSigrid M ccawley's
   12
            false.defsmntoxy and m alidousstatem ents.
   13
   14
         455.        Asa directcause ofSigrid M ccaw ley'sfalse and defam atory statem entsand

   15       globalm edia cam paign w aged againstPhintiœ aPlaintiFshavebeen nnnbleto even

   16       haveaG gtone,vibration orsozmd on theirphoneswhen notifcationsorcallscom e

            1 ,dueto the influx ofnotifcationsam essages.harassm ent,death threats,unw anted
   18
            threatening calls and theoverwhelm ing im mediateresponsesto Defene ts'posts,
   19
            comm entsandrepostswhereas,Plaintiffseven had to taketnrnsw atching for
   20
   21
            nodlicationsoneachother'sphonestoevensleepjustonehourastheharassing,
   22
            threatening and defam atoxy rem arkscontinued form onthson end.

   23    456.        To thisday,PlaintiFskeep theirphoneson silentasitrestlltsin severe traum a
   24       and PTSD asa directresultofSigrid M ccawley'sdefam atoly statem entsand the
   25       globalm edia campaign waged againstthem .
   26
   27
   28

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         457.      Aspred ously stated herein,PlaintiFs'bttsiness,wastheirnamesand likeness

            asthey were individually con% cted due to theirreputationsofwhothey w ere asa
   3
            businessand astheirnamesweretheirbrands.
   4
         458.      Plaintilrswerewell-known and prom inentGglzresin theirindlle iesand
   5
            therefore,werecon% cted,em ployed and in high-dem and because oftheirnam esand
   6
            repuotions,asthey,them selvesweretheirbusinessesforoverffteen years.

   8     459.      Plaintiflk'reputations,priorto Defendlmts'defamatory statem entsin her
   9        globalm edia cam paign w aged againstPlaintiffsand theslaughterofPlaintiFs'good
   10       nam es,wasim peccablein both tlzeirrespecdveindustrieswhereas,Plaintiffsw ere
   11
            w ell-liked,wem respected and in high demnnd due to theirexpertisein theirindusd es,

            which otherscould notoFer.
   13
   14
          460.     Defendanthasneverm ade any attem ptto rectify the false and m nlicious

   15       statem entseven afterPlaintiffshaveprovmtherstatem entstobedefnm ntom false,

            m isleading and intentionally hmvnfhl,including in liégation.

          461.     Theshock and confusion Tesulting 9om thedefam ntory statem ents,coupled

            with Sigrid M ccawley'sabuse ofpowerand influenceresazlting in intensethreats,

            har% sm entoand severebullying and including the use ofherfam e asan attorney to

            intim idate and silencePlainillk whilein litigaEon againsther,PlaintiFswere1ed to
   21
            believe recoursew ould bean im possibility againsther.

   23     462.     PlaintiFswereso tratlm atized by Defendants'actionsthatthey both sufered

            âom suicidalthoughts,nearly taking theirown livesasa directrestlltofthe

            defam atory statem entsm ade by SigridM ccawley and theglobalm edia cam paign

            w aged againstthem how ever,they have since championed those dark thoughts




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    1       withoutthehelp ofthetherapy they are unableto G ord duetothedesm zction oftheir
   2        careersthrougb Defendant'sdefam atory conduct
   3
         463.      SigridM ccawleytook nm nnative stepsto ensurePlaintiFsw ere withoutthe
   4
            ability to seek recourse againstherunilnow with thethreatofa 1aw degree and
   5
            intentionalhsrm she M icted on PlaintiFsby way offorcing them to be unem ployed
   6
   7        with no ability to generateincom e,rele% ing herofany responsibility asshe% ew it

   8        w msapossibility forherstatutesoflim itation to expirebefore Plaintiffscould take
   9        action againsther.

          464.     Defendant'sdefam ntory campaiga againstPlaintiffswaqdirectly responsible
   11
            forhtmdredsofdeath tllreatsand ahired convicted felon thatwaspaid neady

            $100,000.00to forcePlaintiffstodestroyevidencethatDefendnnt'sdefsmation was
   13
            m eantto conceal;a felon who brokeinto Plaintiffs'hom e and thusrendered them in

   15       fearofthdrlives.

          465.      Accordingly,any stam te oflim itationsapplicable to Dusty and Taylor's

            clsim q,ifany,istolled-

          466.      Sigrid M ccawley'sacionsdescribed above deprived Dusty and Taylorofthe

            opportunity to com m ence thislawstzitbeforenow.

          467.     M s.M ccawley isequitably estopped 9om œsserting a statuteoflim itafons
   21
            defense asto PlaintilTs'clnim s.

          468.      AllowingSigridtodosowouldbeunjust.
          469.      Sigrid M ccawley took ac:ve stepsto preventDusty and Taylor9om

             comm encing tbislawstlitbeforenow ,including by destroying Plaintillk'inability to

            w ork aferthe onsd ofherdefam atoxy globalm edia cam paign againstPlaintiffsbegml




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I
'      1           and by using tacticalintim idadon by way ofusing her1aw degreeto suppressand
       2           SilencePlaiM ffs9om defending againstherfalseand defam atory postsand rem arks
       3
                  through litigation.
       4
               470.       Plaintifl'
                                   shave ste ered and continueto se erm entalangtlish,severe
       5
       6           emotionaldislessandlossofenjom entoflifeasadirectandproximateresultof
       7           Sigrid M ccawley'sdefam atory and m aliciousstatem ents.
       8       471.       HH PlaintiFssuccx bed to the dmu ess#1mtSigrid M ccaw ley castovertheir
       9           lives, businesses,fa iliesand futures.thislitigation would be crim inalratherthm1
       10
                   civilassheisresponsible forserving asthe catalystofthe globaldefam atory m edia
       11
                   campaign waged agninntPlainéfrsand the gaudulentactionsthatnearly ended two
       12
                   livejtbatw ere oncetlle brightestlightsofth* careersformillionsofpeople abroad.
       13
       14                                        CAUSES O F ACTION

       15                            COU NT I-INJUR IO US FALSEHO O D

       16      472.       PlaintiFsrepeatandreallegethe allegationscontinedw itlu'n paragraphs1
       17          tbrough 471, supra,asifsetforth herein.
       18      473
                   .      The unprivileged statem entqm ade by M s.M ccaw ley to others aboutPlaintiFs
       19
                   w ere false and defam atory.
      20
      21       474.       TheDefendant'swordsweremaliciouslycalculatedtocausefnancialinjtuy,              -
      22           constitutingPlaintillk'claim ofInjuriousFalsehood3o.
      23       475.       Defendanfswordswerepublished in awritten fashion to hundredsof
      24           thousands, ifnotm illionsofreadersincluding in docum ented online content
      25
      26
      27 S0TheLibelandSlanderAct,R.S.O.1990:c.L.l2?section lA statesthatspœialdamagesarenotnecessaly to
                                             .

            pleadorproveinanadionforinjuriousfalsehoodinFlorida
      28

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    1       newspapers,socialmediapublications,lawjollrnalsalldinthemediaincludingon
   2        television program s.
   3
         476.       M s.M ccawley did notvexif.ythe accurscy ofherclients'allegationsbefore
   4
            m akingherdefam atory statem entsorotherwisem adeherstatem entsnfferRhoursof
   5
            research>',and therefore,m adeherstatem entsoutofneglectarecklessdisregard forthe

   7        trut.
                h and/or actualm alice.

    8     477.      M s.M ccawley know ingly publishedym ade deG matory and false statem ents
   9        m:d com m unicated thosefalsesttem elitsto a m smq audience ofthird pe esincluditv
   10       in thepressand the m edia.
   11
          478.      M s.M ccawley isliable forsnxnging thepressand m eé aoutletswhere tlze

            false D d defmnatory statementsw erem ade.
   13
          479.      M s.M ccawley'spostqmfalse statem entsand defnm ntory rem nrksw erethe

   15       directcause ofPlaintiffs'com plete lossofbusiness and salesTelated to theirnam es,
            likenessand brandswhereas,Plaintiffssuffered acomldnm nges,proven by bank

            statmnents,emsiland textcom municadonsmapprovalofgovernm entassistance

            program s,lossofcotmsel,lossofemploym entand othereconom ic and fm ancial

            evidenceofdam agesasaresultofSigridM ccawley'sfalseand defam atory

             statem ents.
   21
          480.      n e unpHvileged statem entsm ade by Siglid M ccawley to othersabout

            PlaintiFscausedcompletelossandinjurytoPlaine s'businesses,where% Plaintiffs
            havenotworkedone.singlejobsinceJuly28th.2021,includingthatanyanda1l
             contrad sincluding theforem entioned company contcactsand agreem entsw ere




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             imm ediately atld prem aturely tenninated following Sigrid M ccawley'sunethical

             conducq which iscontinuing.

          481.      M s.M ccawley published and m ade herdefam atory statem entsnegligently,

             w1t1:u owledgeofthefalsity oftbestatep ents,and/orwith recklessdisregard oftheir

             tnltlaorfalsity.

          482.      Atthetim eM s.M ccawley'sstatem entswerem ade,sheknew orshotlldhave

             known thatth% w ere false D d defnm ntory.

          483.      Hzmdredsoftlzozkqsndsofpeopleactuall
                                                       kreadand/orheardthefalseand
             defam atory statem ents.

          484.      M s.M ccawley'sstatem entswerenotprivileged.

          485.      The statem entswerem sdeby Sigrid M ccawley w ith acomlm alice,

             oppressiom and fraud in tbatghew asaw are atthe tim eofthe falsity ofthe

             publicationsand thussm nde saidpublicationsR d statem çntsin bad faith,outofhatred

             and ill-willdireded tow ardsPlaintiffswithoutany regard forthe truth.
          486.      M s.M ccawley possessed infornmdon and hsd accessto informstion wllich

             showed herstatem entsw ere false.

          487.      SigridM ccawley m ade statem entswhich had no factualbasis.
          488.      M oreover,thestatem entstendto sohnrm thereputation ofPlaintiffsasto

             lowertheirprofessionalreputation in tllecom m tmity ordetertbird persons9om

             mssociating ordealing with them including termination ofany and allbusiness,

             contractsoremplom entand,assuch,constituteinjuriousfalsehood.
          489.      Asa directand proz m ateresultofthem aliciously false and defam atory

             statem ents,PlaintiFshavebeen severely dam aged.




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    1       490.          Plaintiflk areentitled to punitive dam ages,becauseM s.M ccawley's
    2            defam atoxy statementswerem adewitb hatred ill* 11,énd spite,with theintentto
                                                              ,

    3
                 harm PlaintiFsorin blatantdisregard ofthe substantiallikelihood ofcausing them
    4
                 11nrm.
    5
    6       491.          n estatuteoflimitationsfordefamationclsims,includinginjuriousfalsehood
    7            m ay betolledaaduring therezl#cpc.pt
                                                    farelatedlfzwàwf/orarbitrationrelatedtothe
    8            sameJçftzpztzfor.pstatementf'and,Gntherezdcac.pqfa motion todismissa related
    9            lawsuitmay tollthestatuteoflimitationsuntilthemotionisresolvel'whereas,
   10            Plaintiflkhavebeen involved in a pending liigation fornearly threeyearsw ith Sigrid
   11
                 M ccawley ard herclients,restM ng in any ability to fnanoially aFord representaéon
   12,
                 mldpreventing Plaintifrsfrom seekingreco> eagainntMs.M ccawleyuntilnov l.
   13
   14       492.          M s.M ccawley'sdefnm ntory statementsw ere intentionally and specifcally

   15            tim ed topreventPlaintiœ &om seeking recom se againstherasPlaintiFscould not

   16            afford to E1eclaim sagninKtM s.M ccawley,asherdefnm story statementsimm ediately
   17            desyoyed Plaintiffs'ability to work and to generateincom e;thisw asintentionalso
   18
                 thatPlaintiffscouldnotseek recourse agains'tDefendsntuntilnow .
   19
            493.          Defendantisequitably estopped from asserting a Rtntllte oflim itdonsasa
   20
   21            defenseandallowingllertodosowouldbeunjust;therefore,PlaintiFs'statutes,if
   22            any.m ustbetolled.

   23
   24
   25
   26
      3tF.s 995.0511)-The2023FloridaStntlltœ (includingSpecialSessionC)aretolleddllring thependency of
             .

   27 anyarbitralproee ingpertainingtoadisputethatistlzesubjectoftheadion.
   28

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i
j                                                                                                            .
!
                1    494.        Because Sigrid M ccawley'sdefam atory statem entsconstimteintentionalacts
               2        w11ich werem ade w1t11actualm alicetowardsPlaindFs, PlaintiFsseek an aw ard for
               3
                        ptm idve dam ages.
               4
                                 WHEREFORE,PlaindFsDustyandTaylorButtondemandjud> entagainst
               5
               6 DefendantSigridM ccawleyfordamages,punitivedamages,courtcosts,andsuch otierrelief
               7 astheCourtdeemsjustandproper.
               8                             CO UNT 11-DEFAM ATIO N PER SE
               9     495.        PlaintiFsrepeatand reallegethe allegationscontained within pa agraphs 1
               10       through 471,supra,asifsetforth herein.
               11
                     496.        '
                                 Iheunprivileged statmnentsm adeby Sigrid M ccaw ley to othersabout
               12
                        PlaintiFswere false and defnm ittory.
               13
               14     497.       'l'heunprivileged statem entsm ade by Sigrid M ccaw ley to others about

               15       PlaintiFscausedcompletelossandinjurytoPlaintiffs'businesseswhereas,Plaintiffs
               16       havenotworkedonesinglejobsinceJulym28th.2021includingthatanyatlda11
               17       conlactsand agreem entswere im mediately aadpremnturel
                                                                             y tenninsted following M s.
               18       M           ,
                             ccawley sconduct.
               19
                      498.       Sigrid M ccawley m ade and published such statem entsnegligently,with
               20
                        ltnowledgeofthefalsity ofthe statem ents.and/or* t1:recklessdisregard oftheirtnzth
               21                                                                                                .
               22       orfalsity.
               23    499.        Atthe tim eM s.M ccawley m ade such statem ents,sheknew orshould have
               24       known thatthey were false and defamatory.

               25     5:0        uundredsofwthollundsofpeopleactuallyj.eadand/orheardtbefalseand
               26
                        defanaatory katenxents.
               27
    '
               28

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          501.     M s.M ccawley'sstatem entswerenotpxivileged.
   2      502.     M s.M ccawley'sstatem entswerem ade and published w1t.
                                                                        1,actualm alice,
   3
            oppression,and fraud in thatshe wasawareatthetim e ofthefalsity ofthe publica:on
   4
            and thus.m ade said statem entsand publicationsin bad faith,outofhatred and ill-will
    5
            directed towardsPlain:llk withoutany regard forthetnzth.
    6
          503.     M s.M ccawley possessed inform ation and had accessto inform adon that

    S       showed herstatem entswere false.

          504.      M s.M ccawley m sdestatementsforwhich she bndno factualbasis.

          505.      M s.M ccawley suggested Plaintilfswere ixwolved in a seriouscrim e involving
   11
            m oraltup itude orafelony,exposing PlaintiFstoridiculeinw hich reflected

            negaively on Plaintiffs'clmracters,m orality and integrity whereas,the defam atoty
   13
            statem entsimpaired Plaintiffs'fnanc'ialw ell-being.

   15     506.      '
                    I'
                     hefalsestatementsm adeby M s.M ccawley to tlw m edia,thepressand other

            third pe es,including 1aw enforcem entarenotprivileged including becausereports

            ofa crim e thatareintentionally falseorm ade with recklessdisregard forthe% t11are

            notprivileged.

          507.     BecauseM s.M ccawley's falsestatem entsaccused PlaintiFsofa seriouscrim e

            and m aligned PlainiFsin theirprofessionsathose statem ents consitute defam afon per
   21
             seandPlain:ffs'injuriesarepresumed.
          508.      M oreover,the statem entstend to soharm therepuotion ofPlaintifsasto

            lowertheirprofessionalreputation in thecomm tmity ordeterlhird personsfrom

             associae g ordealing * t.
                                     11them including term ination ofany and al1business,

             contractsorem ploym entand,assuch,constitute defam aéonwerse.




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          509.        A sadirectand proxim ateresultofthem aliciously false and defam atory

             publicadon ofstatem entsto third pai esby SigridM ccawley,Plaintiflkhavebeen

             severely dam aged.

          510.        n e statuteoflim itationsfor defam ation clnim s,including defam ationperse

             maybetolle; aduring thependencyt?farelatedlawsuitorarbitrationrelatedtothe
             àwzpedefamatorystatements''and,Gcthependencyt?famotiontodismissarelated
             lawsuitmay tollthestatuteqflimitationsunttlthemotion isresolved'whereas,
             Plaintilshavebeen involved in a pending litigation fornearly threeyearswith Sigrid

             M ccawley mld herclients,resulting in any ability to Gnsncially afford representation

             artd preventing Plaintifrsfrom seekingrecourse againstM s.M ccawley untilnow.

          511.        M s.M ccawley'sdefsmatory statem entsw ereintentionally and specifcally
             timed to preventPlaintiffs&om seeking recourse agninqtherasPlaintie could not

             afford to fle claixnsagainstM s.M ccawley,asherdefnm story statem en? imm ediately

             destoyed Plaintiffs'ability to work and to generateincom e;thisw asintentionalso
             thatPlaintiffs couldnotseek Tecoc se againstDefendnntundlnow .

          512.        Defendlmtiseqtzitably estopped from asserting a statlte oflim iutionsasa

             defenseandallowinghertodosowouldbeunjust;therefore,PlaintiFs'suttztes,if
             any,m ustbetolled.
          513.        PlaintiFsare enEtledto punitivedam ages.becauseM s.M ccawley's

             defam atory statem entswere m ade with hatred,i11will,and spitè,with the intentto

             hnrm PlaintiFsorin blatantdisregard ofthe substaniallikelihood ofcausing them

             hnrm .




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I
!
        1      514.       BecauseM s.M ccawley'sdefam atory statem entsconstittlteintentionalacts
        2         w hich werem adewith actualm alicetowardsPlaintiFs. Plaintiffsseek an award for
        3                                                       .
                  ptmitive dam ages.
        4
                          WHEREFORE,Plaine sDustyandTaylorButtondemandjue nentagainst
        5
        6 DefendantSigrid M ccawley fordamages,punitive dam ages,cotlrtcosts,and such otherrelief

        7 astheCourtdeemsjustandproper.
        8                                 COUNT 111- LIBEL PER SE
        9      515.       PlaintiFsrepeatandreallege the allegaionscontained within parav aphs 1
       10         through 471,supra,asifsetforth herein-
       11
               516.       'ihe unprivileged statmnentsO IIeby Sigrid M ccawley to othersabout
       12
                  Plaintie were false and defmnatory.
       13
       14      517.       The unprivileged statem elttsm adeby M s.M ccawley to othersaboutPlaintifl'
                                                                                                    s

       15                                  .1
                  caused completelossmld 111* toPlaintie 'btzsinesseswhereas,Plaitltiffshavenot
       16         workedonesinglejobsinceJuly28*,2021includingthatartyanda11contactsatld
       17         agreem entsWere1
                                 'm m ediptely and premsturely terminated following Sigrid
       18         M          ,
                      ccawley sconA ct.
       19
               518.       Siglid M ccawley m adeand published such statem entsnegligently,wit.
                                                                                             h
       20
                  lœ oWledgeofthe falsity ofthe statem ents,and/orwith x'
                                                                        ecklessdisregard oftheir% t11
       21
       zg         orfalsity.

       23      519.       AtthetimeM s.M ccawley madesuch statements,sheknew orshouldhave
       24         u own thatthey were falseand defnm atory.
       25      520.       Hundredsofthousandsofpeople actually read and/orheard thefalseand
       26
                  defam atory statements.
       27
       28

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                         AM ENDED CO M PLA INT AND DEG ND FOR JU RY XR IAL



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          521.      'I'
                      hestatem entswerenotprivileged.

          522.      The sGtem entswerepublished and stated by Sigrid M ccawley with actual

             m alice,oppression,and fraud in thatshewasawareatthetim eofthefalsity ofthe

             publicaEon and thus,m ade said statem entqand publicationsin badfaitb,outofhatred

             and ill-willdireded towardsPlaintiffswithoutany regard forthetnlth.

          523.      Sigrid M ccawley possessed infonnation and had accesstoinfonnation that

             show ed herstatem entswere false.

          524.      Sigrid M ccawley m ade statem entsforwhich shehad no factualbasis.

          525.      M oreover,thestatem entstend to so laarm thereputation ofPlaintiffsasto
             lowertheirprofessionalreputaionsin thecom m unity ordeterthird persons9om

             associating ordealing w ith them inclùding termination ofany and allbm iness,

             contactsoremployment> 4.assuchsconsti-telibelrcrse.
          526.      Asa directand m oxim ate resultofthem aliciously falsemzd defnm atoxy
             statmnentsand publication ofstatem entsto tlzird partiesby Sigrid M ccawley,

             PlaintiFsbavebeen severely          ed.

          527.      Sigrid M ccaw ley m ade false and defamntory statem entsto a m assaudiencein

             which were so widely tm derstood to behsrmfultbatthey are presum ed to be

             defam atory asSigrid M ccawley m adestatem entswhich accusedPlaintillk of

             commiingcrimesagains'tchildren,paicttlarlyarKyounggir1s'').
          528.      The sGtute oflimitationsfordefam auon clsim s,including libelrerse m ay be

             tolledaaduring f//ellezlz/eac.)z(farelatedlawsuitorarbitrationrelatedtothesame

             dqfamatolystatements''andkathependencyt?famotionto#jJ'zAll%'
                                                                        .
                                                                        çarelatedlovsuit
             zz/znztollthestatutet?flimitationsuntilthemotionisresolved''whereas,PlaintiFshave



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        1         been involved in a pending litigation forneady threeyearswith Siglid M ccawley and
        2         hefClients restllting in any ability to Gnancially aFord representation and preventing
                            .

        3
                  Plaintifrsfroin seeking recourse againstM s.M ccaw ley untilnow .
        4
               529.       M s.M ccawley'sdefam atory statem entswereinten:onally and specifcally
        5
        6         timedto preventPlaintiFsfrom seeking recourse againstherasPlaintiFscolzld not

        y         G ord to Ele claim sagainstM s.M ccawley.asherdefgm atory statem entsim mediately

        8         destroyed Plaintiffs'ability to work and to generateincom e;thiswœsintentionalso
        9         thatPlaintifrscouldnotseek recow se againstDefendlmtuntilnow .
       10      530.       Defendnntisequitably estopped 9om asserting a stm te oflknitationsasa
       11
                  defenseandallowinghertodosowouldbeO just;therefore,Plaintifrs'statutes,if
       12
                  > y,m ustbetolled.
       13
       14      531.       PlaintiFsareentitled to punitive dnm nges.because M s.M ccawley's

       15         defa atoa statementswerem ade wi* lzatredvi11w illsand spite,with the intentto

       16         hnrm Plaintiffsorin blatantdisregard ofthe subse tiallikelihood ofcausing them
       17         Ilsrm                                                                                    ,
       18      532                              ,
                  .       Because M s.M ccaw ley sdefamatory statem entsconstituteintendonalacts
       19
                  which werem adew1t1:acm alm alicetowardsPlaintiFs,PlaintiFsseek an aw ard for
       20
                  plm itivedam ages.
       21
       22                 W HEREFORE.PlainliflkDusty andTaylorButton demandjudm entagainst
       23 D efendantSigridM ccawley fordam ages,ptmitivedam ages,courtcosts,and such otherrelief

       24 astheCourtdeemsjux andproper.
       25                              co vxv w - sta xoxltle ltsl
       26
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          533.      PlaintiFsrepeatand reallegethe allegatiorlscontnined within paragraphs 1

             through 471,supra,asifsetforth herein.

          534.      n etmprivileged statem entsmadeby Sigrid M ccawley to othersabout

             PlaintiFsw ere false and defam atory.

          535.      n e unprivileged statem entsm adeby Sigrid M ccawley to them edia,the press

             andotherthirdpartiesaboutPlaintiFscausedcompleteIossandinjurytoPlaintiffs'
             businesseswhere%mPlaintiFshavenotworkedonesinglejobsinceJuly28*,2021
             including thatany and al1contractsmzd ap'ee1::e111 w ere imm ediately and prem ahzrely

             terminated following Sigrid M ccawley'sconduct.

          536.      M s.M ccawley m ade defa atory statem entsto variousthird paxtiesWith

             negligence,w ith knowledge ofthefalsity oftlte statmnents,and/orw ith reckless

             disregard oftheirt1-1:t1:orfalsity.

          537.      Atthe tim eM s.M ccawley'sstatementswerem adeasheknew orshould have

             known thatthey w ere false altd defam atoxy.

          538.      Htmdredsoftllousandsofpeopleactuall
                                                      kreadand/orheardthefalseand
             defam atoxy statem ents.

          539.      M s.M ccawley'sstatem entswerenotprivilegei

          540.      The statem entswerem ade and published by Sigrid M ccawley with acttzal

             m alice.oppression.and fm lxd in thatshew as aw are atthe tim e ofthe falsity ofthe

             publication and thus,m ade said statem entsandpublicationsin bad faith,outofhatred
                                         I
             and 111-* 11directed towardsPlaintiFswithoutany regard forthe m zth.

          541.      M s.M ccawley possessed inform ation and had accessto inform ation that

             showed herstatem entsw ere false.




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          542.      M s.M ccawley also m adestatem entsforwhich she had no facm albasis.
          543.      M s.M ccawley intentionally caused hnrm by telling Plaintiffs'co-w orkers,

             clientsand employersthesefalseand defam atory statem entsasto intentionally inflict

             hnrm on theirreputations,careersand businessincluding by m nking defam atory

             statem entswhich accuse PlaintiFsofcrim esand otherim m oralsexualacts.

          544.      M oreover,thestatem entstendto sohnrm thereputation ofPlaintillk asto

             lowertheirprofessionalreputation in the com munity ordeterthird persons9om

             associating ordealing with t11- including termination ofany and a11business,

             contractsorem ploym entaIZIIaassuchxconstim te slanderrcrse.

          545.      The stattzte oflim itationsfordefamation claim q,including slanderrerse m ay

             betolledvaduringtheréwlezfc:yofarelatedlawsuitorarbitrationrelatedtothesame
             #e-ftzz
                   zifz/tlr.pstatements''m1(1.athependencyofamotiontodismissarelatedlawsuit
             ??fJJ?tollthestatuteoflimitationszl?,/#themotionisresolvel'whereas,Plnindfl-
                                                                                        shave
             been itw olved in a pending litigation fornearly tlzreeyearswith Sigrid M ccawley and

             herçlients,resvulting in any ability to fnnncially afford representation and preventing

             Plaintiflkâom seeking recourse againstM s.M ccaw ley tmtilnow .

          546.      M s.M ccawley'sdefam atory statementswereintentionally and specifcally

             tim edto preventPlaintiFsâom seeking recourse againstherasPlaintiFscould not

             affordto Gle claim sagainstM s.M ccawley.asherdefam atory statem entsimmediately

             destroyed PlaintiFs'ability to w ork and to generate income;thiswasintentionalso

             thatPlaintifl-
                          scould notseek recourseagains'tDefendantuntilnow .




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!
        1     547.       D efendantisequitably estopped from asserting a m tllte oflim itations as a
        2        def
                      enseandallowinghertodosowouldbeunjust;therefore,PlaintiFs.sututes,jj-
        3
                 any,m ustbetolled.
        4
              548.       A sadirectand proxim ateresultofthem alioiously false and defam atoxy
        5
        6        publication ofstatem entsto third pe esby M s.M ccawley,Plaintiffshavebeen

        7        severely dam aged.

        8      549.      PlaintiFsareenitled to punitive        es.because M s.M ccawley's
        9        defam atory statementswerem ade with lmtreda i11will,and spite,w1t11theintentto
       10        h
                  nrm Plaintiffsorillblatantdisregard ofthe substandallikelihood ofcausingth- .
       11
                 la= .
       12
               550.      Because Defendsnt'sdefnm story statementscolzstittvteintentionalactswhich
       13
       14        weremadewith actlmlmalicetowardsPlaindflk PlaintiEqseek an award forpunitive
       15        Hnm ages.

       16                WHEREFORE,PlintiffsDustyRdTaylorButtondemnndjudgmentagainst
       17 Defendnntsigrid M ccawley fordmnages, punitive            es,courtcosts,and such otllerrelief
       18
            astheCourtdeemKjustandproper.
       19                  '
                 CO UNT V -IN TENTION AL G FLICTIO N OF EM OTIO NAL DISTRESS
       20
               551.      PlaintiFsrepeatand reallegethe allegadonscontained within paragraphs 1
       21
       22        through 471.supra,asifsetfortlzherein.

       23      552.      n eunprivileged statem entsm adeby Sigrid M ccawley to othersabout
       24        Plaintifrswere false and defam atory.

       25      553.      n eunprîvgejedstatementsmadebysigridMccawleytootllefsabout
       26
                 PlaintiFscausedcompldelossandinjtuytoPlaintiFs'businesswhereas,Plaintifl-
                                                                                         s
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       28                              .



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i                                                           ts 2021i
                 havenotworkedonesinglejobsindeJuly28 ,              ncluding+atanyandal1
                 contrac'tsand agreem entswere imm ediately and prem aturely term inated following

                 Siglid M ccawley'sconduct-

              554.      SigridM ccawleym adeand published such statem entsnegligently,w1t.
                                                                                         h

                 knowledgeofthe falsity ofdze statem ents,and/orw1t11recklessdisregard oftheir% t11

                 orfalsity.

              555.      AttheSigrid M ccawley m ades'uch statem ents.sheknew orshould have

                 known thatthey werefalse and defam atoa .

              556.      Hundredsoftholxmqndsofpeopleactllnlly read and/orhem'd the false and

                 defmnatory statements.

              557.      M s.M ccawley'sstatmnentswere notprivileged.

              558.      The statem entsw ere published by Sigrid M CCaWIG with actualm alice.

                 oppressionmand fraud in tllatth% were aware atthe tim eofthe falsity ofthe

                 publication and tlm s,m ade said statem entsD d publicationsin bad faith,outofhaked

                 and 111-* 11directed tow r dsPlaintiffswil outany Tegard fortheln:th.

              559.      Sigrid M ccawley possessed infornution and had accessto infornmdon that
                 showed herstatem entswere false.

              560.      M s.M ccawley m ade statem entswhich had no fadualbasis.

              561.      M s.M ccawley acted intendonally and/orrecklessly whereasherconductwas

                 exlem e and outrageousand wasthedirectcause ofPlaintiFs'severe em otional

                 distressin which PlaintiFscontinue to sufertoday.

              562.      M oreover,the statem entstend to so hsrm thereputation ofPlaintiFsasto

                 lowertheirprofessionalreputation in the com m unity ordeterfbird personsfrom




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             associnting ordealing w1t11them including terminauon ofany and allbusiness,

             contradsoremplom entand,assuch,constitutesintentionaliqflictiono/ezzlqffopzz/
             distress.

          563.        TheD efendant'sconductw asintentionaland/orreckless,and caused exkem e

             mentalanguishandsuFeringincludingdepression,embanw smentalossofenjoyment
             oflife and a decreasein quality oflife,PTSD,suicidalthoughtsand unbearable
             nnxiety.

          564.        Defendrmts'conductwasso extrmne and outrageous.going farbeyond whatis

             considered normsloracceptable asherdefnm ntory statem entsto them edia,thepress

             aadtllepublicwerenotprivilegedandwereintentionallystateddther1)beforeher
             clients'complaintwasevenGled2)inconspiracywiththird-partiestoprevent
             Plaintiflk9om seeking recourse altd resulting in com pletelossofincom eand

             emplom entalld3)wereintentionallystatedtogainfameandnotorietyinthemedia
             and thepresswith recklessdisregard to the hutll.
          565.        Asa directand proxim ate Tesultoftltem aliciously falseand defsm atoxy

             statem entsand publication ofsGtem entsto tlûrd pe esby M s.M ccawley,Plaintiffs

             havebeen severely and irrepam bly dam aged.

          566.        PlaintiFsare entided to punitivedam ages.becauseM s.M ccawley's

             defamatory statem entswerem ade w1t11hatred,illwill.and spite.w1t11theintentto

             hnrm Plaintifsorin blatantdisregard ofthe substantiallikelihood ofcausing them

             lmrm .




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        1      567.      BecauseM s.M ccawley'sdefam atory statem entsconstim teintentionalacts
1
:       2         which werem adewith aotualm alicetowardsPlaintiFs, Plaintiffsseek an award for
!       3
                  ptmitivedam ages.
        4
                         W HEREFORE,Plaintill-
                                             sDustyandTaylorButtondemandjudgmentagainst
        5
        6 D efendantSigridM ccawley fordnm ages,punitivedam ages,cottrtcosts.and such otherrelief

        7 astheCourtdeemsjustandproper.
        8                       CO UNT VI- PRIM A FA CIE D EFA M ATION
        9      568.      PlaintiFsrepeatand reallege the allegaionscontained w itln'n parav aphs 1
       10         through 471,supra,asifsetforth herein.
       11
               569.      'I'heunprivileged statem entsm ade by Sigrid M ccawley to othersabout
       12
                  Plaintilswerefalse and defa atory.
       13
       14      570.      'Iheunprivileged statem entsm ade by Sigrid M ccawley to othersabout

       15         PlaintiFscausedcompletelossandinjmytoPlaintiffs'businesswhereas,Plaintifs
       16         havenotworkedonesinglejobsinceJuly28112021includingthatanyanda11
                  conlactsand agreem entsw ere lm m ediately altd prem nm rely tervmnated following
       18         Si               ,
                    grid M ccaw ley scondud .
       19
               571.      M s.M ccawley m ade and published such statem entsnegligently,w1t11
       20
                  knowledgeofthe falsit.y ofthe statem ents.and/orw1t11Tecklessdisregard oftheirtruth
       21
       22         orfalsity.

       23      572.      Atthetim e Sigrid M ccawley m ade such statem ents,sheknew orshould have

       24         known thatthey werefalse and defam atory.
       25      573.      Hundredsof'thousandsofpeople actuall
                                                            y read and/orheard the false and
       26
                  defam atory statem ents.
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          574.      M s.M ccawley'sstatem en? werenotprivileged.

          575.      The statem entswerem adeand published by Sigrid M ccawley w1t.
                                                                                 1:acttlal

             m alice,oppression,and fraud in thatthey were aware atd1etim eofthefalsity ofthe

             publicauon and thus,m ade said publicauonsin bad faith.outofhatred andill-will

             directed towardsPlaintiFswithoutany regard forthetre .

          576.      M s.M ccawley possessed inform ation and had accessto inform adon that

             showed herstatementsw em false.

          577.      M s.M ccawley m ade statem entqwhich had no factnnlbasis.

          578.      M s.M ccawley m nde intentionally false statem entspurporting to be fact,

             published and comm unicated those statem entstohundredsofthousandsofthird
             pe esfaulting to,atthevee leastanegligence,whereasthe dnm agesand hann to

             Plaindfrsand theirreputationsisirreprableasa directTesultofthedefnm ntory

             statmnentsm adeby Sigrid M ccawley.,

          579.      M oreover,the statem entstend to so llnrm thereputation ofPlaintiffsasto

             low ertheirprofessionalreputation in tlte comm unity ordeterthirdpersons9om

             associating ordealing w ith them including terminstion ofany and a1lbusiness,

             contractsoremploymentand,assuch,constitutesPrimaFacieDefamation.
          580.      Tlze statuteoflim itationsfordefam ation clnim s,including Prima Facie

             Defamationmaybetolled.Gnduring/icpezzzlz,cw ofarelatedIawsuitorarbitration
             relatedtotheàw-cdqfamatorystatements''and,Gnthependencyt?famotiontodismiss
             a relatea /ywwxf/zz,tz-vtollrJest
                                             atuteoflimitationsuntilthemotionisresolvez'
             whereas,Plaintifrshavebeen involved in a pending litigation fornearly threeyears

             with Sigrid M ccawley andherclientsaresulting in any ability to fm ancially aford




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    1         representaion andpreventing PlaintiFsfrom seeking recourse agznstM s. M ccawley
    2             tg now .
    3
           581.        M s.M ccawley'sdefam atory statem entswere intentionally and specifcally
    4
              tim ed topreventPlaintifl'
                                       s9om seeking recourse againstherasPlaintiFscouldnot
    5
    6         G ord to Eleclaim sagainstM s.M ccawley,asherdefam atory statem entsimm ediately
    y         destroyed Plaintils'ability to work and to generateincom e;thisw asintentionalso

    8         thatPlaintiffs couldnotseek recoc se againstDefendnntuntilnow .

           582.        Defendlmtisee tablyestopped9om assertingastatlzteoflimitadonsasa
   10         d
               efenseandallowinglzertodosowouldbeunjust;therefore,PlaitdFs'statutes,if
   11
              > y,mustbetolled.
   12
           583.        Aqa directand proxim ate resultoftllem aliciously false mtd defam atory
   13
   14         statem entsand publication ofstatem entqto third partiesby M s.M ccawley.Plaintiffs

   15         havebeen severely          ed.

   16      584.        PlaintiFsare entitled to punitivednm nges,becauseM s.M ccawley's
   17         defam atory statem entsw erem ndew ith hateda i1lwill,and spitemwitlltlleintentto
   18         h
               nrm Plaintiffsorin blatantdisregard oftlle mzbsta tiallikeliltood ofcausing th-
   19
              harm .
   20
           585.        Because M s.M ccawley'sdefam -ory statem entsconstitute intentionalacts
   21
   22         which were m ade with nct''alm alice towardsPlaintiFs.Plaintiffsseek an aw ard for

   23         Punitive dam ages.
   24                  W HEREFORE, Plai
                                      ntiFsDustyandTaylorBukondemandjudgmentagainst
        DefendantSil dM ccawleyfordamages,punitivedamages,c01111costs,andsuchotherrelief
   26
        mstheCourtdeemsjustandproper.
   27
   28

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1
                                    COUNT VH - CIVIL CONSPTRAG
i             586.      Plaintiflkrepeatandreallegethe allegationscontained within paragraphs 1

                 tllrough 471,supra,asifsetforth herein.

              587.      n e unprivileged statem entsm adeby SigridM ccawley to othersabout

                 Plaintiffswere falseand defam atory.

              588.      The tmprivileged statem entkm adeby M s.M ccawley to othersabputPlaindFs

                 causedcompletelossandinjtuytoPlaixifrs'businesseswhereas,Plaintiffshavenot
                 workedonesinglejobsinceJuly28th,202lincludingthntOyanda11contractsand
                 agreem entqwerel
                                'm m ediately and prematurely terminated following M s.M ccawley's

                 conduct.
              589.      M s.M ccawley m ade D d published suclzstatem entsnegligently,with

                 know ledge ofthe falsity ofthe statem entq.and/orwitltrecklessdisregard oftheir% t11

                 orfalsity.

              590.      Attltetim e M s.M ccawley m ademzch statem ents,sheknew ()rshould have

                 know n thatth% were false and defnm ntoxy.

              591.      Hute edsofthonondsofpeopleactualb readand/orherdthefalseand
                 defam atory statements.

              592.      M s.M ccawley'sstntem entswerenotprivileged-

              593.      n e slatem entswerem ade and published by Sigrid M ccawley with actual

                 m alice,oppression,and fralld in thatshe wasaw are atthe tim e ofthe falsity ofthe

                 publication and thus,m ade said statem entsand publicationsin bad faith,outofhatred

                 and ill-< lldireded towardsPlaintiffswithoutany regard forthem zth.




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i
I       1     594.       M s.M ccawley possessed inform ation and had accesstoinform adon that
i
                 showed herstatem entswere false.

              595.       M s.M ccawley m adç statem entswhich had no factualbasis.

              596.       M s.M ccawley m ade an expressagreem entw1t1:another.inpluding butnot

                lim itedto herclierlts,whereasM s.M ccawley'sadionsoutsideoflitigation prove that

                 sheconspiredtodefame,hnvems,bullyandthreatenPlaintillkinajointeFortto
                 desloy theirbusiness,r       'ons,careeis,ability to w ork and finnncialability to
                 defend the frivololzslaw seitM s.M ccawley mzd herclientsbroughtforth on July 28th,

                2021to intentionally deprive Plaintifsin allovertactin G e erance causing econom ic

                 loss.

              597.       M s.M ccawley'sactionsresulted ixtttunfairCom petition''by w ay of

                 coordinatingeffortstospreadfalseinfonnntionaboutPlaintiffs.(whosennmesand
                 Iikenessweretle business),togainanadvantage,monthspriortoherclientsGling
                 theircom plints,asto deskoy PlaintiFs'reputations,careers,business,ability to work

                 and defendthemqelvesagainstthedefsmstory statem entsand litigadon itself

              598.       Sigrid M ccawley unethically played to them edia and thepressin purmznnce of

                 conspim cy by way ofmaking false and defam atory statem entsto intentionally hnrm

                 Plainufrs,resulting in fm ancialloss,dam age to Teputation and severeem otional

                 diskess.

              599.       M s.M ccawley'sactionsweretmlawfulincluding thatthe defam atory
                 statem entssheintenuonally m ade andpublished wereinten:onaland wrongful

                 inte= ferenceswith Plaintiffs'bujinessrelationships.




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          600.      M s.M ccawley intendonally and knowingly m adefalse statem entsabout

            PlaindFsto am assaudience,perfoxm ing an unlawfulac'
                                                               tto gain notoliety and m islead

            thepublicandanypotentialjurorthroughthemediaandthepresstosecurebiasandto
            m aintain thepublicpraise which she wasawarded forherrepresene on ofVirginia

            GiuX e againstEpxein andM axwell,whileknowing thatherclientsallegationswere

            falseand even O erpresented with factualevidenceproving herclientsallegations

            w ere gaudulent.

          601.      M oreover,thestatem entstend to sobsrm thereputation ofPlaintiffsasto

             lowertheirprofessionalreputadon in tlxecom munity ordeterthird persons9om

             assooiY ng ordealing with th- including terminstion ofally and a11business,

             conkactsoremploymentand,assuck constitttteCivilConspiracy.
          602.      The statute oflimitationsfordefamation clnim q.including CivilConspiracy

            maybetolledvaduringthependencyofarelatedlawsuitorarbitrationrelatedtothe
             çJ?acdefamatorystatements''and,athert
             ,                                   dplency ofamottontodismissarelated
             /cuz
                ,ç?z//may tollthestatuteqflimttationszza///themotion isresolvei'whereas,
             Plaintiffshave been involved in apending litigation forneady threeyem'
                                                                                  swith Sigrid

             M ccawley and herclients,resulting in any ability to fnancially aFord representation

             and preventing PlaintiFs9om seekingv ourse againstM s.M ccawley tmtilnow.

          603.      M s.M ccawley'sdefam atory statem entsw ere intentionally and speciGcally

             tim ed to preventPlaintillk âom seeking recotlrseagainstherasPlaintiFscould not
             e ord to G1e claim sagainstM s.M ccawley,asherdefam atoa statem entsimmediately

             deskoyed Plaintiflk'ability to work and to genem teincom e;thisw asintendonalso
             thatPlaintiffscotlld notseek recourseagainstD efendantlm tilnow.




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I
I       1     604.         Defendantis equitably estopped9om asserting a Rtntllte oflim itationsasa
1                                                        .
        2         defenseandallowinghertodosowouldbeunjust;therefore, Plaintillk,statutes,jj-
:       3
                  any,m us'tbetolled.
        4
              605.         A sadirectandproxim ateresultofthem aliciously false and defam atoxy
        5
        6         publication ofstatem entsto third pe esby D efendant,Plaintillk have been severely

        7         dam aged.

        8      606.        PlaintiFsareentitled to ptmidve       es,because M s.M ccawley's
        9         defnm ntory statementswerem adewith hatredx illw ill,and spite,with the intentto
       10         h
                   nnn Plaintiffsorin blatantdisregard ofthe substantiallikelihood ofcausing them
       11
                  bnrm .
       12
               607.        Because M s.M ccawley's defamatoxy statem mltsconstim teintendonalacts
       13
       14         which werem adewith acoznlm alicetowardsPlaintiffsaPlaintiffsseek an aw ard for

       15         Pm litivednm ages.

       16                  WHEREFORE,PlaintiffsDtzstyalldTaylorButtondemandjudgmentagainst
       17 oefeaasntsigrid M ccawley fordamagesm ptm itive           es.courtcosts.and such otherrelief
       18
            astheCourtdeemKjustandproper.
       19
                                  CO UNT V IH - DEFAM ATIO N PER OU OD
       20
               608.        Plaintifrsrepeatand reallegetbe allegationscontaine within paran phs 1
       21
       22         through 471,supra,msifsetforth hem in.                                .



       23      609.        The unprivileged statem entsm ade by Sigrid M ccawley to othersabout
       24         Plaintilrswerefalse and defam atoa .
       25      610.        n e unprivileged statem entsm ade by M s.M ccawley to othersaboutPlaintiFs
       26
                  causedcompletelossandinjurytoPlaintillk'businesswherems,Plain:ll-shavenot
       27
       28

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             workedonesinglejobsinceJuly28*,2021includingthatanyandal1contractsand
             v eem entswereim m ediately and prem aturely terminated following M s.M ccawley's

             condud.

          611.      Ms.M ccawleymadeandpublishedsuchstatementsnejligently.with
            knowledgeofthe falsity ofthe statements,and/orw111:recklessdisregard oftheirt1111

             orfalsity.
          612.      Atthetim e Sigrid M ccaw ley m ade such statem ents,she knew orshould havi

             lcnow n thattlley wereI ISe alld defam atoxy.

          613.      Hue edsoftlmaqsndsofpeopleactuallkreadand/orheardthefalseand
             defam atoxy statements.

          614.      M s.M ccawley'sstatementswerenotprivileged.

          615.      The statementswerem adeandpublished by M s.M ccaw ley w ith actual

            m alice,oppressiow and H UIIin thatshew asaw areatthetim e ofthefalsity ofthe

             statementsand publicationsand tltusvm ade said publicationsin bad faith,outofhatred

             alld 111-* 11directed towr ds Plaindffsw iloutalty regr d forthe% tII-

          616.      M s.M ccawley possessed infonnation and had accessto information that

             showedherMatem entswere false.

          617.      M s.M ccawley m ade statem entswhich hadno factllnlbasis.

          618.      M oreover.thestatem entstend to solmrm thereputation ofPlaintiffsasto

             lowertheirprofessionalreputation in thecom m unity ordeterlhird personsfrom

             associ:tting ordealing with them including term ination ofany and allbusiness,

             contractsoremplom entand,assuch.consEtutesDqfamationPerQlztptf




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          619.       Thestatuteoflimitationsfordefamationchims,includingDefamattonPer
             Pp
              zx maybetolled,Lnduringr/lerce e ofarelatedlawsuitorarbitrationrelated
             tothesame#EJ
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                         '-J//Z:Pstatements''and;athependency ofazzio/ït;zltodismissa
             related lawsuitm zptollthestatuteqflimitationsz/p/f/themotion isresolved'whereas,
                              .,



             PlaintiFshavebeen involved in apending litigation fornearly threeyearsw1t11Sigrid

             M ccawley and herclients,rese ng in any ability to fnancially aflbrd representation

             and preventing PlaintiFsA m seeking recouxse againstM s.M ccawley untilnow .

          620.       M s.M ccawley'sdefnm ntory statem entsw ere intentionally and specifcally
             o'm edtopreventPlaintie &om seeldng recom se againstherasPlaintiFscould not

             aflbrd to f1e clnim nagninntM s.M ccawley,asherdefxm stoa statem ents imm ediately

             deskoyed Plaintie 'àbility tow ork and to genmateincom e;tbisw asintentionalso

             thatPlaintiffscouldnotseek Tecourse agsinqtDefendnntuxd lnow .

          621.       Defendnntisequitably estopped *om as      ' a stamte oflim itationsasa

             defenseandallowinghertodosowouldbeunjust;tllerefore,PlaintiFs'statutes,if
             > y,mustbe tolled.

          622.       Asa directand proxim nteresultofthe m aliciously false and defam atoxy

             publication ofstatem entsto third partiesby SigridM ccawley,Plaintiflk have been

             severely dam aged.
          623.       PlaintiFsare entitled to ptmitive dam ages.becauseM s.M ccawley's

             defam atoxy statem entswerem adew1,.
                                                11hatred,illwill,and spite,w1t11theintentto
             hnrm PlaintiFsorin blatantdisregard ofthe substandallikelihood ofcausingthem

             hsrm.




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'       1      624      Because M s. M ccawley'sdefam atory stalem entsconstitute intentionalacts
        2         wllich werem adew1t1:nM lalm alicetowardsPlaintiFs.Plaintiffsseek an aw ard for
        3
                  punidvedamages.
        4
                                 FORE,PlaintiFsDustyandTaylorButtondemandjudgmentagainst
        5
        6 D efendantSigridM ccawley fordam agessptmitivedamagespcourtcosts,and such otherrelief

        7 astheCourtdeemsjustandproper.
        8                                 PR AYER FO R RELIEF

        9                WHEREFORE:Plaintiffsrespece llyreqlzestjudgmentagainstDefendant                .


       10 Sigrid M ccawley,awarding com pensatory,conseqnential,exemplary,and punitive dnm ages
       11
          in an am ountto bedetermined attrial,including butnotlimited to:
       12
       13                A.EnteringjudgmentagainsttheDefendantona11claimsmadeagainstherin
       14                   thisComple t;

       15                B. Entming an Orderdirecting thatDefmtd> tpay PlaintiffsTeasonablefees

       16                   and costspurmmntto any applicablelaw ;
       17                c Foractnnldnm agesin an am om tto beproven attrial;
       18                D Forpunitive         esin an am ountto beproven attrial;
                          .

       19
                         E. Forcostsofstlit;
       20
       21                F. Forpre-judo entandpox-judgmentinterestontheforegoingsums;
       22                G .Forsuch otherand furtherreliefasthe Courtdeem sproper.

       23                              DEM AND FOR JURY TRIAL
       24                Pursuantto FederalRule ofCivilProcedure 38,PlaintiFshereby requestatrial
       25
            byjuryona11causesoçaction assertedwithinthispleading  .


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   4                             tyButtonandMitchellTayorButton(Prose)
                             l01O cean SandsCt.
    5
                             M yrtle Beach,SC 29579
   6                         Emsitprosecanyousee@J'
                                                  nalifence.com;
                             Phone:310-499-8930
                             Phone:310-499-8702
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        1                               CERTIFICATE OF SERVICE                                         '
        2                The lm dersigned hereby cerv esthatthe foregoing docum entwasm ailed as
        3                                                                                              !
            direded to 299 EastBrowardBoulevard#108.FortLauderdale,FL 33301on July 9th, 2024
        4
            and sentviaECF to counselofrecord forDefendant.
        5
        6
                                                                                                       I
        y                      Dated this9* day ofJuly,2024,

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        9                      /
       10                      Si                                                                  '
                                   gnatureofPlaintif DustyButton(Prose4
       11                              - .
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                               /       '
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       13                      SignahzreofPlaintiF MitchellTaylorButton(Prose)

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